Expert Report
Prof. Mustafa M. Aral
Date: 10/23/2024




Prepared by,




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Consultant, Environmental Modeling and Health Risk Analysis

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1. Background and Qualiﬁcations
I am a Professor Emeritus from the School of Civil and Environmental Engineering, Georgia Ins tute of
Technology, Atlanta Georgia USA and an independent consultant residing in 270 17 th St NW, Unit 809,
Atlanta, Georgia USA. I hold a Ph.D. degree in Environmental Water Resources Management and
Modeling (1971) and a master’s degree in water resources engineering from the School of Civil and
Environmental Engineering (1969), Georgia Ins tute of Technology. I have a bachelor’s degree in civil
engineering (1967) from the Middle East Technical University, Ankara, Turkey. I am a Professional
Engineer registered in the State of Georgia (PE-15254).

I joined the Georgia Institute of Technology faculty in 1978 where I served until 2018 as Professor
and the Director of Multimedia Environmental Simulations Laboratory (MESL), a research center
established in 1993. In 2018 I was appointed as Professor Emeritus at Georgia Institute of
Technology. During my career I have published over 100 technical publications in peer reviewed
journals, ﬁve books, ten book chapters, and numerous conference papers and technical reports. I
served as the Chair of several International Conferences. Among these the most noteworthy
activities are the NATO Advanced Study Institute that I organized in Antalya, Türkiye in 1995; the
Environmental Exposure and Health Conference held in Atlanta, GA, USA in 2005 which I co-
organized; and I was the Technical Chair of the ASCE/EWRI IPWE 2013 International Conference
held in Izmir, Türkiye in January 7-9, 2013. I am the Past-President of the American Institute of
Hydrology (AIH), and a Fellow of the American Society of Civil Engineers (ASCE), a professional
organization that represents over 190,000 civil and environmental engineers in the USA. During
2009 I established the International Journal on “Water Quality, Exposure and Health” published by
Springer Publishers. I was the Editor-in-Chief of this journal from 2009 to 2014. I am also on the
Editorial Board of several technical journals and serve as a consultant and reviewer on European
Framework programs.

During my career I received twenty-eight honor cita ons from scien ﬁc organiza ons. Among these the
most noteworthy na onal (USA) and interna onal recogni ons are American Society of Civil Engineers
(ASCE), Cuming Medal (2000); two mes the recipient of American Academy of Environmental Engineers
Best Environmental Health Research Award (2003 and 2015); Centers for Disease Control and Preven on
(CDC) Excellence in Applied Environmental Health Research (2006); and ASCE-Environmental Water
Resources Ins tute (EWRI) James R. Croes Medal (2011). Among these, the Grand Prize Award received
in Environmental Engineering in Research category given by the American Academy of Environmental
Engineers (AAEE, 2015) is par cularly important to this case since it is based on the quality and
substance of the research work done in the Camp Lejeune water modeling historical reconstruc on
project.

My exper se includes the development and applica on of mathema cal modeling techniques to
environmental and engineered systems to evaluate the origins and fate and transport of contaminants
in natural and engineered environments. I have more than 50 years of relevant professional experience
evalua ng the ming of chemical releases, developing enviro-geochemical models in mul media
environments and conduc ng environmental forensic analysis in the context of mathema cal modeling
techniques, regula ons and guidance or direc ves established by the relevant agencies. My Curriculum
Vitae and a list of my publica ons are provided in Exhibit A of this report. I have not tes ﬁed by
deposi on or at trial in the last four years.


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2. Assignment
In August 2022, I was retained by Bell Legal Group on behalf of the Camp Lejeune Water Li ga on
Plain ﬀs as an environmental modeling expert to tes fy regarding the ATSDR Environmental Water
Modeling Study conducted at U.S. Marine Corps Base Camp Lejeune, North Carolina and such other
opinions as may become relevant. I am being compensated $600 per hour for my work on this ma er.

As an environmental modeling expert, I was tasked with the following:

        Provide a high-level explana on of the ATSDR’s historical reconstruc on process for both the
         Tarawa Terrace and Hadnot Point-Holcomb Boulevard study sites, including my involvement in
         it.
        Provide an explana on of the reported concentra ons of contaminants in ﬁnished water at
         Camp Lejeune from 1953 to 1987.
        Provide an explana on of the calibra on, sensi vity analysis, uncertainty analysis, and valida on
         techniques used in the ATSDR study of the Camp Lejeune site.
        Summarize the conclusions and opinions included in the published ATSDR Reports.
        Provide addi onal opinions beyond those already included in the ATSDR published works.

Around the year 2000, the Mul media Environmental Simula ons Laboratory (MESL), a research center
at the School of Civil and Environmental Engineering, Georgia Ins tute of Technology entered into a
coopera ve agreement with the Agency for Toxic Substances and Disease Registry (ATSDR)/Centers for
Disease Control and Preven on (CDC) to provide technical support to ATSDR in all aspects of the Camp
Lejeune study for all three study areas on an as-needed basis. As the MESL research center director, I
oversaw all aspects of this coopera ve agreement at the Georgia Ins tute of Technology side. The
coopera ve agreement was extended to three ﬁve-year periods and ended in 2015. My involvement in
the ATSDR Historical Reconstruc on Project was supported by my graduate students at the MESL
research center. There was no other faculty member involvement in the coopera ve agreement from
the Georgia Tech side. Over the 15-year period from 2000 to 2015, I and my team members worked with
the other team members of the Exposure Dose Reconstruc on Program (EDRP) at ATSDR to perform an
analysis of the Tarawa Terrace, Holcomb Boulevard, and Hadnot Point study sites of the U.S. Marine
Corps Base Camp Lejeune.

To conduct my evalua on and render my expert opinions, I relied on my educa on, research,
professional experience, and the informa on base I accumulated over the years while working on the
ATSDR Camp LeJeune study and other ma ers. The documents and informa on that I considered are of
the type that can be reasonably relied upon to support my opinions and are regularly relied upon by
prac oners in my ﬁeld. The materials that I reviewed include, but are not limited to, published
technical literature, reports, historic data sources, correspondence and mee ngs with state and
regulatory agencies, par cipa on in workshops and review of documents provided by independent
experts at these gatherings. The list of documents I have considered and/or relied upon to render my
opinions is provided in Sec on 8 of this Expert Report.

Opinions presented in this report were reached by applying accepted methods and informa on in the
ﬁelds of hydrogeology, geochemistry, environmental sciences and mathema cal and stochas c
computa onal modeling. The opinions expressed in this report are my own and are based on my
educa on, training, and experience, as well as the documents, public informa on, diagrams, data, and


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facts that were available to me at the me of wri ng. I hold these opinions to a reasonable degree of
scien ﬁc and engineering certainty. I reserve the right to supplement and/or amend my opinions on
this ma er as necessary as addi onal documents, deposi ons or informa on are made available to me.




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3. Introduction
U.S. Marine Corps Base Camp Lejeune, North Carolina was established in 1942. Groundwater is the sole
source of water supply for Camp Lejeune. In the 1980s, Navy water tes ng at Camp Lejeune detected
Vola le Organic Compounds (VOCs) in some water-distribu on systems at the base. In 1982 and 1983,
con nued tes ng iden ﬁed two VOCs—trichloroethylene (TCE), a metal degreaser, and
tetrachloroethylene (PCE), a dry-cleaning solvent—in two water-distribu on systems that served base
housing areas, Hadnot Point and Tarawa Terrace. In 1984 and 1985 a Navy environmental program
iden ﬁed VOCs, such as TCE and PCE, in some of the individual wells serving the Hadnot Point and
Tarawa Terrace water-distribu on systems. Ten wells were subsequently removed from service.

The extent of subsurface contamina on, its impact on groundwater, and the associated poten al health
risks of water contamina on prompted the U.S. Environmental Protec on Agency (USEPA or EPA) to
place Camp Lejeune on the EPA CERCLA (Superfund) Na onal Priority List for cleanup (remedia on) in
1989, leading to Remedial Inves ga ons / Feasibility Studies and ul mately to Records of Decisions
(RODs) for remedial ac on (EPA, 1993 for Tarawa Terrace / ABC One Hour Cleaners; EPA, 1993 for Hadnot
Point Industrial Area; and EPA 1994 for Hadnot Point Landﬁll).

Hadnot Point was the original water-distribu on system, serving the en re base with ﬁnished water
beginning in the early 1940s. The Hadnot Point water treatment plant (WTP) was constructed and began
opera ons in the 1941–1942 meframe. The Tarawa Terrace WTP began delivering ﬁnished water
during 1952, and the Holcomb Boulevard WTP began delivering ﬁnished water during June 1972, Figure
1. The Tarawa Terrace WTP was closed in March 1987 due to contamina on, leaving Hadnot Point WTP
to supply water to the Hadnot Point area, and the Holcomb Boulevard WTP to supply water to the
Holcomb Boulevard and Tarawa Terrace base housing areas. The Holcomb Boulevard water-distribu on
system is connected to the Hadnot Point water-distribu on system at the Marston Pavilion valve and at
booster pump 742. While booster pump 742 was removed during 2007, the two systems can s ll be
interconnected by opening a valve at the same loca on based on water supply demand. For opera onal
reasons, the two water-distribu on systems were occasionally connected—excep ons being some
connec ons that occurred during late spring and summer months of 1972–1986 and a con nuous 8-day
period of 28 January to 4 February 1985 (ATSDR, 2007a). Tarawa Terrace, Hadnot Point, and Holcomb
Boulevard water-distribu on systems historically supplied ﬁnished water to most family housing units,
enlisted personnel barracks, workplaces, and other facili es at the base (ATSDR, 2013a).

Department of Defense (DOD) and North Carolina oﬃcials concluded that on and oﬀ-base sources were
likely to have caused contamina on (GAO, 2007). With respect to Tarawa Terrace, PCE contamina on of
ﬁnished water occurred because PCE, a common dry-cleaning solvent, leaked into groundwater that
supplied the Tarawa Terrace drinking water system from a dry-cleaner (One-Hour ABC Cleaners) located
outside the Camp Lejeune base. In 1987, the military base shut down the Tarawa Terrace water
treatment plant because of PCE contamina on of the drinking water (ATSDR, 2007a, e). The Hadnot
Point water system, which provided water to both the Hadnot Point and Holcomb Boulevard service
areas, was contaminated with TCE, PCE and reﬁned petroleum products because of waste disposed of at
a landﬁll and ac vi es within an industrial area, including vehicle service and maintenance,
warehousing, auto body pain ng and maintenance, and heavy equipment maintenance. Ac ve
underground storage tanks (USTs) and solvent storage areas were in the Hadnot Point Industrial Area
(HPIA), where substan al volumes of liquid hydrocarbon fuels were lost due to leakage to the
subsurface.


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Figure 1: General map of U.S. Marine Corps Base Camp Lejeune in North Carolina (ATSDR, 2007a; ATSDR,
2013a)

The Agency for Toxic Substances and Disease Registry (ATSDR), an agency of the U.S. Department of
Health and Human Services, conducted several studies to help Marines, civilians, health oﬃcials, and
other interested par es understand more about the drinking water contamina on at Camp Lejeune and
whether it aﬀected the health of persons living or working on the base during the period 1953-1987.
The ﬁrst was an epidemiological study to evaluate whether in-utero and infant exposures to vola le
organic compounds in contaminated drinking water at Camp Lejeune were associated with speciﬁc birth
defects and childhood cancers. The study included births occurring during the period 1968-1985 to
women who were pregnant while residing in family housing at the base. Later, the epidemiologic studies
were extended to cover other health eﬀects as well. These epidemiologic studies and their ﬁndings are
not within my exper se area.

Historical exposure data needed for the epidemiological case-control study were limited. To obtain
es mates of historical exposure, ATSDR used water modeling techniques and the process of historical
reconstruc on to determine the extent of VOC-contamina on at the site, to quan fy historical
concentra ons of contaminants in the ﬁnished water, and to compute the level and dura on of human
exposure to the contaminated drinking water. The ﬁndings of the study were grouped in two series of
reports: (a) Tarawa Terrace and Vicinity Study Reports (ATSDR-a/b/c/d/e/f/g/h/i, 2007); (b) Hadnot Point
and Vicinity Study Reports (ATSDR-a/b/c/d/e/f/g/h/i/j/k/l, 2013), Figure 2. From this point forward these
references will be quoted as (ATSDR, 2007) and (ATSDR, 2013) in bulk. From the context of the
discussion, it will be clear which chapter is under considera on. In some references speciﬁc chapter
references will also be given when necessary.

The ATSDR water modeling team was guided by an external ATSDR Expert Panel, whose members
contributed signiﬁcantly to the quality of the modeling eﬀort. The members of the ATSDR Expert Panels
are well-known and respected scien sts in the ﬁeld; their names are listed in the Expert Panel reports



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(Maslia, 2005; Maslia, 2009). These are also available on the ATSDR website
(h ps://www.atsdr.cdc.gov/sites/lejeune/expert-panels.html).

Water modeling enabled ATSDR to es mate monthly mean contaminant levels in drinking water within
the Tarawa Terrace, Hadnot Point and Holcomb Boulevard water treatment plant service areas for the
period 1942-2008. This work in turn helped ATSDR epidemiologists determine if popula ons were
exposed to contaminants, at what levels and when they were exposed during the period 1953-1987
(ATSDR, 2007; ATSDR, 2013).




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Figure 2. Summary of ATSDR reports on Camp Lejeune site (ATSDR, 2007; ATSDR, 2013)

Over the past years several agencies and organiza ons have reviewed ATSDR’s studies and the outcomes
that were reported by ATSDR (ATSDR, 2007; ATSDR, 2013). One review was provided by the Na onal
Academy of Sciences - Na onal Research Council (NRC, 2009a), which was sponsored by the U.S.
Department of the Navy. My contemporaneous response to this review was submi ed to ATSDR on June
27, 2009, which became an internal document for ATSDR. The contents of this document is set forth in
Sec on 7 of this report.

The government accountability oﬃce also reviewed the ATSDR studies and the NRC review. In their
conclusions the following point was referenced (GAO, 2007).



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       Members of the expert panel that the Na onal Academy of Sciences convened generally agreed
        that many parameters of ATSDR’s current study are appropriate, including the study popula on,
        the exposure me frame, and the selected health eﬀects (GAO, 2007).

At the me (GAO, 2007), ATSDR’s epidemiology studies were ongoing. Since then, these studies have
been concluded. The ﬁndings of these studies are given in ATSDR epidemiology reports which are
beyond my exper se area.

ATSDR study of the Camp Lejeune site also went through the cri cal review of an Expert Panel organized
by another branch of CDC outside the EDRP/ATSDR group working on the study. The Tarawa Terrace
ATSDR study underwent extensive external peer review by an expert panel of leading scien sts as
documented in Maslia et al. 2009 (Appendix B, P. 46, (h ps://www.atsdr.cdc.gov/sites/lejeune/expert-
panels.html)), as was the Hadnot Point and Holcomb Boulevard study (Maslia et al., 2009; Maslia et al.,
2013, P. A98). The scien sts on these panels have interna onal reputa ons as leaders in this ﬁeld.
EDRP/ATSDR program took several steps to respond and adapt to the recommenda ons of the Expert
Panel throughout the study.

The rigorous peer review done by the ATSDR expert panels was followed with another level of peer
review in the published journal articles, and a major national award by American Academy of
Environmental Engineers (AAEE, 2015) which recognized the quality of ATSDR work product
completed at the Camp Lejeune site. This further substantiates the general acceptance of ATSDR’s
modeling and reconstruction methodology in the pertinent scientiﬁc community.

As stated above, an additional level of scrutiny of ATSDR’s modeling work came from publication of
the Tarawa Terrace and the Hadnot Point/Holcomb studies in two separate peer-reviewed articles
published in high quality Q1 (top quartile) journals as given below:

   Maslia, M.L. et al. 2009(b). “Reconstructing Historical Exposures to Volatile Organic
    Compound-Contaminated Drinking Water at a U.S. Military Base.” Water Quality, Exposure, and
    Health. 2009, 1, 49-68.
   Maslia, M.L. et al., 2016. “Reconstructing Historical VOC Concentrations in Drinking Water for
    Epidemiological Studies at a U.S. Military Base: Summary of Results.” Water. 2016, 8, 449, 1-
    23.

This is the summary background of the water modeling studies that have been conducted at the Camp
Lejeune site by ATSDR.




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4. Principles of Water Modeling and Application at Camp Lejeune
4.1 Water Modeling
In the absence of historical and con nuous water quality sampling data, environmental scien sts
commonly rely on modeling to both predict future contaminant levels and to reconstruct historical
contamina on at a site. The use of modeling for historical reconstruc on is an accepted methodology to
predict past exposure or contamina on levels, as demonstrated both in the scien ﬁc literature (Reif et
al. 2003; Maslia et al., 2005; Sahmel et al., 2010) and in site speciﬁc studies such as Jacksonville, FL Naval
Air Sta on (USGS, 2003); Tucson Interna onal Airport / Hughes Aircra Facility (EPA, 1988); Oak Ridge
Na onal Lab (ATSDR/ChemRisk, 2000); Hanford Site (PNL, 1991); and Toms River / Dover Township
(ATSDR, 2000). In its study of the Camp Lejeune site, the ATSDR created four interlinked models using
scien ﬁcally valid, state of the art modeling tools that are based on fundamental groundwater ﬂow and
contaminant migra on principles that are widely accepted and rou nely u lized in prac ce for
predic ng contaminant movement (e.g., during natural spread or enhanced cleanup scenarios) and/or
for historical reconstruc on eﬀorts such as at Camp Lejeune and other sites (Sahmel et al., 2010;
Anderson et al., 2015; Bedient et al., 1999).

My opinions, within a reasonable degree of scien ﬁc and engineering certainty, on modeling techniques,
their principles, and their applica on to the Camp Lejeune site include the following:

       Water Modeling (environmental modeling) is a science-based approach to describe and develop
        domain-based knowledge on contaminant migra on within and across domains to understand
        environmental responses to natural or human perturba ons.
       A scien ﬁc model (in this case Water Modeling) can be deﬁned as an abstrac on of some real
        system - an abstrac on that can be used for decision making and management purposes.
        Development of a scien ﬁc model may include physical, mathema cal and sta s cal
        procedures. In ATSDR studies of the Camp Lejeune site both mathema cal and sta s cal
        procedures were used.
       Since all models are an abstrac on of the real system, they need to be presented and analyzed in
        a computa onal or physical environment which may include an analysis of calibra on, valida on
        (sec on 6.7), uncertainty and variability before they are used in simula on to predict future or
        past condi ons at a site. In ATSDR studies of the Camp Lejeune site all aspects of these
        computa onal procedures were successfully employed using computa onal methods.
       As such, Water Modeling is a reliable and widely accepted method of reconstruc ng historical
        contamina on in natural and engineered environmental systems. Natural environmental
        systems may include surface, subsurface and air media; and engineered systems may include
        water distribu on systems, constructed water ways and harbors, etc.
       Under all circumstances, trying to ﬁt a physical system to an available oﬀ-the-shelf model
        approach should be avoided in water modeling. In all cases the best models that describe the
        system adequately should be used or developed when necessary (USEPA 2009, p. 31).
       The models and techniques used by the ATSDR for historical reconstruc on, including
        fundamental equa ons, input parameters, parameter es mates, calibra on, uncertainty and
        sensi vity analyses, were and remain reliable, scien ﬁcally valid and state of the art procedures
        that are consistent with standard prac ces used and are generally accepted in this ﬁeld.
       The model results show ﬁnished water at U.S. Marine Corps Base Camp Lejeune was
        contaminated with varying levels of TCE, PCE, 1,2-tDCE, benzene and vinyl chloride from 1953 to
        1987.


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       The simulated monthly mean concentra ons of TCE, PCE, 1,2-tDCE, benzene and vinyl chloride at
        Tarawa Terrace, Hadnot Point and Holcomb Boulevard included (tabulated or in ﬁgures) in ATSDR
        reports are reliable and represent, within a reasonable degree of scien ﬁc and engineering
        certainty, the contaminant levels in ﬁnished water at Camp Lejeune from 1953 to 1987.
       The analyses published in all ATSDR chapter reports (ATSDR, 2007; ATSDR, 2013) and
        supplemental informa on regarding Camp Lejeune (see Figure 2), including the conclusions and
        monthly concentra on data, were all done applying proper scien ﬁc and engineering
        methodologies and remain to this day to be mathema cally reliable, sta s cally accurate and
        correct.
4.2 Basis of Opinions
The basis of my opinions outlined in this expert report is my 50 years of work in this ﬁeld and my ﬁ een
years of Camp Lejeune related work providing technical assistance to ATSDR under a coopera ve
agreement established between the Centers for Disease Control and Preven on (CDC) and Georgia Tech
and my ﬁ y years of exper se and knowledge in this area of research as an educator, researcher and
engineer. I have reviewed and relied on published literature, reports, historic data sources,
correspondence and par cipa on in mee ngs with state and regulatory agencies, par cipa on in
workshops and the review of documents provided by independent experts at these gatherings, as
documented in this report (Sec on 8).

My opinions are based on my understanding of sound science, engineering, mathema cal and sta s cal
formula ons that follow the current technology, scien ﬁc and engineering methodology that is used in
archival literature.




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5. Models used in ATSDR Study at Camp Lejeune
The Agency for Toxic Substances and Disease Registry (ATSDR), an agency of the U.S. Department of
Health and Human Services, was requested to conduct an epidemiological study to evaluate health
issues at U.S. Marine Corps Base Camp Lejeune, North Carolina. The scien ﬁc protocol on these studies
received approval from the Centers for Disease Control and Preven on Ins tu onal Review Board and
the U.S. Oﬃce of Management and Budget.

Historical water contamina on data needed for the epidemiological study were limited. To obtain
es mates of historical exposure, ATSDR used water modeling techniques and the process of historical
reconstruc on of contamina on levels at the base. These methods are used to quan fy concentra ons
of contaminants in ﬁnished water at the base and to compute the level and dura on of human exposure
to contaminated drinking water.

Owing to the complexity, uniqueness, and the number of topical subjects included in the historical
reconstruc on process of each study area, several reports were prepared that provide comprehensive
descrip ons of informa on, data, and methods used to conduct historical and present-day analyses at
both Tarawa Terrace (TT) and Hadnot Point–Holcomb Boulevard (HP-HB), Figure 2.

These reports provide comprehensive descrip ons of modeling results used to reconstruct historical
contaminant concentra on levels and ming of contaminant movement at Camp Lejeune. The study
represents the eﬀorts of about 20 experts whose combined exper se from a variety of scien ﬁc and
engineering disciplines spans every relevant area and specialty involved in water modeling. This body of
work forms the founda on for many of the opinions I have included in this report. In this report, I am
also oﬀering a more in-depth level of detail on some of those opinions when necessary. To allow the
reader the easiest access to this extensive body of work as it relates to this expert report, some of the
ﬁgures and tables were copied/reproduced from these reports and included here with proper references
to the source of the informa on.

5.1 Modeling Tools

The methods and approaches used to complete the historical reconstruc on process for the Tarawa
Terrace, Hadnot Point and Holcomb Boulevard study areas, the ATSDR study included the following steps
of analysis:

   i.     Informa on discovery, ﬁeld study, data mining and data analysis.
  ii.     Three dimensional, steady-state (predevelopment) and transient groundwater-ﬂow modeling
          applica on using MODFLOW-2005. This study included a trial-and-error calibra on of the model
          which also included the use of objec ve parameter es ma on technique using PEST-12.
 iii.     Determining historical water-supply well scheduling and opera ons using TechWellOp and
          PSOpS, a sub-model developed by MESL, Ga Tech.
 iv.      Three-dimensional dissolved phase groundwater fate and transport modeling of VOCs using
          MT3DMS-5.3.
  v.      Es ma ng the volume of light nonaqueous phase liquid (LNAPL) released to the subsurface at
          the Hadnot Point Industrial Area using TechNAPLVol, a sub-model developed by MESL, Ga Tech.
 vi.      LNAPL and dissolved phase fate and transport analysis using TechFlowMP, a sub-model
          developed by MESL, Ga Tech.


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 vii.       Reconstruc on of water-supply well concentra ons at the Hadnot Point landﬁll area using the
            linear control theory model (LCM) TechControl, a sub-model developed by MESL, Ga Tech.
viii.       Computa on and analysis of ﬂow-weighted average concentra ons of VOCs assigned to ﬁnished
            water delivered by the water treatment plants using a volumetric mass balance analysis (simple
            mixing).
 ix.        Extended period simula on of hydraulics and water quality in the water-distribu on system
            using EPANET 2.
  x.        Probabilis c analysis of intermi ent connec ons (1972–1985) of the Hadnot Point and Holcomb
            Boulevard water-distribu on systems using the TechMarkovChain, a sub-model developed by
            MESL, Ga Tech.
 xi.        Calibra on and sensi vity analysis of hydraulic and fate and transport models, and numerical-
            model parameters.
 xii.       Uncertainty analysis of model simula ons.
xiii.       The result of the historical reconstruc on process included the es ma on of monthly mean
            concentra ons of selected VOCs in ﬁnished water distributed to Tarawa Terrace housing areas
            and vicinity, and for the Hadnot Point and Holcomb Boulevard study areas of Camp Lejeune
            served by the TTWTP, HPWTP and HBWTP.

The models and techniques used by the ATSDR to complete the historical reconstruc on process for the
Tarawa Terrace, Hadnot Point, and Holcomb Boulevard study areas were and remain reliable, state of the
art and consistent with standard engineering prac ces used in the ﬁeld of water modeling. The
governing mathema cal and sta s cal methods and models used in these applica ons are standard
techniques that are used in technical literature and are well established (Anderson et al., 2015; Aral,
2010; Bedient et al., 1999, Rao, 1996).

Modeling tools (so ware) used for mul phase ﬂow and mul -species transport in the subsurface and
engineered systems at the site include the following public-domain applica ons developed by the US
government agencies:

           The MODFLOW-2005.5 applica on, a three-dimensional ﬁnite-diﬀerence groundwater-ﬂow
            model developed by the U.S. Geological Survey (USGS) that is used in groundwater modeling,
            (h ps://igwmc.princeton.edu/modﬂow/).

           MT3DMS, a public domain applica on developed by USGS. MT3DMS is a three-dimensional
            multi-species solute transport model used for solving advection, dispersion, and chemical
            reactions of contaminants in saturated groundwater ﬂow systems. MT3DMS interfaces
            directly with the U.S. Geological Survey ﬁnite-di erence groundwater ﬂow model
            MODFLOW for the groundwater ﬂow solution and supports the hydrologic and
            discretization features of MODFLOW. MT3DMS contains multiple transport solution
            techniques in one code, which can often be important, including for model calibration.
            (h ps://pubs.usgs.gov/publica on/70189204).

           The HSSM.5 applica on, a one-dimensional semi-analy cal model developed by the U.S.
            Environmental Protec on Agency to es mate volume of spills at contaminated sites.
            (h ps://www.epa.gov/water-research/hydrocarbon-spill-screening-model-hssm).

           Developed by USEPA, EPANET application is a software application that is used throughout
            the world to model water distribution systems. It was developed as a tool for understanding

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        the movement and fate of drinking water constituents within water distribution systems and
        can be used for many di erent types of applications in water distribution systems analysis.
        It can also be used to model contamination threats and evaluate resilience to security
        threats or natural disasters relevant to water distribution systems.
        (https://www.epa.gov/water-research/epanet).

The applica ons listed above are all in the main core of tools used in the ATSDR studies of the Camp
Lejeune site. They are all accepted methodologies and so ware that were used in similar studies at
other sites by government agencies and consul ng ﬁrms.

In addi on to the above listed standard applica ons used in the water modeling ﬁeld, ATSDR needed to
inves gate in more detail some of the ques ons that were raised by the expert panel convened by
ATSDR/CDC. For that purpose, MESL research program capabili es were used to supplement the main
core applica ons described above.

These suppor ve (sub-model) applica ons used in the ATSDR study of the Camp Lejeune site include:

       The TechFlowMP applica on is a mul phase ﬂow and mul species contaminant transport model
        developed in MESL studies (Jang, W. and Aral, MM, 2005; Jang, W. and Aral, MM, 2007; ATSDR
        2007h; Jang, W. and Aral, MM, 2008: a, b; Jang, W. and Aral, MM, 2011). In TechFlowMP model
        the coupled equa ons for ﬂow of water, gas, and NAPL phases and transport of mul species
        contaminants in saturated and unsaturated subsurface systems and heat energy transport were
        formulated and analyzed. To solve those equa ons, a three-dimensional ﬁnite element
        numerical model (so ware) was developed. The origin of these studies at MESL research
        program dates to 1997. TechFlowMP model has been veriﬁed using analy cal solu ons and
        experimental data that are published and available in the literature. To inves gate the fate and
        transport of VOCs in the subsurface, the model was used in conduc ng numerical analysis on the
        following other topics in other MESL studies: (i) mul phase ﬂow and contaminant transport in
        subsurface environments; (ii) biological transforma ons of contaminants in mul phase
        environments; (iii) in-situ air sparging analysis (IAS); and, (iv) thermally enhanced ven ng (TEV)
        that is used in contaminated groundwater treatment processes. In these numerical studies, the
        TechFlowMP model successfully simulated the migra on of contaminants between phases and
        between the unsaturated/saturated zones of a subsurface system, the dynamic movements of
        gas phases in the unsaturated zone, and remedial processes under in-situ air sparging (IAS) and
        thermally induced remedia on (TEV) studies of the MESL program.

        This applica on was used to explore saturated and unsaturated zones and vapor phase
        contaminant distribu ons at the Camp Lejeune site. It also served the purpose of independent
        reconﬁrma on of the predic ons of the calibrated mul phase subsurface models used by ATSDR
        at the Camp Lejeune site as described above (Figure 11). The ATSDR water modeling team ﬁrst
        u lized the MODFLOW and MT3DMS codes in its groundwater simula ons and analysis at the
        Camp Lejeune site. These two models are widely accepted public domain codes that have been
        tested and veriﬁed in other studies and are universally used in the modeling ﬁeld for the analysis
        of groundwater ﬂow and fate and transport of contaminants in subsurface systems (see above
        cited web sites). In addi on to these studies, to enhance the understanding of condi ons at the
        site, ATSDR extended its analysis. The ATSDR water modeling team applied the TechFlowMP
        so ware to understand and evaluate the unsaturated zone injec on and migra on condi ons at

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        the site. TechFlowMP is a public domain code that can be accessed from the Georgia Tech
        website for individual use (h p://mesl.ce.gatech.edu/, MESL 2017).

        The TechFlowMP code has been tested and veriﬁed against other applica ons in the literature.
        The details of veriﬁca on analysis developed for TechFlowMP model can be found in the
        following references (Jang, W. and Aral, MM, 2005; Jang, W. and Aral, MM, 2007; ATSDR 2007h;
        Jang, W. and Aral, MM, 2008: a, b; Jang, W. and Aral, MM, 2011). This list of peer reviewed
        publica ons provides detailed informa on on the veriﬁca on of this model in subsurface
        applica on. The applica on of the TechFlowMP model to Camp Lejeune site and calibra on,
        sensi vity and reliability analysis can be found in the references (ATSDR, 2007g; ATSDR, 2013a)
        and in, h p://mesl.ce.gatech.edu/PUBLICATIONS/Publica ons.html).

       The TechNAPLVol sub-model: This is a spilled LNAPL volume es ma on model which is based on
        the USEPA HSMM.5 analysis men oned above. In this case the USEPA HSSM.5 procedures are
        extended to three-dimensional analysis and used to es mate the volume of spilled BTEX
        compounds at the Camp Lejeune site.

        For the overall project, the area of interest was the entire Hadnot Point–Holcomb Boulevard
        (HPHB) study area (Figures A1 and A12 in ATSDR, 2013a, Figure 1). The focus for the
        modeling and analyses of LNAPL volume estimates is in an area of the Base designated as
        the Hadnot Point Industrial Area (HPIA). Various fuels, solvents, and other chemicals were
        stored, used, and inadvertently released to the environment during routine operations at the
        HPIA. Of particular interest in this study was the historical presence and subsequent fate
        and transport of subsurface light nonaqueous phase liquid (LNAPL) associated with fuel
        storage system releases at the HPIA. Results from the analyses are integrated with the
        results from other models and approaches as a part of the overall project objective to
        produce estimates and uncertainty bounds for the concentration of contaminants over time
        in selected water-supply wells and water-distribution systems.

        The objectives of the LNAPL volume estimate analysis were to:

          i. Investigate the migration and distribution of fuel-related LNAPL released into the
             unsaturated zone above a shallow aquifer for a hypothetical scenario.
         ii. Estimate the volume and distribution of LNAPL in the subsurface at the HPIA using
             historical ﬁeld data for LNAPL (free product) thicknesses measured over time in site
             monitoring wells; and,
        iii. Analyze the dissolution of benzene and total xylenes from the LNAPL source areas and
             the subsequent dissolved phase fate and transport of these contaminants under
             unsteady hydrologic and variable water supply well pumping conditions in the
             underlying groundwater system at the HPIA.

        The purpose of the hypothetical scenario used is to illustrate and explore the behavior of
        LNAPL in a multiphase environment and provide insight about the potential variability of
        results involving LNAPL movement. LNAPL movement is just one component of the overall
        fate and transport process for the applied analysis at the HPIA. For the HPIA analysis,
        LNAPL movement and estimates of LNAPL distribution in soil were also integrated with the
        TechFlowMP model including the LNAPL dissolution process and subsequent transport of


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        the dissolved phase contaminants in the groundwater. The goal of the integrated analysis is
        to evaluate contaminant arrival over time at water-supply wells in the area.

        The HSSM and TechFlowMP models were used in parallel to investigate the migration of
        LNAPL in the unsaturated zone and at the water table and to explore the distribution of
        LNAPL saturation in soil over time. Using LNAPL thickness data measured in monitoring
        wells, the TechNAPLVol model code was used to estimate the spatial distribution of LNAPL
        saturation and the volume of LNAPL in a three-dimensional subsurface domain within the
        HPIA. The TechFlowMP model used saturation proﬁles from the LNAPL analysis as a
        starting point for modeling the dissolution of benzene and total xylenes from free-phase
        LNAPL and the subsequent fate and transport of dissolved phase benzene and total xylenes
        in the underlying groundwater system.

        Technical details of this analysis which follows the USEPA methods of analysis (Farr et al,
        1990; USEPA, 1986) are given in (ATSDR, 2013, Chapter A–Supplement 7), Figure 3. This
        approach is used in ATSDR study to estimate volume of spilled contaminants at the Camp
        Lejeune site. As indicated in the ATSDR study reports the results conﬁrm the observed data
        at the site (ATSDR, 2013a, Tables A15, A16). These comparisons are given in Figure 3.




Figure 3. Spill volumes reported by other agencies (Table A15, pp. A49, ATSDR, 2013a) and Spill
volumes estimated by TechNAPLVol application (Table A16, pp. A50, ATSDR, 2013a)



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       The Pumping Schedule Op miza on System, PSOpS sub-model: To complement ATSDR’s
        historical contamina on reconstruc on studies, the pumping schedule varia on analysis was
        conducted to describe the eﬀect of groundwater pumping schedule varia ons on the arrival
          mes of Tetrachloroethylene (PCE) and other by-products at water-supply wells and the water
        treatment plant (WTP).

        During the historical reconstruc on study, the groundwater ﬂow and fate-and-transport of
        contaminants in the Tarawa Terrace area of the Camp Lejeune base and its vicinity have been
        simulated to evaluate the contaminant concentra on in the WTP. Due to the uncertainty residing
        in the reconstructed input data used in these simula ons, uncertainty may be present in the
        simulated contaminant concentra ons in the water-supply wells and the WTP, and hence in the
          mes for contaminant concentra ons to reach the maximum contaminant level (MCL) at these
        loca ons. A contributor to this uncertainty is the uncertainty in pumping schedules used in the
        ATSDR model, therefore, in this study the focus was on the uncertainty associated with the
        pumping schedules. The study included the development of a simula on and op miza on (S/O)
        procedure iden ﬁed as PSOpS (Pumping Schedule Op miza on System), which combines ﬁeld
        data, simula on models and op miza on techniques to op mize the pumping schedules to
        iden fy maximum or minimum contaminant concentra ons in the WTP consistent with the
        reported pumping schedules. Based on the op mized pumping schedules, varia ons of PCE
        concentra on and the maximum contaminant level (MCL, PCE) arrival me at water-supply wells
        and the WTP were evaluated (Wang and Aral, 2008).

        The MESL-Georgia Tech research group developed PSOpS sub-model, an op miza on
        applica on to yield answers to specialized uncertainty-related ques on raised by the ATSDR
        Expert Panel (March 2005) (h ps://www.atsdr.cdc.gov/sites/lejeune/expert-panels.html). The
        analysis is based on the MODFLOW family of codes in the genera on of the database used to
        solve an op miza on problem. The ques on ATSDR Expert Panel members raised in this case
        was related to the uncertainty of a pumping-schedule opera on that may be implemented at
        the site and the characteriza on of its eﬀects on the study outcome. The PSOpS model that was
        developed for the purposes of this analysis and used in the ATSDR water modeling study to
        address this ques on became part of the peer reviewed PhD thesis of a graduate student at
        Georgia Tech. The detailed documenta on of this model, which uses the principles of
        op miza on (Rao, 1996) can be found in the PhD thesis of Dr. J. Wang, which is public domain
        informa on (Wang, 2008). The overall methodology that used these applica ons are set forth in
        detail in the series of reports published by ATSDR, (ATSDR, 2007a, h; ATSDR, 2013a and S2).

       The TechMarkovChain sub-model: As described earlier (see Sec on 3), the Tarawa Terrace WTP
        was closed in March 1987 due to contamina on. During this period, Hadnot Point WTP supplied
        water to the Hadnot Point area, and Holcomb Boulevard WTP supplied water to the Holcomb
        Boulevard and Tarawa Terrace base housing areas. The Holcomb Boulevard water-distribu on
        system is connected to the Hadnot Point water-distribu on system at the Marston Pavilion valve
        and at booster pump 742. While booster pump 742 was removed during 2007, the two systems
        can s ll be interconnected by opening a valve that exists at the same loca on based on water
        demand condi ons. For opera onal reasons, the two water-distribu on systems were
        occasionally connected (depending on water demand)—excep ons being connec ons that

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        occurred during late spring and summer months of 1972–1986 and a con nuous 8-day period of
        28 January to 4 February 1985 (ATSDR, 2007a, ATSDR, 2013 S8). Because the informa on
        pertaining to mes when interconnec on events occurred is limited and for some years
        unknown (e.g., 1972–1977, Figure S8.37; ATSDR, 2013), a Markov process (Ross, 1997) was
        applied by using available ﬁeld data and informa on to es mate the probability and number of
        monthly interconnec on events that occurred during the months of April–August for 1972–
        1985.

        A Markov process (a stochas c process) analyzes the tendency of one event to be followed by
        another event based on the data available on a sequence of events during a calibra on period.
        By using this analysis, one can generate a new sequence of random but related events, which
        will be sta s cally correlated to the original calibra on data. The stream of events generated is
        called a Markov Chain.

        In this study, a probabilistic approach based on Markov Chain simulations was used to
        estimate the yearly numbers of booster pump/valve openings. For the calculation of
        transition probabilities of this Markov Chain model, the conditional probabilities of transfer
        events given the temperature, precipitation, or delivered ﬁnished-water volume value in a
        day were calculated using Kernel density estimator and Bayes’ theorem. Also, the
        probabilities of transfer were conditioned on the values of pairs of parameters by using the
        Copula concept. The Markov analysis ﬁrst estimates the number of historical booster pump
        opening events on a yearly basis. Next, the numbers of events are distributed among the dry
        months (April–August) during each year. Graphical techniques and data analyses (of daily
        recordings of temperature, precipitation, and raw-water volume in the HBWTP) were then
        used to estimate the occurrence of daily ﬁnished-water transfers during individual months.
        Table S8.20 (ATSDR, 2013, S8) lists the number of recorded interconnection events, and the
        number of monthly events predicted by using a Markov Chain analysis for the period 1972–
        1985.

        This methodology is an e icient and e ective way of utilizing the available data to predict
        the number of booster pump/valve openings monthly (Ross, 1997; Rao, 1996). The results
        show that predictions made using the Markov methodology analysis are statistically
        correlated and mimic the historical operations within a statistical conﬁdence interval (Table
        S8.20, ATSDR, 2013, S8). These outcomes are used in contaminant fate and transport
        simulations for the Holcomb Boulevard and Hadnot Point water-distribution systems in
        ATSDR study. The details of the Markov analysis methodology are given in Appendix S8.4
        (ATSDR, 2013a, S8).

       TechControl sub-model: A linear control theory model and so ware developed by MESL, Ga
        Tech. It is used to address the ques on of the applica on of simpler models to predict
        contaminant concentra ons at certain loca ons of the Camp Lejeune site (HPLF) (ATSDR,2013,
        S5). The development of the so ware was based on a request that was ini ated by the ATSDR
        Expert Panel of scien sts (Expert Panel 2005) (h ps://www.atsdr.cdc.gov/sites/lejeune/expert-
        panels.html).




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       The Linear Control Theory, LCT analysis: Linear Control Theory is a scien ﬁc methodology of the
        ﬁeld of control engineering and applied mathema cs. The methodology deals with the control of
        dynamical systems in engineered processes. In the case of ATSDR study of the Camp Lejeune
        site, the methodology was applied to groundwater contaminant transport analysis as a simple
        applica on to predict concentra on values at a speciﬁc point in space and me based on limited
        data available at the site (ATSDR,2013, S5). This study was requested by the expert panel (Expert
        Panel 2005) which reviewed the ATSDR Camp Lejeune site study and provided scien ﬁc advice.

       The TechWellOp sub-model: A subsurface pumping well es ma on model and so ware
        developed by MESL, Ga. Tech. The methodology uses the daily data in the Training Period to
        determine the monthly opera onal behavior of the water supply wells at the Camp Lejeune site
        that would sa sfy the total water volume delivered to the water treatment plants. Once the
        average monthly working days in the Training Period are es mated for each calendar month,
        they are u lized in the predic on stage which is based on the same principle of sa sfying the
        total monthly ﬂow delivered to the treatment plant at those periods. This methodology is an
        eﬃcient and eﬀec ve way of integra ng the available data in recent years to the predic on
        process for the past years. The development of the so ware was based on a discussion that was
        ini ated by the ATSDR Expert Panel of scien sts (Maslia, et al., Expert Panel 2005, ATSDR, 2007a;
        ATSDR, 2013, S2).

The use and applica on of specialized codes to address speciﬁc problems that standard codes such as
MODFLOW and MT3DMS cannot address is an accepted methodology. As stated in the U.S.
Environmental Protec on Agency report, “Guidance on the Development, Evalua on, and Applica on of
Environmental Models” (USEPA 2009, p. 31): “However, the Agency acknowledges there will be mes
when the use of proprietary models provides the most reliable and best-accepted characteriza on of a
system.” The point being made in this statement is that the most appropriate model should be applied to
characterize a system, not necessarily, the most popular or o en-used oﬀ-the-shelf models. This is the
modeling philosophy and approach that ATSDR took when applying the TechFlowMP, TechNAPLVol,
TechWellOp, TechControl, TechMarkovChain and PSOpS models that were used at the Camp Lejeune
site.

5.2 Multimedia Environmental Simulation Laboratory (MESL) involvement in the ATSDR study

In Figure A2, the ﬁrst in Figure 4 below (ATSDR, 2007; ATSDR, 2013), the components of the Tarawa
Terrace modeling study are shown. The red arrows on this ﬁgure indicate the areas where the MESL
team was involved, and the yellow arrows indicate where the MESL team provided an oversight of the
study components. In Figure A2, the second in Figure 4 below (ATSDR, 2007; ATSDR, 2013), the
components of the Hadnot Point – Holcomb Boulevard modeling study are shown. The red arrows on
this ﬁgure indicate the areas where the MESL team was involved, and the yellow arrows indicate where
the MESL team provided an oversight of the study components.




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Figure 4. MESL involvement in ATSDR modeling tasks at TT and HP/HB Camp Lejeune site (ATSDR, 2007;
ATSDR, 2013)

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6. Evaluation of ATSDR Camp Lejeune Study Results
6.1 Environmental Modeling Processes used in ATSDR Study

A scien ﬁc model can be deﬁned as being an abstrac on of some real system - an abstrac on that can
be used for predic on and management purposes. Thus, the purpose of a scien ﬁc model is to make
some predic ons on the modeled system. While making these predic ons, a scien ﬁc model also
enables the analyst to determine how one or more changes in various aspects of the modeled system
may aﬀect the other aspects of the system, the system itself, and the results predicted, in a cost-eﬀec ve
manner. Because models are an abstrac on of the real system and cannot be a complete depic on of
the real system, they need to be presented and analyzed in a computa onal environment which includes
an analysis of uncertainty, variability, calibra on and valida on.

Uncertainty analysis may take the form of sensi vity analysis, or for more complicated applica ons,
sta s cal uncertainty analysis may be u lized. It is important to dis nguish the diﬀerence between the
terms “uncertainty” and “variability.” As expected, they refer to two diﬀerent and dis nct concepts (Aral,
2010).

Uncertainty is a measure of knowledge of the magnitude of a parameter. Thus, uncertainty can be
reduced by further research, i.e. the parameter value can be reﬁned through further experimenta on or
further data collec on. Variability on the other hand is a measure of the heterogeneity of a parameter,
event or the inherent variability in a chemical property at a site. Variance cannot be reduced by further
research, but a model can be developed such that it would mimic the variability of the parameter or
event used in the model. Sta s cal variability analysis is a common approach used in modeling studies to
envelope these varia ons at a site and understand its eﬀects on the outcome. This analysis provides
some degree of conﬁdence in model output.

Models include parameters that need to be associated with values. These parameter values are used as
input to mathema cal models to produce numerical output. Ideally, these parameters should have a
good deﬁni on and a physical basis for the environmental system under study. Usually, these parameters
either are calculated using the mathema cal representa on of their physical basis, or they are measured
in ﬁeld or laboratory studies. O en, however, the values of these parameters are unknown or only
known approximately. Thus, a range of these parameters can be input into a model to yield the best
outcome when compared to an observa on made in a ﬁeld or laboratory study. Appropriate values of
the parameters are needed in the model to achieve the appropriate output that is observed at a site.
Thus, calibra on of models is necessary. Calibra on of a model can then be deﬁned as the stage where
we adjust the parameters of the mathema cal model such that the model agreement is maximized with
respect to the observa on data we have on the modeled system output. In this sense, model calibra on
is ﬁne tuning the model to a set of parameter data on the modeled system. Calibra on procedures used
in the ATSDR study for all models considered adhere to the standards used in the technical literature
(Bedient, 2003; Anderson, 2015, Mei 2023).

The calibra on process followed by valida on of complex systems is another important aspect of model
development and use as it is implemented in ATSDR studies. The seemingly complex deﬁni ons of these
two terms may get further complicated when several models are used in environmental applica ons
where overlapping models are necessary to describe the behavior of the complex system. In complex
system analysis several interlinked modeling phases are used to describe the behavior of the system


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modeled. Thus, as a typical example, the calibra on and valida on procedures used in a simple steady
state groundwater modeling applica on will be diﬀerent than an interlinked study of a complex system.
A complex system may include a steady/unsteady groundwater ﬂow model that is linked to a transient
contaminant transport model which is further linked to a water treatment plant condi on that is linked
to a water distribu on system analysis. Since these phases are not independent and occur within the
same envirosphere and me frame of analysis, one should not ignore the integrated calibra on and
valida on processes involved in these applica ons. In complex systems the interlinked behavior of the
models used is the key response that is in ques on which is some mes ignored, overlooked or not
properly understood. The ATSDR study of the Camp Lejeune site represents such a complex system
where steady groundwater ﬂow, unsteady groundwater ﬂow, unsteady mul species mul phase
contaminant transport and the engineered water treatment and water distribu on system applica ons
are all components of the same envirosphere and operate within the same me frame. As such,
calibra on and valida on processes should be considered as interlinked processes.

Having described the deﬁni on of the calibra on process above, valida on is another contended
modeling concept that was and s ll is debated in scien ﬁc literature. For example, in Konikow and
Bredehoe (1992) it is stated that: “Ground-water models are embodiments of scien ﬁc hypotheses. As
such, the models cannot be proven or validated, but only tested and invalidated,” or “…The absolute
validity of a model can never be determined” (NRC, 1990). This is partly a seman c issue and partly a
philosophical one. In the main text of this report, I will not go into the details of the philosophical
discussions on this subject although I believe they have merit within the context the authors describe
the process in their scien ﬁc discussions. However, I will evaluate this process within the context of
complex systems analysis in Sec on 6.7 of this expert report to bring clarity to the deﬁni on of this
process as it is used in the Camp Lejeune study. In this expert report I will adopt the standard
(tradi onal) deﬁni on of valida on of a model. In tradi onal deﬁni on, valida on is understood as a
process that results in an explicit statement about the behavior of a model in an applica on. That is, the
common deﬁni on of valida on is the demonstra on that a model, within its domain of applicability,
possesses sa sfactory accuracy consistent with the intended applica on of the model (Sargent, 1984;
Curry et al., 1989; Konikow and Bredehoe , 1992). This demonstra on builds conﬁdence in the model
and indicates that the model is acceptable for use. As such, valida on procedures used in the ATSDR
study for all models considered adhere to the standards used in technical literature (Aral, 2010, Bedient,
2003; Anderson, 2015, Sargent, 1984; Curry et al., 1989; Konikow and Bredehoe , 1992; Mei, 2003).

The calibra on, valida on, uncertainty and sensi vity analysis concepts used in the ATSDR study are
clearly described on page 23 of Chapter A report (ATSDR, 2007a; Fig. A9) Figure 5. In these deﬁni ons,
the hierarchical approach to calibra on and valida on is conceptually described in terms of the Venn or
set diagrams (Borowski and Borwein 1991), Figure 5. Such diagrams are useful for showing logical
rela ons between sets or groups of like items and are shown in Figure A9 for each hierarchical
calibra on level. What is meant by this descrip on is that at level 1 (Figure A9a, Figure 5), there may be
many combina ons of parameters that yield solu ons to the predevelopment groundwater-ﬂow
calibra on condi ons. However, only a smaller set of these feasible solu ons, the subset of solu ons
indicated by circle "A" in Figure A9a yields an acceptable combina on of parameters for a calibrated
transient groundwater ﬂow condi on. Viable solu ons are indicated by circle "B" (Figure A9b, ATSDR,
2007a), Figure 5. Only those solu ons that successfully simulate both predevelopment and transient
groundwater ﬂow condi ons can be accepted and classiﬁed as resul ng in calibrated transient and
predevelopment groundwater ﬂow models. As such, the next level modeling used not only serves as the
independent valida on of the previous level applica on, but it is also used in the itera ve recalibra on
process of the previous system if valida on process does not yield sa sfactory outcome. Similarly, the

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next level of modeling phase, which is the transient contaminant transport analysis serves as the next
independent valida on of groundwater ﬂow models, but it is also used in the recalibra on of the
complete system up to that stage. Thus, in all levels, the last level serves as an independent valida on of
the previous level and some mes necessitates the recalibra on of all the previous system levels. This is
an important dis nc on which needs to be considered in complex system analysis and modeling as
opposed to simple modeling applica ons.




Figure 5. Venn diagram representa ons (Figure A9, page A23, ATSDR, 2007a)

The ATSDR study of the Camp Lejeune site falls into the category of a “Complex System” as deﬁned
above. Thus, itera ve calibra on and valida on of all models used in the ATSDR study adhere to the
standards used in the technical literature within the concept of complex system analysis (Aral, 2010).

It is my opinion that these concepts are properly and successfully developed and employed in the
models that are used in ATSDR studies for the Camp Lejeune site (ATSDR, 2007a; ATSDR, 2013a).
6.2 Contaminants Studied at the Camp Lejeune Site
The speciﬁc VOCs that ATSDR studied at the Camp Lejeune site (TT, HP-HB sites), include:

       trichloroethylene (TCE),
       tetrachloroethylene (PCE),

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       trans 1,2-dichloroethylene, (1,2-tDCE),
       vinyl chloride (VC), and
       benzene or BTEX compounds.

Trichloroethylene: Trichloroethylene (TCE) is a vola le, colorless liquid organic chemical. TCE does not
occur naturally in the environment and is created by chemical synthesis. It is used primarily to make
refrigerants and other hydroﬂuorocarbons and as a degreasing solvent for metal equipment. TCE is also
used in some household products, such as cleaning wipes, aerosol cleaning products, tool cleaners, paint
removers, spray adhesives, carpet cleaners and spot removers. Commercial dry cleaners also use
trichloroethylene as a spot remover. (extracted from: h ps://www.cancer.gov/about-cancer/causes-
preven on/risk/substances/trichloroethylene).

Tetrachloroethylene: Tetrachloroethylene is a nonﬂammable colorless liquid. It is widely used for dry
cleaning of fabrics; hence it is some mes called "dry-cleaning ﬂuid". It also has its uses as an eﬀec ve
automo ve brake cleaner. Other names for tetrachloroethylene include perchloroethylene, PCE, PERC,
tetrachloroethene, and perchlor. (extracted from: h ps://en.wikipedia.org/wiki/Tetrachloroethylene).

Trans-1,2-dichloroethylene: Trans-1,2-dichloroethylene is a colorless liquid, with a sharp, harsh odor,
and is highly ﬂammable. The primary uses for trans-1,2-dichloroethylene are as a solvent in processing
and in formula ons for cleaning and degreasing.

Vinyl chloride: Vinyl chloride is a colorless gas that burns easily. It does not occur naturally and must be
produced industrially for its commercial uses. Vinyl chloride is used primarily to make polyvinyl chloride
(PVC), a hard plas c resin used to make a variety of plas c products, including pipes, wire and cable
coa ngs, and packaging materials (extracted from: h ps://www.cancer.gov/about-cancer/causes-
preven on/risk/substances/vinyl-chloride).

BTEX: A group of VOCs, collec vely known as BTEX, comprising benzene (B), toluene (T), ethylbenzene
(E) and xylene (X) (o en expressed as total xylenes) are important industrial solvents and frequently
encountered in petroleum products.

Benzene: Benzene is a colorless or light-yellow liquid chemical at room temperature. It is used primarily
as a solvent in the chemical and pharmaceu cal industries, as a star ng material and an intermediate in
the synthesis of numerous chemicals, and in gasoline. Benzene is produced by both natural and man-
made processes (extracted from: h ps://www.cancer.gov/about-cancer/causes-
preven on/risk/substances/benzene).

The contamina on condi ons based on these chemicals at the Tarawa Terrace, Hadnot Point and
Holcomb Boulevard areas will be examined in more detail in the following sec ons of this expert report.

6.3 Contaminants Observed at the Camp Lejeune Site
Contamina on vs Pollu on are two synonymous terms that are commonly used in technical literature
and in the common language that is associated with environmental studies and health risk analysis.
Contamina on that is present in the environment at low concentra ons and thus does not cause adverse
environmental or health eﬀects should not be confused with pollu on. It is when these contaminant
levels exceed a certain threshold and cause health eﬀects is of concern in health studies. When that
happens, contaminants at a site are classiﬁed as environmental pollu on (Meharg, 2005; Aral, 2010).


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In this context it is important to reference the reported (observed) PCE concentra ons in water supply
wells in Tarawa Terrace study area reports. In Table A9, page A27, we see the elevated PCE
concentra ons in water supply wells (ATSDR, 2007a), Figure 6. In this table, the numbers in the fourth
column are all observed PCE levels in water supply wells; the MCL level for PCE is 5 g/L.




Figure 6. The reported (observed) PCE concentra ons at the Tarawa Terrace study area water supply
wells (column four Table A9, page A27, Tarawa Terrace site, ATSDR, 2007a.)



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Similarly, the reported (observed) TCE, PCE, 1,1-DCE, 1,2-tDCE, 1,2-cDCE, Total 1,2-DCE, and VC
concentra ons at Hadnot Point – Holcomb Boulevard study area are given in Figure 7. In this table, the
numbers highlighted in red are all observed levels that are above the detec on limits for the compound
iden ﬁed in the header of the table; the MCL level for TCE and PCE is 5 g/L.




Figure 7. The reported (observed) TCE, PCE, 1,1-DCE, 1,2-tDCE, 1,2-cDCE, Total 1,2-DCE, VC
concentra ons at Hadnot Point – Holcomb Boulevard study area (Table A4, pp. A21, HP/HB Camp
Lejeune site, ATSDR, 2013a)


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Similarly, the reported (observed) BTEX concentra ons at Hadnot Point – Holcomb Boulevard study area
are given in Figure 8. The numbers highlighted in red are all concentra ons above detec on levels for the
compound iden ﬁed in the header of the table; the MCL level for Benzene is 5 g/L.




Figure 8. The reported (observed) BTEX concentra ons at Hadnot Point – Holcomb Boulevard study area
(Table A5, pp. A22, HP/HB Camp Lejeune site, ATSDR, 2013a).
As seen in the tables above, the observed and modeled contaminant levels of TCE, PCE, their by-
products and BTEX compounds at the Camp Lejeune site are all at elevated levels (ATSDR, 2007; ATSDR,
2013).
6.4 Dissolved phase pollu on vs NAPL, LNAPL and DNAPL pollu on.
Nonaqueous phase liquids (NAPLs) are hydrocarbons that exist in a subsurface environment as a
separate, immiscible (nonmixing) phase when in contact with water and/or air. Diﬀerences in the
physical and chemical proper es of water and NAPL result in the forma on of a physical interface
between the liquids which prevents the two ﬂuids from mixing. Nonaqueous phase liquids are typically
classiﬁed as either light nonaqueous phase liquids (LNAPLs) which have densi es less than that of water,



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or dense nonaqueous phase liquids (DNAPLs) which have densi es greater than that of water (Newell et
al., 1995).

Upon release to the environment, NAPL (i.e., LNAPL or DNAPL) will migrate downward under the force of
gravity. If a small volume of NAPL is released to the subsurface, it will move through the unsaturated
zone where a frac on of the hydrocarbon will be retained by capillary forces as residual globules in the
soil pores, thereby deple ng the con guous NAPL mass un l movement ceases. If suﬃcient LNAPL is
released, it will migrate un l it encounters a physical barrier (e.g., low permeability strata) or is aﬀected
by buoyancy forces near the water table. Once the capillary fringe is reached, the LNAPL may move
laterally as a con nuous, free-phase layer along the upper boundary of the water-saturated zone due to
gravity and capillary forces (Newell et al., 1995). DNAPL pollu on on the other hand, because its density
is higher than that of water, will con nue its downward mo on under the force of gravity in a water
saturated subsurface system.

Modeling techniques used for each of these contamina on types and dissolved phase modeling
techniques are dis nctly diﬀerent from one another. The governing equa ons, mathema cal deﬁni ons
of migra on and diﬀusion-dispersion processes diﬀer from one another and a model developed for one
case cannot represent the contaminant fate and transport in the other case.

A NAPL phase which is in physical contact with ground water will dissolve (solubilize, par on) into the
aqueous phase. The solubility of an organic compound is the equilibrium concentra on of the compound
in water at a speciﬁed temperature and pressure. For all prac cal purposes, solubility represents the
maximum concentra on of that compound in water at a given temperature. At the maximum
concentra on, the solu on is said to be saturated and thus the NAPL phase exists. Thus, to dis nguish
NAPL pollu on from dissolved phase pollu on at a site, the rela ve magnitude of solubility of the alien
substance and the concentra ons observed at a site can be used. If the concentra ons of the alien
substance observed at a site is less than ~10% of the solubility range of the alien substance, then the
alien substance plume can be iden ﬁed as a dissolved phase plume rather than an NAPL plume (Hulling
and Weaver, 1991).

Characteriza on of tetrachloroethylene (PCE) contamina on in groundwater at the ABC One-Hour
Cleaners site and at Tarawa Terrace base housing as a “free-phase” or “pure-phase” DNAPL plume (NRC
2009, p. 38) contradicts and misrepresents the concentra on data presented in ATSDR and in other
reports and documents in the water phase. Those reports and documents describe the PCE in
groundwater in the vicinity of ABC One-Hour Cleaners as “dissolved-phase” PCE (Shiver 1985, Roy F.
Weston, Inc. 1992, 1994, Faye and Green 2007). The solubility limit of PCE in water occurs at a
concentra on of at least 210,000 μg/L (Pankow and Cherry, 1996, Lawrence 2007). PCE solubility is given
in the range 150,000 g/L – 1,503,000 g/L at 25 oC in (Fe er, 1998: page 163). PCE in groundwater that
occurs at concentra ons much less than the solubility limit is, by the deﬁni on given above, a dissolved-
phase PCE plume. The ATSDR conceptualiza on of groundwater ﬂow and of dissolved-phase PCE
condi ons at ABC One-Hour Cleaners and the Tarawa Terrace base housing area is shown below in Figure
9. PCE-concentra on data presented in ATSDR reports (Faye and Green 2007, Tables E5 and E7) indicate
that concentra ons of PCE in groundwater at Tarawa Terrace and vicinity occur at much less than 10% of
the solubility limit. Thus, the characteriza on of the PCE plume in the vicinity of ABC One-Hour Cleaners
as a dissolved phase plume is the most appropriate characteriza on of condi ons at the site.




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Figure 9. Conceptual model of groundwater ﬂow and dissolved-phase PCE transport at, and in the
vicinity of, ABC One-Hour Cleaners (solubility of PCE is at least 210,000 g/L, Pankow and Cherry 1996,
Lawrence 2007)

Further, the processes selected to remediate free-phase DNAPL PCE plume in groundwater are totally
diﬀerent from processes used to remediate dissolved-phase PCE plume in groundwater. The remedia on
process at the ABC One-Hour Cleaners and at Tarawa Terrace was coordinated under the auspices
(direc ves) of the U.S. Environmental Protec on Agency (USEPA). The remedia on process selected was
approved by the North Carolina Department of Environment and Natural Resources (NCDENR) and is
correctly described as “groundwater extrac on by wells and treatment by air stripping (i.e., pump-and-
treat process).” This remedia on process is appropriate only for dissolved phase PCE contamina on and
not for DNAPL phase PCE plume (NCDENR 2003, Weston Solu ons Inc. 2005, 2007).

Given the deﬁni ons and data presented above, it is my opinion that the dissolved phase plume
characteriza on used in the ATSDR study of the Tarawa Terrace area is appropriate and consistent with
the deﬁni ons given above.

6.5 Tarawa Terrace Study
The construc on of the Tarawa Terrace housing area dates to 1951. The area was subdivided into
housing areas I and II which contained a total of 1,846 housing units and accommodated a resident
popula on of about 6,000 people (ﬂuctua ng), Figure 10.




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Figure 10. Tarawa Terrace study area, loca on of ABC One Hour Cleaners and geographic boundaries of
the site. (Figure A1, page A3, ATSDR, 2007a)

Groundwater is the sole source of water supply at the Tarawa Terrace site. To analyze and reconstruct
contaminant concentra ons and the meline of contaminant movement at the site, a series of modeling
techniques were used by the EDRP/ATSDR modeling group. These are:

       The analysis of predevelopment (steady state) groundwater ﬂow condi ons at the site
        (MODFLOW);
       The analysis of transient (pumping) groundwater ﬂow condi ons at the site (MODFLOW);
       The analysis of fate and transport of PCE and its by-products from its source at ABC One-Hour
        Cleaners to water-supply wells (MT3DMS and TechFlowMP);
       The analysis of concentra on of PCE and its by-products in ﬁnished water at the Tarawa Terrace
        WTP were determined by using a material mass balance model (Mass Balance, simple mixing),
        where the ﬂow-weighted average concentra on of the aforemen oned contaminants was
        calculated. The water from the Tarawa Terrace WTP was delivered to residents living in family
        housing; and,
       Assessment of parameter sensi vity, variability, and uncertainty associated with model
        simula ons of groundwater ﬂow, contaminant fate and transport, and water-distribu on system
        analyses were also conducted (ATSDR, 2007).

For the implementa on of these stages proper sub-models developed by MESL were also used as
appropriate. The details of these sub-models were described earlier in this report (see Sec on 5). The
calibra on and valida on analyses were successfully completed for all the modeling stages given the



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complex system analysis techniques described earlier in this expert report (see Sec on 6.1). The details
of this analysis can be found in (ATSDR, 2007) which will not be repeated here.

A er calibra on and valida on analyses were successfully completed the simula on results of PCE and
its by-products at the WTP were generated. These results are summarized in Figure 11.




Figure 11. Simulated PCE concentra ons and its by-products at water supply well TT-26 and the WTP of
Tarawa Terrace site (Figure A19, page A43, ATSDR, 2007a)


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Uncertainty and sensi vity analyses were also successfully completed for the Tarawa Terrace study. The
uncertainty analysis included the porous media parameter uncertainty, contaminant property
uncertainty, model setup uncertainty and environmental factor uncertainty as described in Figure 12a.
The parameter uncertain es were introduced using two stage Monte Carlo simula ons (MCS). Pumping
schedule uncertain es were introduced using sub-models developed by MESL program (see sec on 5.1)
The results of this analysis yielded the outcome given in Figure 12b for PCE. In this ﬁgure the range of
PCE concentra ons derived from the probabilis c analysis using MCS is shown as a band of solu ons and
represents 95% of all possible results. The current MCL for PCE (5 μg/L) was ﬁrst exceeded in ﬁnished
water during October 1957-August 1958; these solu ons include November 1957, the date determined
using the calibrated fate and transport model (ATSDR, 2007b)-a determinis c modeling analysis
approach. The PCE concentra on in Tarawa Terrace WTP ﬁnished water during January 1985, simulated
using the probabilis c analysis, ranges from 110-251 μg/L (95 percent of Monte Carlo simula ons). This
range includes the maximum calibrated value of 183 μg/L (derived without considering uncertainty and
variability using MT3DMS (ATSDR, 2007b) and the maximum measured value of 215 μg/L. The red line
trend includes the variability observed when pumping schedule uncertainty is included in the analysis.
Therefore, the probabilis c analysis results-obtained by using two stage Monte Carlo simula on-provide
a sense of conﬁdence in the historically reconstructed determinis c PCE concentra ons that were
delivered to residents of Tarawa Terrace in ﬁnished water from the WTP.




Figure 12a. The parameter uncertainty, model setup uncertainty and environmental factor uncertainty
analysis structure used in ATSDR study of the Camp Lejeune site.




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Figure 12b. Reconstructed drinking water concentra ons at the Tarawa Terrace Water Treatment Plant
including parameter uncertainty and pumping uncertainty, (Figure I29, page I55, ATSDR, 2007i)

Tabulated results of computed versus observed PCE concentra ons at WTP were also given in Chapter F
report, Figure 13. Third column in Table F14 indicates that the predicted values were all in calibra on
range except for four predicted values which indicates good capture of the observed values at the WTP.
Detailed analysis of sensi vity analysis is also included in (ATSDR, 2007i) which will not be repeated here.


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Figure 13. Reconstructed drinking water concentra ons at the Tarawa Terrace Water Treatment Plant
and a comparison with the observed concentra ons at the WTP during the period (1982 – 1985), (Table
F14, page F42, ATSDR, 2007f)

Modeling results for Tarawa Terrace show that former Marines and their families who lived in Tarawa
Terrace family housing units from November 1957 through February 1987 received ﬁnished water
primarily contaminated with Tetrachloroethylene (PCE), a dry-cleaning solvent. Levels of PCE in ﬁnished
water during this period exceeded the amount currently allowed by the Environmental Protec on
Agency (USEPA) under the Safe Drinking Water Act, known as the Maximum Contaminant Level (MCL),
which was set at 5 μg/L in 1992 (ATSDR, 2007a). PCE concentra ons ﬁrst exceeded the MCL in



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November 1957 and rou nely exceeded it, except for two “two-month” periods when Well TT-26 was
not in opera on, un l February 1987, when the water treatment plant was ﬁnally decommissioned.

In summary, based on ﬁeld data, modeling results, and the historical reconstruc on process, the
following observa ons can be made with respect to water contamina on at Tarawa Terrace (ATSDR,
2007):

       Simulated PCE concentra ons exceeded the current MCL of 5 μg/L at water-supply well TT-26 for
        332 months—January 1957–January 1985; the maximum simulated PCE concentra on was 775
        μg/L; the maximum measured PCE concentra on was 1,580 μg/L during January 1985.
       Simulated PCE concentra ons exceeded the current MCL of 5 μg/L in ﬁnished water at the
        Tarawa Terrace WTP for 346 months—November 1957–February 1987; the maximum simulated
        PCE concentra on in ﬁnished water was 176 μg/L; the maximum measured PCE concentra on in
        ﬁnished water was 215 μg/L during February 1985 (Figure 13).
       Simula on of PCE degrada on by-products—TCE, trans-1,2-dichloroethylene (1,2-tDCE), and
        vinyl chloride—indicated that maximum concentra ons of the degrada on by-products generally
        were in the range of 10 –100 μg/L at water-supply well TT-26; measured concentra ons of TCE
        and 1,2-tDCE on January 16, 1985, were 57 and 92 μg/L, respec vely (Figure A19, 2007a).
       Maximum concentra ons of the degrada on by-products in ﬁnished water at the Tarawa Terrace
        WTP generally were in the range of 2–15 μg/L; measured concentra ons of TCE and 1,2-tDCE on
        February 11, 1985, were 8 and 12 μg/L respec vely. Max TCE 7 μg/L and max 1,2 tDCE 22 μg/L
        levels were simulated as given in Table A13, page A44 (ATSDR, 2007a).
       PCE concentra ons in ﬁnished water at the Tarawa Terrace WTP exceeding the current MCL of 5
        μg/L could have been delivered as early as December 1956 and no later than December 1960.
        Based on probabilis c analyses, the most likely dates that ﬁnished water ﬁrst exceeded the
        current MCL ranged from October 1957 to August 1958 (95 percent probability), with an average
        ﬁrst exceedance date of November 1957.
       PCE and PCE degrada on by-products contamina on in ﬁnished water ceased a er February
        1987; the Tarawa Terrace WTP was closed March 1987.

Based on the Tarawa Terrace study results (ATSDR, 2007) the following conclusions can be drawn for the
PCE contamina on of ﬁnished water at Tarawa Terrace:

       PCE concentra ons in the ﬁnished water at Tarawa Terrace ﬁrst exceeded MCL level of 5 g/L
        during the period 1957-1958.
       During the period 1957 – 1962, the PCE concentra ons in the ﬁnished water at Tarawa Terrace
        con nued to increase sharply from 5 g/L to a range of 42 g/L – 92 g/L, Figures 11 and 12b.
       During the period 1962 – 1987, the PCE concentra ons in the ﬁnished water at Tarawa Terrace
        con nued to gradually increase from 42 g/L – 92 g/L range to a range of 110 g/L – 250 g/L,
        Figures 11 and 12b, except for two “two-month” periods when Well TT-26 was not in opera on.
       Similar observa ons can be made for the degrada on by-products of PCE from Figure 11.
       The simulated monthly mean concentra ons and conﬁdence boundaries given in ATSDR reports
        and the conclusions reported above are reliable and represent, within reasonable scien ﬁc and
        engineering certainty, the contaminant levels in ﬁnished water at Camp Lejeune from 1953 to
        1987.


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I conﬁrm that the conclusions I summarized above and others that exist in ATSDR reports were reached
by applying generally accepted methods in the ﬁelds of hydrogeology, geochemistry, environmental
sciences, engineering and mathema cal and stochas c computa onal modeling. These conclusions are
my own and are based on my educa on, training, and experience, as well as the documents, public
informa on, diagrams, data, and facts that were available to me at the me of wri ng. I hold these
conclusions to a reasonable degree of scien ﬁc and engineering certainty. I reserve the right to
supplement and/or amend my conclusions on this ma er as necessary as addi onal documents or
informa on are made available to me.

6.6 Hadnot Point – Holcomb Boulevard Study
The Hadnot Point Water Treatment Plant (HPWTP) (building 20) was likely constructed during 1941 and
1942, along with much of the original infrastructure of the Base, Figure 14.




Figure 14. Hadnot Point Holcomb Boulevard study area and geographic boundaries. (Figure A1, ATSDR,
2013a)

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The original capacity of HPWTP is unknown. However, July 21, 1954, USMCB Camp Lejeune property
record card indicates a capacity of 5 million gallons per day (MGD) (Sco R. Williams, USMCB Camp
Lejeune, wri en ATSDR communica on, February 22, 2012).

During 1942, the 21 original water-supply wells at Camp Lejeune (HP-601 to HP-621) were placed into
opera on and provided a total combined capacity of 7.3 MGD (CLHDW CDR File #2292, p. 1). Throughout
the years, addi onal water-supply wells were brought online to increase system capacity or to replace
abandoned wells. Some of the water-supply wells were removed from service and eventually were
abandoned because of contaminants found in groundwater at nearby disposal sites and in the supply
wells themselves (ATSDR, 2013a). As of June 2008, 27 wells were supplying groundwater to HPWTP with
a total combined capacity of about 5.9 MGD and a delivered groundwater (raw water) ﬂow rate of 2.2
MGD (ATSDR, 2013a).

Un l the summer of 1972, all ﬁnished water distributed to bachelor and family housing units and all
other facili es within the Hadnot Point-Holcomb Boulevard study area were supplied by the HPWTP
(Building 20). A er June 1972, ﬁnished water distributed to Berkeley Manor, Midway Park, Paradise
Point, and Watkins Village family housing areas was supplied by the HBWTP. Also included in the HBWTP
service area are the current U.S. Naval Hospital (from 1983), the USMCB Camp Lejeune high school, and
the Brewster Boulevard junior high school. The Holcomb Boulevard water-distribu on system is linked to
the Hadnot Point water-distribu on system near McHugh Boulevard and Wallace Creek (Marston
Pavilion valve) and near Holcomb Boulevard and Wallace Creek at booster pump 742. For opera onal
reasons, the two water-distribu on systems were occasionally connected—excep ons being some
documented connec ons that occurred during the late spring and early summer months of 1972–1986
(ATSDR, 2013a).

The historical reconstruc on analysis of the Hadnot Point and Holcomb Boulevard area is more complex
than the Tarawa Terrace study area described above. This is because there are mul ple contamina on
sources and mul ple contaminants at the site. The study also includes a water distribu on system
analysis, and the study area is much larger than the Tarawa Terrace study area. Accordingly, the historical
reconstruc on analyses discussed herein will focus on two general areas (within the Hadnot Point-
Holcomb Boulevard study area) that contributed most substan ally to water-supply well contamina on.
These are the Hadnot Point Industrial Area (HPIA) and the Hadnot Point landﬁll (HPLF) area.
The Hadnot Point-Holcomb Boulevard historical reconstruc on covers the period 1942–2008. The ﬁrst
year, 1942, was chosen because opera ons at USMCB Camp Lejeune began in late 1941. The last year,
2008, was chosen to take advantage of more recent water-supply well opera onal data and contaminant
concentra on data to assist with model calibra on.

As is the case with the Tarawa Terrace site, groundwater is the sole source of water at this site. Of cri cal
need, in terms of historical reconstruc on, was informa on and data on the monthly raw water
produc on of supply wells (to enable computa on of ﬂow-weighted ﬁnished-water concentra ons) and
the distribu on of ﬁnished water to family housing areas. The supply of ﬁnished water for the Hadnot
Point-Holcomb Boulevard study area was composed of the following: (1) supply of water from
groundwater wells to the HPWTP (1942–present) and the HBWTP (1972–present), (2) delivery of ﬁnished
water from the WTPs through a network of pipelines and storage tanks to housing areas and other
facili es, and (3) intermi ent transfers of Hadnot Point ﬁnished (contaminated) water through
connec ng pipelines to the Holcomb Boulevard water-distribu on system during late spring and early
summer months for years 1972–1985.

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 Groundwater is the sole source of water supply at the site. To reconstruct contaminant concentra ons
and the meline of contaminant movement at the site a series of modeling techniques were
implemented. These are:

       To simulate predevelopment groundwater-ﬂow condi ons, the MODFLOW code was used. In
        addi on to the trial-and-error calibra on procedures, the es mates of model parameter values
        were supplemented using the objec ve parameter es ma on code PEST-12 (Doherty 2003,
        2010).
       To simulate the transient (unsteady) eﬀects caused primarily by the onset and con nued
        opera on of water-supply wells in the study area, historical water-supply well opera ng
        schedules were developed and again the MODFLOW code was used. The opera ng schedules of
        water supply wells was accomplished for the period 1942–2008 using TechWellOp and PSOpS
        sub-models described earlier (Sec on 5.1).
       Groundwater contaminant fate and transport analysis of TCE and benzene were simulated using
        MT3DMS and TECHFLOWMP. In addi on, the fate and transport of PCE and TCE from source
        areas in the HPLF area to water-supply well HP-651 was simulated using the MT3DMS,
        TechFlowMP, and LCM-TechCONTROL code (Sec on 5.1).
       The occurrence of benzene as an LNAPL in the subsurface in the vicinity of the Hadnot Point Fuel
        Farm (HPFF) and HPIA is described in (ATSDR, 2013) and in Sec on 6.4. Es mates of subsurface
        LNAPL volume were developed using historical measurements of LNAPL thickness over me—
        monitor well data—in the HPIA combined with the TechNAPLVol code that uses semi-analy cal
        and numerical methods in a three-dimensional domain (ATSDR, 2013). The resul ng satura on
        proﬁle from the LNAPL volume analysis was used within the TechFlowMP model code to
        simulate the dissolu on of LNAPL cons tuents and the fate and transport of dissolved phase
        benzene (Sec on 5.1).
       An alterna ve method, a linear state-space representa on of a contaminated aquifer system
        designated as the linear control model (LCM) methodology, was developed to reconstruct
        contaminant concentra ons in water-supply wells (ATSDR, 2013). Using the model code
        TechControl, this simpliﬁed approach was used to reconstruct historical contaminant
        concentra ons, including PCE, TCE, 1,2-tDCE, and VC, in water-supply well HP-651 in the HPLF
        area. A descrip on of this code is given in Sec on 5.1 of this report. A more detailed descrip on
        of the methodology can be found in (ATSDR, 2013; Guan, 2009). Results from the LCM
        applica on at water-supply well HP-651 were compared to simulated PCE and TCE
        concentra ons obtained using the MT3DMS numerical fate and transport code later when the
        MT3DMS study was completed. The comparisons of these solu ons and the analy cal analysis
        of these comparisons are discussed extensively in (ATSDR, 2013, Chapter A supplement 5) for
        the results of the TechControl applica on at the HP-HB site which will not be repeated here.
       Reconstructed (simulated) monthly mean concentra ons of PCE, TCE, 1,2-tDCE, VC, and benzene
        for ﬁnished water at the HPWTP were determined by using a materials mass balance model
        (Mass Balance, simple mixing) to compute the ﬂow-weighted average concentra on of the
        aforemen oned contaminants. The use of the material mass-balance method is jus ﬁed because
        all raw water from water-supply wells within the HPWTP service area was mixed at the HPWTP
        prior to treatment and distribu on.
       Intermi ent opera ons of booster pump 742 and the opening of the Marston Pavilion valve
        transferred contaminated Hadnot Point ﬁnished water to Holcomb Boulevard family housing
        areas and other facili es. Owing to missing data related to pump and valve opera ons, proba-
        bilis c analyses of the intermi ent water transfers during the period 1972–1985 were conducted


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        using a Markov analysis (Ross 1977) and the code TechMarkovChain (Sec on 5.1). Results
        provided probabilis c es mates of the intermittent transfer of contaminated Hadnot Point
        ﬁnished water to the Holcomb Boulevard family housing areas.
       Using the reconstructed monthly mean concentra ons of PCE, TCE, 1,2-tDCE, VC, and benzene in
        ﬁnished water from the HPWTP and the Markov analysis to es mate the occurrence of
        intermi ent water transfers, extended period simula ons of hydraulics and water quality for the
        water-distribu on system serving the Holcomb Boulevard housing areas and other facili es were
        conducted. EPANET 2 (Rossman 2000) was used for the water distribu on system analysis.
       Assessment of parameter sensi vity, variability, and uncertainty associated with model
        simula ons of groundwater ﬂow, contaminant fate and transport, and water-distribu on system
        analyses were also conducted (ATSDR, 2013).

The calibra on and valida on analyses were successfully completed for all these modeling stages
following the complex system analysis techniques described earlier in this expert report (see Sec on 6).
The details of this analysis can be found in (ATSDR, 2013) which will not be repeated here. A er
successful comple on of calibra on and valida on analyses the simula on results of contaminants at
WTP were generated. These results are summarized in Figure 15, 16 and 17 as Tables and Figures.




Figure 15. Selected simula on results for TCE, PCE and other by-products at HPWTP. More detailed
results and their analysis can be found in (ATSDR, 2013a).




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Figure 16. Selected simula on results for the HP and HB areas. More detailed results and their analysis
can be found in (ATSDR, 2013a).

Results provided in Figure 16 and summary sta s cs provided in Figure 15 indicate a reasonable capture
of the concentra ons at the WTP.




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Figure 17. Summary sta s cs for reconstructed contaminant concentra ons at selected water-supply
wells and the Hadnot Point water treatment plant, Hadnot Point–Holcomb Boulevard study area, U.S.
Marine Corps Base Camp Lejeune, North Carolina



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Based on ﬁeld data, uncertainty and sensi vity analyses, and the historical reconstruc on process, the
following conclusions are made with respect to groundwater and ﬁnished-water contamina on of the
Hadnot Point–Holcomb Boulevard (HPHB) study area.

For the Hadnot Point water treatment plant (HPWTP):

       Within the HPWTP, TCE rou nely exceeded its current MCL during the period (1955–1985). TCE
        concentra ons in ﬁnished water at the HPWTP ranged from about 10 to 30 μg/L for the period
        1955–1972, prior to the onset of pumping from water-supply well HP-651 (Figure A27, ATSDR,
        2013). A er the onset of pumping of water-supply well HP-651 during July 1972, ﬁnished-water
        concentra ons increased to a maximum computed value of 670 μg/L during August 1982 (Table
        A18, ATSDR 2013). Measured concentra ons of PCE, TCE, 1,2-tDCE, VC, and benzene and
        historical reconstruc on (simulated) results for the HPWTP are listed in Table A18 (ATSDR,
        2013a).
       The reconstructed contamina on of ﬁnished water exceeding the current maximum
        contaminant level (MCL) for TCE was 374 months (August 1953–January 1985) (Table A14,
        ATSDR, 2013a) Figure 17. With the onset of pumping at well HP-651 during July 1972, the
        concentra on of TCE in well HP-651 aﬀected the resul ng ﬁnished-water concentra ons of TCE
        at the HPWTP, which exceeded 750 μg/L during November 1983 (Table A14, ATSDR, 2013).
        Measured TCE concentra ons in ﬁnished water at the HPWTP during the period May 1982
        through February 1985 ranged from 1.2 μg/L to 1,400 μg/L (Faye et al. 2010, Table C11, ATSDR,
        2013).
       The reconstructed contamina on of ﬁnished water exceeding the current MCL for PCE was 114
        months (August 1974–January 1985) (Table A14), Figure 17, also a consequence of the onset of
        pumping of well HP-651. The maximum reconstructed ﬁnished-water concentra on of PCE was
        about 39 μg/L during November 1983 (Table A14, ATSDR, 2013a). Measured PCE concentra ons
        at the HPWTP ranged from below detec on limits (1–10 μg/L) to 100 μg/L during the period
        May 1982–February 1985 (Faye et al. 2010, Table C11, ATSDR, 2013).
       The reconstructed dura on of contamina on of ﬁnished water exceeding the current MCL for
        benzene was 63 months (January 1979–November 1984) (Table A14, ATSDR, 2013a), Figure 17.
       The maximum reconstructed ﬁnished water concentra on of benzene was about 12 μg/L during
        April 1984 (Table A14, ATSDR, 2013). Measured benzene concentra ons at the HPWTP ranged
        from below detec on limits (10 μg/L) to 38 μg/L during the period December 1984–December
        1985. An unexplained value of 2,500 μg/L of benzene was measured on November 11, 1985
        (Faye et al. 2010, Table C12, ATSDR, 2013).

For the Holcomb Boulevard housing area:

       When this housing area was serviced by the HPWTP (prior to June 1972), the maximum
        reconstructed (simulated) monthly mean TCE concentra on in ﬁnished water (January 1968–
        December 1985) was 32 μg/L during August 1968 and August 1969 (Appendix A7, ATSDR,
        2013a). The minimum reconstructed (simulated) monthly mean TCE concentra on in ﬁnished
        water (January 1968–December 1985) was 8 μg/L (September and October 1969). TCE
        concentra ons in ﬁnished water ﬁrst exceeded the MCL during August 1953 (Appendix A7,
        ATSDR, 2013).
       A er June 1972 when the Holcomb Boulevard water treatment plant (HBWTP) came online to
        service this housing area, an interconnec on analysis indicates that the maximum reconstructed


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        (simulated) TCE concentra on in ﬁnished water was 66 μg/L during February 1985 for the
        Paradise Point area (Figure A29(H), ATSDR, 2013a).
       A er June 1972 when the HBWTP came online to service this housing area, the maximum
        reconstructed (simulated) monthly concentra ons for PCE, 1,2-tDCE, and VC in ﬁnished water for
        the Holcomb Boulevard housing area occurred during February 1985 and were 3 μg/L, 33 μg/L,
        and 6 μg/L, respec vely (Table A21(H), ATSDR, 2013a). The maximum reconstructed (simulated)
        monthly concentra on for benzene was 3 μg/L, occurring during January, February, April, May,
        and June 1972 (Table A21(H), ATSDR, 2013a).

For the Hadnot Point Industrial Area (HPIA):

       The maximum reconstructed (simulated) monthly mean TCE concentra ons at water-supply
        wells HP-602, HP-608, and HP-634 were 658 μg/L during January 1959, 50 μg/L during Septem-
        ber 1972, and 659 μg/L during October 1968, respec vely (Table A14, ATSDR, 2013a). Measured
        TCE concentra ons at well HP-602 ranged from an es mated 0.7 μg/L to 1,600 μg/L during the
        period of record, July 1984 to January 1991 (Table A4(H), ATSDR, 2013a). Corresponding
        concentra ons at well HP-608 ranged from 9 μg/L to 110 μg/L during the period of record,
        December 1984 to November 1986. In well HP-634 between December 1984 and January 1991,
        TCE concentra ons ranged from less than detec on limits to 1,300 μg/L.
       Substan al volumes of liquid hydrocarbon fuels were lost due to leakage to the subsurface
        within the Hadnot Point Industrial Area (HPIA). This area contained as many as 10 ac ve water-
        supply wells. Despite the large volumes lost, ﬁnished-water concentra ons of benzene only
        exceeded the current MCL of 5 μg/L in some of the wells during the period 1980–1985.
       At water-supply wells with measured benzene concentra ons exceeding detec on limits (HP-602
        and HP-608), the maximum reconstructed (simulated) monthly benzene concentra on was 236
        μg/L at well HP-602 during November 1984 and 11 μg/L at well HP-608 during September 1979
        (Table A14, Appendix A3, ATSDR, 2013). Measured benzene concentra ons at well HP-602 during
        the period of record, July 1984 to January 1991, ranged from less than 1.0 μg/L to 720 μg/L.
        Measured benzene concentra ons at well HP-608 during the period of record, December 1984
        to November 1986, ranged from 1.6 μg/L to an es mated 4.0 μg/L. All measured benzene
        concentra ons in well HP-603 were below detec on limits (Table A5(H), ATSDR, 2013a).

For the Hadnot Point landﬁll (HPLF) area:

       The maximum reconstructed (simulated) monthly mean TCE concentra on at water-supply well
        HP-651 was 7,135 μg/L during December 1978 (Table A14, ATSDR, 2013a), Figure 17. Measured
        TCE concentra ons during the period of record, January 1985 to January 1991, ranged from 13
        μg/L to 18,900 μg/L (Table A4(H), ATSDR, 2013a).
       The maximum reconstructed (simulated) monthly PCE concentra on at water-supply well HP-
        651 was 353 μg/L during December 1982 (Table A14, ATSDR, 2013), Figure 17. Measured PCE
        concentra ons during the period of record, January 1985 through January 1991, ranged from 45
        μg/L to 400 μg/L (Table A4(H), ATSDR, 2013a).
       The maximum reconstructed (simulated) monthly mean 1,2-tDCE concentra on at water-supply
        well HP-651 was about 4,037 μg/L during December 1984 (Table A14), Figure 17. Measured 1,2-
        tDCE concentra ons during the period of record, January 1985 to November 1986, ranged from
        140 μg/L to 8,070 μg/L (Table A4(H), ATSDR, 2013a).



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       The maximum reconstructed (simulated) monthly mean VC concentra on at water-supply well
        HP-651 was 660 μg/L during November 1984 (Table A14, ATSDR, 2013), Figure 17. Measured VC
        concentra ons during the period or record, January 1985 to January 1991, ranged from 70 μg/L
        to 655 μg/L (Table A4(H), ATSDR, 2013a).

In summary:

       The historical reconstruc on process results show that ﬁnished water at U.S. Marine Corps Base
        Camp Lejeune was contaminated with varying levels of TCE, PCE, 1,2-tDCE, vinyl chloride and
        benzene from 1953 to 1987, (ATSDR, 2013).
       TCE contamina on at the HP-HB ﬁnished water ﬁrst exceeded MCL level of 5 g/L during the
        period 1954 – 1955, Figure 16.
       During the period 1954 – 1973, the TCE contamina on at the HP-HB ﬁnished water gradually
        increased from 5 g/L to a range of 19 g/L – 26 g/L, Figure 16.
       During the period 1973 – 1985 there is a sharp increase in the TCE contamina on at the HP-HB
        ﬁnished water from a range of 19 g/L – 26 g/L to a range of 380 g/L – 620 g/L, Figure 16.
       PCE contamina on at the HP-HB ﬁnished water ﬁrst exceeded MCL level of 5 g/L during the
        period 1974 – 1975, Figure 16.
       During the period 1974 – 1985 there is a sharp increase in PCE contamina on at the HP-HB
        ﬁnished water from 5 g/L to a range of 20 g/L – 30 g/L, Figure 16.
       1,2-tDCE contamina on at the HP-HB ﬁnished water ﬁrst exceeded MCL level of 100 g/L during
        the period 1973 – 1974, Figure 16.
       During the period 1973 – 1985 there is a sharp increase in 1,2-tDCE contamina on at the HP-HB
        ﬁnished water from 100 g/L to a range of 220 g/L – 390 g/L, Figure 16.
       VC contamina on at the HP-HB ﬁnished water ﬁrst exceeded MCL level of 2 g/L during the
        period 1972 – 1973, Figure 16.
       During the period 1972 – 1985 there is a sharp increase in VC contamina on at the HP-HB
        ﬁnished water from 2 g/L to a range of 34 g/L – 52 g/L, Figure 16.
       Benzene contamina on at the HP-HB ﬁnished water ﬁrst exceeded MCL level of 5 g/L during
        1980, Figure 16.
       During the period 1980 – 1985 there is a sharp increase in Benzene contamina on at the HP-HB
        ﬁnished water from 5 g/L to a range of 7 g/L – 12 g/L, Figure 16.
       The simulated monthly mean concentra ons and conﬁdence boundaries given in ATSDR reports
        and the conclusions reported above are reliable and represent, within reasonable scien ﬁc and
        engineering certainty, the contaminant levels in ﬁnished water at Camp Lejeune from 1953 to
        1987.

I conﬁrm that the conclusions I summarized above and others that exist in ATSDR reports were reached
by applying generally accepted methods in the ﬁelds of hydrogeology, geochemistry, environmental
sciences and engineering and mathema cal and stochas c computa onal modeling. These conclusions
are my own and are based on my educa on, training, and experience, as well as the documents, public
informa on, diagrams, data, and facts that were available to me at the me of wri ng. I hold these
conclusions to a reasonable degree of scien ﬁc and engineering certainty. I reserve the right to
supplement and/or amend my conclusions on this ma er as necessary as addi onal documents or
informa on are made available to me.




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6.7 Conﬁdence in Validity of Historical Reconstruc on Results

It is generally accepted that properly selected models that have been calibrated to site-speciﬁc
condi ons are appropriate for environmental management and decision-making – frequently there is no
other form of guidance. While proper model calibra on, sensi vity and uncertainty analyses improve
conﬁdence in model predic ons, addi onal valida on steps can increase conﬁdence in simula on
results. (Anderson et al., 1992; Bredehoe and Konikow, 1993; Oreskes et al., 1994; Aral, 2010; Sahmel
et al., 2010, Mei, 2003).

In an ideal world, the modeler would have an abundance of data. In that scenario, a por on of the data
can be used to calibrate the model. The calibrated model can then be used to simulate values for
comparison with the remaining independent data. This is the classical deﬁni on of model valida on. In
literature there are other deﬁni ons of valida on as well. For example, IAEA (1982) deﬁnes valida on as
"A conceptual model and the computer code derived from it are validated when it is conﬁrmed that the
conceptual model and the computer code provide a good representa on of the actual processes
occurring in the real system." Or Schlesinger et al. (1979) deﬁnes valida on as "substan a on that a
computerized model within its domain of applicability possesses a sa sfactory range of accuracy
consistent with the intended applica on of the model." Or in Konikow and Bredehoe (1992) it is stated
that: “Ground-water models are embodiments of scien ﬁc hypotheses. As such, the models cannot be
proven or validated, but only tested and invalidated.” Or “…The absolute validity of a model can never be
determined” (NRC, 1990).

Frequently, an abundance of data is unavailable (Maslia and Aral, 2004), and alternate valida on means
must be considered. In such situa ons, Sahmel et al. (2010) recommend alterna ve means to increase
conﬁdence (help validate) simulated exposure levels, including assessing:

   i.     Were the data used to formulate and calibrate the model taken from dependable and
          appropriate sources?
          In my opinion, the ATSDR Camp Lejeune studies went to extraordinary measures to iden fy and
          collect all the dependable and appropriate sources of data for model calibra on from Camp
          Lejeune archives.
  ii.     Has variability in the outcomes been considered?
          There is abundant evidence in the ATSDR study that extensive analysis of stochas c uncertainty
          and sensi vity analysis was performed in the ATSDR study.
 iii.     Where possible, have mul ple simula on approaches been u lized and generated similar
          results?
          There were two addi onal modeling eﬀorts employed in the ATSDR study which provided the
          reconﬁrma on of the results obtained from the standard applica ons that exist in public
          domain. These are the TechControl applica on that uses Linear control model and TechFlowMP
          applica on that is used to inves gate the fate and transport processes at the Camp Lejeune site.
          These are two independent codes used in the analysis that sa sﬁes the above criteria. One
          should also recognize the fact that two independent study groups implemented these parallel
          simula on approaches which yielded similar results. The comparisons of these solu ons and the
          analy cal analysis of these comparisons are discussed extensively in (ATSDR, 2013, Chapter A
          supplement 5) for the results of the TechControl applica on at the HP-HB site and in (ATSDR,
          2007g) for the results of the TechFlowMP applica on (Figure 11) at the Tarawa Terrace site
          which will not be repeated here.


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As philosophical discussion on validation concepts and definitions continues, as engineers
working on the Camp Lejeune study, we believe being as close as possible to an observed system’s
behavior in modeling yields satisfactory answers to most practical problems that await immediate
solutions. Having introduced some of the secondary philosophical discussions on validation
concepts above, one must also recognize the following traditional validation step employed in
ATSDR study as well. This step, described below, was completed for the models used in the ATSDR
study of the Camp Lejeune site. I also notice that the completion of this step as an extra effort was
not recognized or understood by some of the experts of the government in this case (see Dr. Dan
Waddill’s deposition, Tuesday, August 6, 2024).

As discussed in Sec ons 5 and 6 of this report, the ATSDR reconstruc on model is a complex system and
consists of ﬁve stages: i. pre-development (pre-pumping); ii. transient (pumping); iii. contaminant
migra on; and iv. produc on well mixing at the treatment plant; and v. the water distribu on system
analysis. The reconstructed sequence of model's ability to ﬁt the independent data available for ﬁnished
water (supplied to the consumer) at WTP (see Figures 12, 13 and 15) provides internal model valida on
that all four levels are accurately capturing the system behavior. For example, only those solu ons that
successfully simulate predevelopment (pre-pumping) and transient groundwater ﬂow condi ons can
successfully capture the contaminant migra on processes that would yield the independent data values
we have at the WTP. Thus, in the ﬁnal stage when WTP data is captured accurately, it requires that all
three previous stages have been accurately incorporated into the model and validated appropriately.
Thus, successful capture of the independent measured data at the WTP, as occurred here for Tarawa
Terrace and Hadnot Point/Holcomb Boulevard, provides an internal valida on of the MT3DMS model
and the coupled complex modeling ensemble.

In summary, as stated by Dr. Robert Clark, Chair of the Expert Review Panel for the ATSDR Camp Lejeune
studies, the ATSDR appropriately used the data sets that were available to it, and validated its model
using the best approach under the circumstances:

   “From a scien ﬁc viewpoint it would be ideal to have independent data sets. One set could be used to
   calibrate the models, and the second data set used for valida on. If one is developing a model based
   on experimental data this approach can be built into the combined experimental and modeling eﬀort.
   However, it has been my experience that such an ideal situa on rarely exists in “real world” situa ons.
   Therefore, in my opinion, the best approach is to use available datasets in conjunc on with sound
   engineering principles and the inves gator’s best judgment to establish the validity of the exposure
   models.” Dr. Robert M. Clark, Chair Expert Review Panel, Maslia (Editor), 2009a, p. 76.

I concur with Dr. Clark’s assessment given above. It is my opinion that ATSDR used the best available
datasets, sound science and engineering principles, and professional judgment to establish the best
possible reconstructed values of historical contaminant concentra ons, and that, within a reasonable
degree of scien ﬁc and engineering certainty, these were the contaminant levels delivered to Tarawa
Terrace, Hadnot Point, and Holcomb Boulevard.

This assessment is reinforced by the successful peer review of ATSDR results in two top- er journals
(Maslia et al., 2009(b) for Tarawa Terrace and Maslia et al., 2016 for Hadnot Point-Holcomb Boulevard)
along with the Grand Prize for Excellence in Environmental Engineering and Science Research (2015)
from the pres gious American Academy of Environmental Engineering and Science for ATSDR’s
exemplary work at Camp Lejeune.


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7. The NRC report
On June 27, 2009, I submi ed a memorandum to EDRP/ATSDR which included my response to the NRC
review comments on the Camp Lejeune study. The memorandum became an internal document for the
Camp Lejeune study at ATSDR/CDC and was not released to the public. This sec on of my expert
report includes both the contents of this memorandum and addi onal observa ons.
7.1 Comments on the NRC Report
The Na onal Research Council (NRC) was requested to conduct a review by the Department of
Navy (DON), under a mandate by the U.S. Congress (Public Law 109-364, Sec on 318). The U.S. Navy
requested the NRC review to address whether adverse health outcomes are associated with past
drinking-water contamina on at U.S. Marine Corps (USMC) Base Camp Lejeune, North Carolina. The NRC
review included an assessment of the Agency for Toxic Substances and Disease Registry’s (ATSDR) overall
study and in par cular, the water modeling analyses and ﬁndings at Tarawa Terrace and vicinity. The NRC
report released on July 13, 2009 (NRC 2009) covers a wide range of topics that include: (i) conceptual
topics of exposure analysis and source characteriza on that are based on expert opinions of NRC
commi ee members; (ii) water modeling based on observa ons of NRC commi ee and a cri que of the
science-based tools and analyses that are described in ATSDR technical reports on Tarawa Terrace and
vicinity (Maslia et al., 2007; ATSDR, 2007); and, (iii) a cri que of ﬁndings and interpreta on of water-
modeling study results that were completed by ATSDR at Tarawa Terrace and vicinity at Camp Lejeune.

On June 27, 2009, my responses to the NRC review were respec ully submi ed to ATSDR to document
my scien ﬁc evalua on of the ﬁndings of the NRC report. Exhibit B is the header of my original response
to the NRC report.

To accurately respond to the comments made under each category I have iden ﬁed above, the review
comments I am providing below are grouped under two speciﬁc headings. This is in an eﬀort so as not to
confuse the reader and mix-and-match the review comments reported by the NRC commi ee which
range from “conceptual topics” to the “comments on actual data reported” in the ATSDR water modeling
study. I am conﬁdent that this approach will provide the reader with a clear picture of a range of topics
cri qued in the NRC report. Accordingly, the discussion included in my review comments below will
cover the range from “conceptual” perspec ves on exposure analysis to “water modeling analysis” and
“applica on speciﬁc” topics that are addressed in the NRC report.

It is important to note that the review comments I am providing below are only associated with the
water modeling aspects of the ATSDR health study and the NRC report, and do not cover any
epidemiologic study aspects since those topics are outside my exper se areas. All references to the “NRC
report” refer to the NRC report tled, “Contaminated Water Supplies at Camp Lejeune: Assessing
Poten al Health Eﬀects” and cited as NRC (2009) in the Reference sec on of this expert report.
Furthermore, the reader should recognize that sentences in “italic font” under the heading “Comment
on…” are extracted verba m from the NRC report and statements in “regular font” under the heading
“Response” are my responses to the speciﬁc NRC report statements.




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7.2 Comments on the NRC report associated with conceptual topics of exposure analysis and site
characteriza on.

Comment on p. 29: Exposure assessment for epidemiologic studies of the eﬀects of water-supply
contamina on includes two components. The ﬁrst is es ma on of the magnitude, dura on, and
variability of contaminant concentra ons in water supplied to consumers. An important considera on is
hydrogeologic plausibility: an associa on between a contaminant source and exposure of an individual or
popula on cannot exist unless there is a plausible hydrogeologic route of transport for the contaminant
between the source and the receptor (Nuckols et al., 2004). The second component is informa on on
individual water use pa erns and other water-related behaviors that aﬀect the degree to which
exposures occur, including drinking-water consump on (inges on) and dermal contact and inhala on
related to the dura on and frequency of showering, bathing, and other water-use ac vi es. Water use is
an important determinant of variability of exposure to water-supply contaminants, par cularly if it varies
widely in the study popula on. Ideally, exposure-assessment strategies include both components, but in
prac ce it may be diﬃcult to obtain either adequately.

Response: In this comment, which also includes a reference to the work of one of the commi ee
members (Nuckols et al. 2004), the NRC commi ee is providing the reader with their understanding of
the components of an exposure study that is associated with pollutants that may exist in an aqua c
pathway at a contaminated site. The aqua c exposure analysis framework described in this statement is
a conceptual statement and represents a very restric ve view of the exposure pathway analysis that
needs to be considered at contaminated sites given the current understanding of the interac on
between environmental pathways and the behavior of chemicals along those pathways. Current
knowledge in this scien ﬁc ﬁeld recognizes that in an aqua c exposure study the environment must be
considered as a whole, and scien ﬁc and regulatory approaches alike must consider complex
interac ons between mul media and intermedia interac ons that exist in a mul tude of poten al
environmental pathways at a site. In my opinion one should not emphasize only the concept of a
“hydrogeologic connec on” between the contaminant source and the exposure point as put forth by the
NRC commi ee. This conceptual sugges on made by the NRC commi ee would be a very elementary
and restric ve exposure analysis framework.

As specialists in this ﬁeld, we know pollutants released to an aqua c environment are distributed among
environmental media such as air, water, soil, vegeta on etc., because of complex physical, chemical and
biological processes. Thus, environmental pollu on is a mul -pathway problem and environmental
exposure assessment methods require that we carefully consider the transport, fate and accumula on of
pollutants in the environment as a whole, (Cohen 1986; Aral, 2010). Methods that are proposed to
evaluate environmental migra on or exposure characteriza on in this envirosphere must consider all
poten al pathways and the interac ons between these pathways. In scien ﬁc literature, the mul -
pathway approach to environmental exposure analysis is iden ﬁed as Total Exposure Characteriza on
(TEC).

Elements of this mul -pathway analysis for an aqua c contamina on source are imbedded in the ATSDR
water modeling studies that were conducted for the Tarawa Terrace area of the Camp Lejeune site as
much as possible. The speciﬁc pathways and processes considered in the ATSDR water modeling study
are: (i) saturated groundwater; (ii) unsaturated groundwater; (iii) vapor emissions; (iv) mul species
analysis of contaminants in these three pathways; (v) mixing in the water treatment system; and (vi)
es mates of contaminants in the water-distribu on system. This was followed by proper epidemiologic
studies that are not considered in this expert report.

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In this analysis framework it is also important to recognize that one should not try to ﬁt a physical
problem to a model that may be readily available for use. Instead, appropriate models should be
selected or developed that would ﬁt the characteriza on of the physical problem at hand. Thus,
selec on of appropriate modeling tools to complete such an analysis is very important and is considered
in suﬃcient detail in the ATSDR study. This is a very important point, which was either completely
ignored in the NRC report or, steps taken by the ATSDR water modeling team to address these issues in a
sound scien ﬁc and engineering manner were cri cized by the NRC commi ee without providing any
suppor ng evidence that is traceable to technical literature. I will revisit this issue in more detail in my
comments below while providing case-speciﬁc public domain data and public domain informa on.

Comment on p. 33: At a typical waste site, spent VOCs are present in the unsaturated zone (a par ally
saturated soil layer above the water table) in the form of dense nonaqueous-phase liquids (DNAPLs).......
(… a er a lengthy discussion of what DNAPL is and how DNAPL-based contaminants behave in the
subsurface and what the consequences of such a source are, the NRC report con nues in this sec on
with the following remarks linking DNAPL presence to the aquifers at Camp Lejeune.) ..... The presence of
low-permeability units (such as the Castle Hayne conﬁning unit or any clay units) would limit ver cal
migra on of both DNAPL and dissolved contaminants.....

Response: The NRC report does not provide any informa on for the jus ﬁca on of this
conceptualiza on of the contamina on source at the ABC One-Hour Cleaners site and Tarawa Terrace
and vicinity other than providing a reference to a source concentra on of 12,000 g/L, reported in
Chapter E of the ATSDR Tarawa Terrace report series (Faye and Green 2007, p. 38). This is followed by a
reference to a number “110,000 g/L” (p. 38 of the NRC report, second paragraph from bo om of page).
As indicated in the NRC report, this is the highest possible concentra on of tetrachloroethylene (PCE) in
water. Because this reference value is given in the NRC report without a reference cita on, I ques on the
credibility of this reference value. The NRC report also does not discuss the importance of this number in
their conceptualiza on of the contaminant source as a DNAPL. Furthermore, the NRC report does not
refer to a data source on the solubility levels of PCE in water like those data sources reported in Chapter
D of the ATSDR Tarawa Terrace report series (Lawrence, 2007). The NRC report does not refer to
or cite a database that may exist in USMC ﬁles at Camp Lejeune, unknown to the ATSDR water modeling
team, that NRC commi ee members may have had access to, that would indicate the presence of
DNAPL-phase PCE at the site. The NRC report also does not refer to a systema c dry-cleaner disposal
procedure that is reported in the documents they have reviewed for handling the disposal of the
chemical PCE as a pure phase PCE at the ABC One-Hour Cleaners site.

In the NRC report, the highest concentra on of dissolved PCE, 110,000 g/L, must imply the NRC
commi ee’s understanding of the solubility level of PCE in water. Because a reference is not provided, I
could not conﬁrm this number. However, our references indicate that the solubility of PCE in water is
around 200,000 g/L (= 200 mg/L) at 15oC or higher. In Chapter D of the ATSDR Tarawa Terrace report
series (Lawrence 2007, p. D12, Table D9), solubility of PCE is reported to be 210, 000 g/L (=210 mg/L) at
25oC, which is the solubility number I would like to work with for my analysis below. There are other
references in the literature that report the solubility of PCE at much higher concentra ons as well, which
are not referenced here. This is because I would like to focus on what is reported in the ATSDR Tarawa
Terrace series of reports (ATSDR, 2007a).

The 12,000 g/L concentra on reported in NRC report (and in Chapter E of the ATSDR Tarawa Terrace
report series [Faye and Green 2007]) as a jus ﬁca on for the presence of a DNAPL phase is about 5.7%


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to 6% of the solubility level of PCE (12,000/200,000 = 6% or 12,000/210,000 = 5.7%). The 12,000 g/L
concentra on is the dissolved-phase PCE concentra on in the groundwater at ABC One-Hour Cleaners as
reported by ATSDR (Faye and Green 2007). Although this is a high concentra on, this value is much less
than PCE's solubility limit in water (200,000 g/L at 15oC or 210,000 g/L at 25oC). Even at the lowest
solubility value reported by USEPA 150,000 g/L this concentra on level is at 8% of the solubility level
(USEPA, 2024). The loca on of the highest concentra on sample within Tarawa Terrace and vicinity can
be used to iden fy the source loca on at the site. High concentra ons at a site may suggest the
possibility of non-aqueous phase (NAPL) PCE (PCE in form of NAPL) presence but this does not guarantee
a NAPL presence at the site, because in this case, 12,000 g/L is 6% or less of the solubility limit of PCE
(see Sec on 6.4 of this expert report).

Thus, the conceptual DNAPL contaminant source characteriza on that is provided in the NRC report
without any jus ﬁca on and without any ﬁeld data support is bothersome. This reference to the
presence of a DNAPL-phase contaminant source at the site not only appears in this comment on NRC
report page 33, but it is repeatedly referred to in other pages of the NRC report which is not clear and
correct understanding of the source conceptualiza on (see discussion of “Dissolved phase pollu on vs
NAPL, LNAPL and DNAPL pollu on” in Sec on 6.4). In my opinion the NRC commi ee needs to provide
further technical and ﬁeld data evidence in support of their DNAPL conceptualiza on. Also repor ng the
solubility of PCE in water at about half the value of the data reported in the ATSDR Chapter D report
(Lawrence 2007) without providing a reference (page 38 of the NRC report) is not scien ﬁcally
acceptable. Short of ci ng ﬁeld data evidence and an appropriate reference for the solubility level of PCE
as reported in the NRC report, I would ques on the scien ﬁc basis of this conceptualiza on. Further,
without ﬁeld data evidence, the NRC review is based on hypothe cal condi ons and assump ons that
are extracted from the scien ﬁc work of others (Figure 2-3 of the NRC report) which is based on studies
that are conducted at other sites. It is my opinion that these sites have no relevance to the ABC One-
Hour Cleaners site or Tarawa Terrace and vicinity. The purpose of this asser on (PCE as DNAPL source
conceptualiza on) and misrepresenta on of the site data by the NRC commi ee is not clear to me.

During the NRC commi ee review process, the ques on of the characteriza on of the source was
brought to the a en on of ATSDR water modeling team members in a request for informa on by an NRC
commi ee member (Email communica on from P. Clement to M.L. Maslia, ATSDR, May 5-11, 2008). At
that me, ATSDR water modeling team members provided the NRC with data ATSDR had on the subject
ma er clearly showing why the modeling team elected to simulate the PCE source as a dissolved-phase
source.

Furthermore, the modeling team clearly iden ﬁed why the dissolved-phase injec on procedure applied
in the models used for the ATSDR water modeling analyses. The informa on that was provided to the
NRC was based on data from several remedial inves ga on reports, site reports, and other DON and
USMC ﬁles (Shiver 1985, Roy F. Weston 1992, 1994). In these ﬁeld study reports, there is no recorded
data reported by DON and USMC consultants that would provide evidence of, or substan ate the
existence of, the presence of a DNAPL source at ABC One-Hour Cleaners or Tarawa Terrace. If the DNAPL
source conceptualiza on that appears in the NRC report is based solely on the data source and
informa on we provided to the NRC commi ee, then I do not agree with the NRC’s source
characteriza on. I, therefore, consider this to be a misinterpreta on of the condi ons at the site. If this
conceptualiza on is based on any other informa on or data that I was not aware of, and if this
informa on was provided to NRC by DON, the USMC, or their consultants, the modeling team should
have been provided with that informa on and data. Because the reference to a DNAPL-phase in the


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aquifers underlying ABC One-Hour Cleaners and Tarawa Terrace and vicinity appears in several places
within the NRC report, I will revisit this topic again in my discussions below.

In the statement on page 33 of the NRC report, I also no ced that the NRC commi ee acknowledged
that the PCE source was discharged to the unsaturated zone of the aquifer underlying ABC One-Hour
Cleaners and Tarawa Terrace and vicinity. However, given that observa on, the NRC commi ee fails to
provide a jus ﬁable cri que of the use of the MODFLOW family of codes that only considers a saturated
groundwater zone to analyze the physical problem at the site. On the contrary, the NRC commi ee
considers the MODFLOW family of codes to be an acceptable modeling choice throughout the NRC
report. This is probably because the NRC commi ee considers the MODFLOW codes as accepted state-
of-the-art tools for typical groundwater pathway modeling. This is an example of a typical case of ﬁ ng a
physical problem to a code “concept” I referenced in my response statement “7.2” above, which the
ATSDR water modeling team tried to avoid as much as possible (see the discussion in sec on 6.1 and
TechFlowMP applica on in sec on 5.1).

In recogni on of this problem and in recogni on of the general percep on that prevails in the scien ﬁc
community that the MODFLOW family of codes is an accepted procedure, the ATSDR water modeling
team ﬁrst u lized the MODFLOW and MT3DMS codes in their simula ons. In addi on, to enhance our
understanding of condi ons at the site, ATSDR extended its analyses. The ATSDR water modeling team
applied the TechFlowMP so ware to understand and evaluate the unsaturated zone injec on condi ons
that are implemented at the site. TechFlowMP is a public domain code that can be accessed from the
Georgia Tech website for individual use without a fee (h p://mesl.ce.gatech.edu/). The NRC report
a empts to discredit this extra eﬀort and the steps taken by the ATSDR water modeling team to simulate
the proper source disposal condi ons at the ABC One-Hour Cleaners site by classifying: (i) TechFlowMP
code as a research tool; and (ii) as a proprietary code that is not veriﬁed. Again, this is very puzzling and
a misrepresenta on of the scien ﬁc and public domain facts of this case by the NRC commi ee. These
NRC statements that appear in several places in the NRC report ignore a scien ﬁcally sound a empt by
the ATSDR water modeling team to properly evaluate a physical problem, above and beyond a tradi onal
MODFLOW and MT3DMS applica on which the NRC review commi ee accepts (NRC 2009, p. 43).
Further, the NRC commi ee failed to check current technical literature and scien ﬁc publica ons
containing substan al evidence of publica ons involving the TechFlowMP. The evidence that the
TechFlowMP code has been tested and veriﬁed against other applica ons (see sec on 5.1) exists in this
technical literature. (web site: h p://mesl.ce.gatech.edu/PUBLICATIONS/Publica ons.html). This lack of
due diligence by the NRC commi ee is puzzling.

It is equally important to note that the use and applica on of specialized codes to address speciﬁc
problems that codes, such as MODFLOW and MT3DMS, cannot address, is not shunned by government-
based scien ﬁc organiza ons, but rather, it is recognized and encouraged. As stated in the U.S.
Environmental Protec on Agency report, “Guidance on the Development, Evalua on, and Applica on of
Environmental Models” (USEPA 2009, p. 31): “However, the Agency acknowledges there will be mes
when the use of proprietary models provides the most reliable and best-accepted characteriza on of a
system.” The point being made in this statement is that the most appropriate model should be applied
to characterize a system, not necessarily, the most popular or most o en-used model; and this is the
exact modeling philosophy and approach that ATSDR took when applying the TechFlowMP and PSOpS
and other sub-models at ABC One-Hour Cleaners and Tarawa Terrace and vicinity (see discussion of this
topic in sec on 5.1).




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7.3 Comments on the NRC report associated with science-based tools, analysis and interpreta on of
study results.
Comment on p. 43: For example, MT3DMS can predict the transport only of dissolved contaminants, so a
key approxima on was made to represent the mass dissolved from the DNAPL source. To apply
MT3DMS, ATSDR replaced the highly complex DNAPL contaminated source zone with a hypothe cal
model node where PCE was injected directly into the saturated aquifer forma on at a constant rate (1.2
kg/day).

Response: This NRC report statement relies on their unsubstan ated and undocumented source
characteriza on concept (see my review comment above and in sec on 6.4). Using this
conceptualiza on as an undisputable fact, the NRC commi ee then a empts to discredit the
groundwater-modeling study conducted by ATSDR at the ABC One-Hour Dry Cleansers site and Tarawa
Terrace and vicinity. This statement is a hyperbole, wherein ﬁrst an “assump on” is made which is wrong
and then that “assump on” is considered to be a “fact” to cri que the ﬁndings of a study. This approach
in a scien ﬁc cri que is puzzling.

Comment on p. 43: Unlike the MODFLOW and MT3DMS codes, the PSOpS and TechFlowMP codes lack
valida on by a broad spectrum of prac cing geoscien sts in an open-source environment.

Response: I have addressed the point the NRC commi ee chose in reference to the misrepresenta on of
TechFlowMP as an unveriﬁed code in my response above. I will not repeat that here. In reference to the
PSOpS and other sub-model developed by the Georgia Tech research group (see sec on 5.1), the
following needs a clear answer: Can a reference to a public domain code be provided by the NRC
commi ee members that is available through the published literature that provides the analysis
performed by PSOpS and other sub-models? Has such a public domain code been developed for, and
applied to, any study that they are aware of to manage pumping-schedule opera ons in an op mal
manner for a complex system such as the one at Tarawa Terrace? The answer to these ques ons is
obvious and the answer is: “This type of public domain model does not exist in the literature and needed
to be developed to complete the study in appropriate scien ﬁc conﬁdence bounds.”

PSOpS is an op miza on applica on that was developed by the MESL-Georgia Tech research group
par cipa ng in the ATSDR water modeling analysis to yield answers to specialized uncertainty-related
ques ons per nent to the current health study conducted at Camp Lejeune site. The analysis is based on
the MODFLOW family of codes in the genera on of the database used to solve an op miza on problem.
The development of this op miza on model was necessary to respond to scien ﬁc ques ons raised by
the ATSDR Expert Panel (March 2005) whose members guided our study and contributed signiﬁcantly to
its quality. The members of this ATSDR Expert Panel are well known and respected scien sts in the ﬁeld
and their names are listed in the Expert Panel report (Maslia 2005) that is also available on the ATSDR
website. The ques on ATSDR Expert Panel members raised in this case was related to the uncertainty of
a pumping-schedule opera on that may be implemented at the site and the characteriza on of its
eﬀects on the study outcome. The PSOpS model that was developed for the purposes of this analysis
and used in the ATSDR water modeling analyses to address this ques on became part of the peer
reviewed PhD thesis of a graduate student at Georgia Tech. In that sense, the theore cal background of
the model is reviewed and accepted by independent PhD thesis commi ee members at Georgia Tech
and the detailed documenta on of this model can be found in the PhD thesis of Dr. J. Wang, which is
public domain informa on (Wang, 2008).



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In conclusion, the NRC commi ee is most likely aware of the following: (1) specialized models such as
PSOpS are not available in the technical public-domain literature; and (2) codes such as PSOpS only are
developed for the specialized purposes of the current study to ﬁnd answers to specialized ques ons that
are raised by the current water modeling analysis. The concept of using an op miza on algorithm that is
fed by a database through the MODFLOW family of models, which is a common and rou ne procedure,
is both scien ﬁcally sound and scien ﬁcally necessary in a study such as the one ATSDR conducted at
Camp Lejeune site. If a public domain model existed that can be used for this study, that would serve the
same purpose, instead of the PSOpS model, we would have used that model instead of the PSOpS
model. To my knowledge, such a model is not available. In my opinion, the NRC commi ee also should
recognize that the ATSDR water modeling eﬀort is not a run-of-the-mill work-product and the problem at
hand is not a rou ne problem that can be or should be analyzed using rou ne models. In such cases it is
expected that specialized methods can be developed and implemented; this should not be shunned by
the NRC, but instead, it should be encouraged (see USEPA comment and reference above) (USEPA 2009,
p. 31).

Comment on p. 44: The DNAPL source zone was represented by using a model node where PCE was
injected con nuously into the unconﬁned model layer-1 of the saturated zone at a constant rate of 1.2
kg/day (Faye 2008).

Response: Again, in this statement, the NRC commi ee is asser ng that the DNAPL source zone was
misrepresented in the current study. I refer to the reader to my previous comments in my response to
the DNAPL source mischaracteriza on by the NRC commi ee also see sec on 6.4 of this expert report.

To reiterate, we have not represented a DNAPL source zone as an injec on point in our models because
there is no DNAPL source zone in the aquifer underlying the ABC One Hour Dry Cleaners site at Tarawa
Terrace and vicinity. If the claim of the NRC commi ee can be substan ated by any ﬁeld data, I stand
corrected. Not only I would stand corrected, but also, I would strongly recommend that the U.S.
Environmental Protec on Agency (USEPA), their consultants, and the North Carolina Department of
Environment and Natural Resources (NCDENR) should immediately abandon their remedia on eﬀorts at
the ABC One-Hour Dry Cleaners site at Tarawa Terrace and vicinity and adopt remedia on strategies that
would yield more eﬀec ve results for a DNAPL source contaminant. The U.S. Environmental Protec on
Agency (USEPA), their consultants, and the North Carolina Department of Environment and Natural
Resources (NCDENR) conducted remedia on eﬀorts at the ABC One-Hour Dry Cleaners site at Tarawa
Terrace and vicinity using remedia on strategies directed toward a dissolved phase contaminant. The
fact that USEPA and NCDENR ﬁeld consultants did not implement DNAPL remedia on technologies at
the site is addi onal evidence that these agencies and their consultants also do not agree with the NRC
commi ee as to the characteriza on of the contamina on source as DNAPL phase PCE.

Comment on p. 48: Because insuﬃcient historical pumping data were available to constrain the model
predic ons from 1953 to 1980, the ability of the advanced op miza on models to es mate the dates
accurately is ques onable.

Response: There are obvious uncertain es in the physical problem being studied at ABC One-Hour Dry
Cleaners and Tarawa Terrace and vicinity. The NRC commi ee would most likely agree with this
statement. If we accept this statement, then the ques on becomes, should one completely ignore
uncertainty in the analysis or should one try to develop techniques that would provide an es mate of
the eﬀects of uncertainty on the solu on in a systema c way? In this study we have chosen the second
route, which is the sound science alterna ve which documents the inherent level of uncertainty.

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The NRC commi ee should accept the fact that answers to uncertainty ques ons cannot be answered
“accurately” as the NRC report states in the above statement. Expec ng that from an uncertainty
analysis outcome would be scien ﬁcally irresponsible. Our uncertainty analyses are not provided to give
“accurate” answers to the problem studied. Instead, our uncertainty analyses are used as es mates that
would indicate the variability range of determinis c results provided earlier. The domain of uncertainty
analysis is a scien ﬁc ﬁeld which is not in the realm of the tradi onal groundwater fate and transport
analysis exper se and should be viewed using a diﬀerent microscope and exper se. ATSDR’s uncertainty
analysis is a reliable and accepted methodology in the ﬁeld of environmental modeling.

Comment on p. 48: (5) there is no spa al varia on in the microbiologic or geochemical characteris cs.

Response: The NRC commi ee correctly iden ﬁed that in the applica on of the TECHFLOWMP model to
the aquifers underlying the ABC One-Hour Dry Cleaners site and Tarawa Terrace and vicinity, we assumed
no spa al varia on of microbiologic characteris cs. If the NRC commi ee is familiar with the ﬁnite
element procedures used in the TechFlowMP model, they would acknowledge that this is not a
restric on of the model but a restric on on the available ﬁeld data for the site. If the microbial
distribu on in an aquifer can be accurately characterized, which we doubt can be accomplished in this
case or in any case, we can certainly include that heterogeneity in our modeling eﬀort.

Having pointed out this fact, I would also like to ques on issues pertaining to levels of acceptable
homogeneity considered in our modeling eﬀort and compare it with levels of unacceptable homogeneity
that are shunned in our modeling analysis based on the cri que presented in the NRC report. For
example, the assump on of uniform inﬁltra on across the model domain when the MODFLOW family of
model codes is u lized was not cri qued in the NRC report, but the assump on of uniform microbial
distribu on in the mul layer aquifer domain is cri qued. Between these two processes, which would be
the easier process to characterize and implement? I think the answer to this ques on is obvious, the
inﬁltra on process would be easier. Thus, although both processes are characterized by heterogeneity in
the aquifer, accep ng the homogeneity assump on for the inﬁltra on case but not accep ng
homogeneity assump on for the microbial distribu on case would be se ng the bar too high and would
be scien ﬁcally irresponsible considering the levels of data that may be available to characterize either
process. A scien ﬁc review commi ee should be able to make these dis nc ons easily and come up with
appropriate conclusions in their review comments.

Comment on p. 49: However, there are some important limita ons in ATSDR’s modeling eﬀorts because
of the sparse set of water quality measurements, the need to make unveriﬁable assump ons, and the
complex nature of the PCE source contamina on.

Response: There are limita ons of the modeling analyses conducted by ATSDR water modeling team. We
would be the ﬁrst to acknowledge these limita ons. This is evident by the level of detail of the
uncertainty analysis conducted as part of the water modeling analysis to envelope the eﬀect of those
uncertain es on the outcome presented. However, in my opinion, characterizing the uncertainty analysis
outcome as not “accurate” as previously stated (see response above) or, that uncertainty analysis should
only be conducted in “veriﬁable” cases as stated above is not a scien ﬁcally sound assessment or
procedure. As we all agree, an uncertainty that can be veriﬁed would be no longer uncertain.

Regarding the lack of historically measured values of contamina on, it was not required to measure
these contaminants in the meframe of interest, according to regulatory agencies. It was when

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trihalomethane (THM) measurements were ﬁrst required, those analy cal techniques were u lized that
could detect the presence of other halogenated (e.g., chlorinated) compounds like PCE and TCE. The lack
of such measured values points to the need for historical reconstruc on eﬀorts – the NRC report oﬀers
no be er alterna ve.

I fully agree with the NRC observa on that “ATSDR applied best prac ces and cu ng-edge modeling
approaches to predict the complex groundwater-contamina on scenario” (NRC, 2009; p 65) necessary
for establishing reconstructed exposure levels. ATSDR conducted sensi vity analyses in both the 2009
Tarawa Terrace study (ATSDR, 2009) and the later 2013 Hadnot Point / Holcomb Boulevard study (ATSDR,
2013) that generated a range of possible exposure levels at a given point in me. Thus, in my opinion
ATSDR not only sa sﬁed but also built upon input from the NRC report to produce the best-possible
engineering and scien ﬁcally valid informa on for assessing historical exposure levels at Camp Lejeune.

Comment on p. 49 ﬁrst bullet: The eﬀects of the DNAPL in both unsaturated and saturated zones have
not been included in the studies.

Response: The NRC report brings back the DNAPL issue here again. Please see my response in the
comments above.

Comment on p. 49 second bullet: Constant values of dispersivity (longitudinal dispersivity of 25          and
transverse 2.5 ) were used in the transport model.

Response: Although dispersivity is constant, based on the deﬁni on of the hydrodynamic diﬀusion
coeﬃcient, the hydrodynamic diﬀusion coeﬃcients are variable because they depend on the velocity
ﬁeld at the site. This is a common assump on in most studies where ﬁeld data are not available to
support spa ally variable dispersion/diﬀusion coeﬃcients. This comment again is related to my
discussion of acceptable homogeneity and unacceptable homogeneity condi ons at a site study above.

Comment on p. 49 bullet four: The numerical codes TechFLowMP and PSOpS used in the modeling are
research tools and are not widely accepted public-domain codes, such as MODFLOW and MT3DMS, so
their valida on is important.

Response: This characteriza on is a misrepresenta on of the models, as clearly iden ﬁed in my
response above. The availability of codes with the capabili es of these models is very limited. In my
opinion the use of these models in complex analysis should not be shunned by NRC, but instead, it
should be encouraged since these models provide supplemental informa on beyond MODFLOW family
of code applica ons (USEPA 2009, p. 31).

Comment on p. 49 bullet ﬁve: The PSOpS modeling study is based on the premise that an op miza on
model can be used to evaluate pumping stresses. Without site-speciﬁc pumping and water-quality data,
the results will be nonunique and uncertain.

Response: PSOpS modeling concept is based on the eﬀort of es ma ng the eﬀects of uncertainty on the
modeling outcome. This analysis is approached in a systema c manner following accepted processes
such as an op miza on analysis based on some constraints to sa sfy the demands. The PSOpS model
uses the MODFLOW family of codes as its database engine. We are not claiming that the outcome
provides the exact condi ons represen ng the problem at the site. But the outcome of the analysis
provides us with an envelope which bounds our determinis c analysis. This is a standard uncertainty

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analysis procedure like, for example, Monte Carlo analysis that is rou nely used in uncertainty analysis.
Monte Carlo analysis, according to a well-established procedure, systema cally evaluates the eﬀects of
uncertainty on the problem solu on based on random synthe c data genera on. In such an applica on,
it is not certain that the random numbers generated would exactly represent the actual condi ons for
the problem at the site. However, the bounding limits of the analysis are the goal of the analysis. The
applica on of PSOpS, in essence, is very similar to that analogy.

As I have stated earlier, this goes back to the NRC report statement about the “accuracy” of the
uncertainty analysis results that cannot be jus ﬁed scien ﬁcally. Also, I must emphasize again what I
stated earlier: The domain of uncertainty analysis is a scien ﬁc ﬁeld which is not in the realm of the
tradi onal groundwater fate and transport analysis exper se and should be viewed using a diﬀerent
microscope and exper se.

Comment on p. 49 bullet seven: The TechFlowMP model predicted very high vapor concentra ons. For
example, TechFlowMP predicted that the PCE vapor concentra on in the top 10 of soil beneath the
Tarawa Terrace elementary school should be 1,418 g/L. Studies of PCE vapor concentra ons in buildings
that house or are near a drycleaning facility have reported measured concentra ons around 55 g/L.

Response: This reference to a vapor concentra on at 1,418 g/L is another example of
misrepresenta on of the results of the modeling analyses conducted by the ATSDR water modeling
team. This aforemen oned informa on was taken from Chapter A of the ATSDR Tarawa Terrace report
series (Maslia et al. 2007, p. A44). The statement provided in the ATSDR report reads as follows: “b. the
maximum simulated PCE concentra on in groundwater (model layer 1) at the Tarawa Terrace
elementary school was 1,418 g/L (Figure A15b), whereas the maximum simulated vapor-phase PCE
(in the top 10 of soil) was 137 g/L (Figure A20a)”

The above sentence, taken directly from the ATSDR report submi ed to NRC, clearly states that the
groundwater (not vapor) concentra on of PCE in layer “1” is at 1,418 g/L concentra on. Vapor
concentra on is given separately in the paragraph towards the end of that sentence. For the NRC report
to represent this number (1,418 g/L) as the vapor concentra on that is simulated at the site to discredit
a study is not appropriate for a scien ﬁc review. I will provide a more detailed analysis of this case using
simula on results to bring clarity to the concern raised in the NRC report.

In this case, the work product referred to are the TechFlowMP modeling results and the analysis
men oned was conducted by the MESL - Georgia Tech research group par cipa ng in the ATSDR water
modeling analysis of the ABC One-Hour Cleaners site and Tarawa Terrace and vicinity (Jang and Aral
2007). To provide the reader with clear evidence of scien ﬁc misrepresenta on of the facts, the actual
data reported in our report is presented below in suﬃcient detail, unlike the other responses I have
provided to other comments in this document. In the numerical study of the mul species, mul phase
groundwater contamina on at ABC One-Hour Dry Cleaners and Tarawa Terrace and vicinity, TechFlowMP
simula ons used two boundary-condi ons to characterize the ground surface under the original
pumping schedule: (1) GSBC = 0.01 and (2) GSBC = 1.0 (Jang and Aral 2007, p. G15). Here the acronym
“GSBC” stands for the Ground Surface Boundary Condi on. For the in-/out-ﬂux of gas between the
atmosphere and the unsaturated zone, if the ground surface does not have low-permeable zones or
hindrances due to pavement, lakes, or buildings, the GSBC value is set to be 1.0. This implies that soil gas
can be freely released into the atmosphere from the unsaturated zone. However, when some objects,
including roads, buildings, ponds, or highly water-saturated areas, are present at the ground surface, the


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soil gas cannot be released into the atmosphere freely. Under such a condi on, GSBC is set to be 0.01 in
the current study. In a typical applica on, any number between these two extremes can be considered in
the analysis. However, just to show the bounds of the results, the discussion here will be conﬁned to
these two extreme cases.

To analyze the concentra on distribu on around the school area as it is referred to in the NRC report
comment, the loca on of the school at Tarawa Terrace must be iden ﬁed and is shown in Figure 1
(ATSDR, 2007; ATSDR 2013).




In the school area, the groundwater table is near the ground surface (CH2MHILL 2007). In this study, the
ground surface is at z = 7.6 meters (m, z = 25 ), and the groundwater table is around z = 2.4 - 4 m (z = 8 -
13 ) (Jang and Aral 2007, Figure G3, p. G10). Thus, the concentra on distribu ons of the vaporized PCE
at z = 6 m are presented below, where the unsaturated zone is at this loca on.

As shown in Figure 2 (ATSDR, 2007a), under GSBC = 0.01, which is more representa ve of an area where
there are buildings and pavements, the predicted vaporized PCE concentra ons in the pore space of the
soil at the center of the school area (x = 2,580 m, y = 1,975 m) are about 15.5 g/L during December
1984 (Figure 2a) and 3.7 g/L during December 1994 (Figure 2b). Within the school area (marked with
the circle in this ﬁgure), the PCE concentra on ranges 0.1-100 g/L during December 1984 (Figure 2a)
and 0.1-50 g/L during December 1994 (Figure 2b) (ATSDR, 2007a).




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In Figure 2, the vaporized PCE concentra ons near the ABC One-Hour Cleaners site are very high where
the contamina on source is located. This is expected, but the vapor concentra ons decrease sharply
with the distance away from the ABC One-Hours Cleaners site. Furthermore, the simulated
concentra on of PCE in the gas phase, ranging from 0.1 to 100 g/L, is not signiﬁcantly diﬀerent from
the value of 55 g/L, given in the NRC report.




Having provided this comparison, I also ques on the source of the reference number, 55 g/L, that is
used in the NRC report. The NRC report provides a reference for this case and this reference is
McDermo et al. (2005). I was curious about this reference; therefore, I located and obtained a copy of
the referenced paper. In the McDermo et al. (2005) study, the authors are analyzing and repor ng data
on the PCE vapor concentra ons in a building where dry-cleaner opera ons are housed in New York City.


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Does the NRC commi ee expect us to accept the concept that what is observed (measured) as vapor
concentra on in a building that houses a dry-cleaner facility in New York City should also apply to the
subsurface pore space of the soil at the site of an elementary school area in Camp Lejeune, North
Carolina? Or do they expect that what we have simulated in the pore space of the soils at a site in North
Carolina should also conﬁrm the observa ons made in New York City, 17-20 years beyond our ﬁnal
simula on date (2001-2003), in some dry-cleaner facility building? In my opinion, these types of
comparisons, expecta ons, and asser ons are scien ﬁcally not acceptable or credible.

In the groundwater contamina on study that u lized TECHFLOWMP (Jang and Aral 2007), the local
equilibrium of contaminant par oning between the water and gas phases is implemented while
calcula ng the contaminant distribu on between the two phases (gas and liquid). Thus, we can use the
Henry coeﬃcient, H, in es ma ng PCE concentra on in the gas phase from the concentra on in the
groundwater phase as follows:




For PCE, H is 0.35 (Jang and Aral 2007, Table G2). Using the dissolved PCE concentra on in the
groundwater shown in Figure G5 of Jang and Aral (2007) (in the unsaturated and saturated zones), the
overall concentra on distribu on of the vaporized PCE within the gas phase in the unsaturated zone can
also be es mated. This simple calcula on could have been made by the NRC commi ee to conﬁrm the
vapor concentra on numbers they are repor ng in their statement. In Figure G5 of Jang and Aral (2007),
the dissolved PCE concentra on in the groundwater is 100-500 g/L near the ground surface at the
loca on of the elementary school (x = 2,580 m, y = 1,975 m). Therefore, the vaporized PCE concentra on
will be approximately 35-175 g/L in the unsaturated zone near the school area. The cross-sec on line
A-A, in Figure G5 is located at x = 2,606 m.




Let us also analyze the results of the other boundary condi on that is used in the TechFlowMP model
out of curiosity and see if the vapor concentra on value of 1,418 g/L reported in the NRC report was

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referring to that case. The results reported in (Jang and Aral 2007) under the condi on GSBC = 1 are
shown in Figure 3 (ATSDR, 2007; ATSDR 2013). The predicted vaporized PCE concentra ons at the center
of the school area (x = 2580 m, y = 1975m) are about 0.99 during December 1984 (Figure 3a) and 0.1
g/L during December 1994 (Figure 3b) (ATSDR, 2007; ATSDR 2013) (i.e. more PCE vapor is released to
the atmosphere and less is remaining in the pore space when compared to the previous results). Within
the school area (marked with the circle in the ﬁgure), the concentra on ranges 0.1-10 g/L in December
1984 (Figure 3a) and less than 5 g/L in December 1994 (Figure 3b) (ATSDR, 2007).




As can be seen from these results the number reported in the NRC report does not exist in the ATSDR
water-modeling analysis as vapor concentra on. This is a clear misrepresenta on of the ATSDR water
modeling results.

The ﬁeld inves ga on during 2007 (CH2MHILL 2007) it was reported that the vaporized concentra ons
of PCE near the ground surface were below detec on limits or very low, 3.9 ppbv (parts per billion
volume), which is equivalent to 0.028 g/L. Considering the me gap between the end of the historical
simula on me (December 1994) and the ﬁeld inves ga on me (July 2007), the simula on results that
are provided in the Chapter G report of the ATSDR Tarawa Terrace report series (Jang and Aral 2007)
provide reasonable modeling results and represent acceptable levels of expected vapor concentra on
near the Tarawa Terrace elementary school. Are we asser ng that this is absolutely the case? The answer
to that ques on is absolutely “No.” This outcome is only an es mate based on the assump ons and
limita ons of the models considered and the boundary condi ons used in the ATSDR water modeling
analyses and the assump ons and limita ons are based on our best judgment of the condi ons that may
exist at the ABC One-Hour Dry Cleaners site and Tarawa Terrace and vicinity.

The ATSDR water modeling reports do not report such high concentra on of vaporized PCE
concentra on in the gas phase. The vaporized PCE concentra on of 1,418 g/L is equivalent to a
dissolved PCE concentra on of 4,051 g/L, in the groundwater which does not exist in our results:




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I also note that the unsaturated zone is located at a very thin layer near the ground surface (z = 7.6 m (25
  )) in Jang and Aral (2007, Figure G5) which is characterized in terms of several layers in water-modeling
analysis. The maximum thickness of the unsaturated zone is about 7.6 m.

In conclusion the data, the associated discussion of the vapor levels near the Tarawa Terrace elementary
school area, and the reference provided in the NRC report (McDermo et al. 2005) are far from the facts
of the case and the results that are presented by the ATSDR water modeling team.

Comment on p. 49 bullet eight: The biodegrada on model used within the TechFlowMP code is based
on an untested preliminary research model.
        and also,
Comment on p. 50: The TechFlowMP simula ons assumed that the biodegrada on byproduct of TCE is
trans-1,2-DCE. However, the scien ﬁc literature indicates that cis-1,2-DCE is the predominant product of
TCE reduc on under in situ groundwater condi ons.

Response: The detailed descrip on of why trans-1,2-dichloroethylene is chosen as the representa ve
byproduct of TCE bioreac on at the Tarawa Terrace area instead of cis-1,2-DCE is given in page G4 of the
report, Chapter G (Jang and Aral, 2007). An addi onal explana on regarding this issue is given below.

As shown in Figure G2 of the report (Jang and Aral, 2007), the anaerobic biological degrada on of
trichloroethylene (TCE) generates three isomers, cis-1,2-dichloroethylene (cis-1,2-DCE), trans-1,2-
dichloroethylene (trans-1,2-DCE), and 1,1-dichloroethylene (1,1-DCE). As discussed in the report (Jang
and Aral 2007), cis-1,2-DCE (1,2-cDCE) is the most common byproduct among the three DCE isomers
produced theore cally (Wiedemeier 1998). Even though cis-1,2-DCE has been o en used as a primary
byproduct of TCE-biodegrada on under the anaerobic condi ons in contaminant transport modeling of
chlorinated ethenes (Clement et al., 2000; Jang and Aral, 2008), but the primary byproduct of the TCE
bioreac on highly depends on the chemical-biological condi ons (especially, microorganisms and
nutrients) at the contaminated sites (Bradley, 2003), implying that the biological reac on of TCE is highly
site-speciﬁc. For example, Chris ansen et al. (1997) and Miller et al. (2005) reported the anaerobic
biological degrada on of TCE produced more trans-1,2-DCE than cis-1,2-DCE. At the TCE contaminated
site in Key West, Florida, the ra o of trans-1,2-DCE to cis-1,2-DCE was greater than 2 (SWMU9, 2002).
Griﬃn (2004) reported that the ra o could reach up to 3.5, based on ﬁeld data for several sites, including
Tahquamenon River, MI; Red Cedar River, MI; Pine River, MI; and Perfume River, Vietnam.

In the modeling of contaminant transport at a contaminated site, the ﬁeld measurement data at the site
are very important in valida ng the numerical models and in obtaining more accurate simula on results.
For the numerical study at the Tarawa Terrace area, we had limited ﬁeld data regarding the
concentra ons of PCE, TCE, and trans-1,2-DCE. This is indicated in the following statement of the ATSDR
report: Review of degrada on byproduct data analyses, provided to ATSDR by the Department of the
Navy, U.S. Marine Crops, the North Carolina Department of Environment and Natural Resources,
and others indicated that the predominant degrada on byproduct of TCE at Tarawa Terrace and vicinity
was trans-1,2-DCE (Faye and Green 2007, Tables E2 and E7).



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As men oned above, since the primary byproduct of the biological degrada on of TCE depends on site-
speciﬁc condi ons, it is more reasonable to select trans-1,2-DCE instead of cis-1,2-DCE as a primary TCE-
bioreac on-byproduct in the study on the groundwater contamina on at the Tarawa Terrace area.

The NRC cri que, therefore, ignores site-speciﬁc TCE degrada on by-product data per nent to Tarawa
Terrace and vicinity, listed in Chapter E of the Tarawa Terrace report series. This statement again clearly
demonstrates the lack of due diligence by the NRC review commi ee in their review of the data that
exists at the Tarawa Terrace, Camp Lejeune site and their lack of understanding of the facts of the site-
speciﬁc case based on this data.

Comment on p. 50 next to last bullet: In the absence of data, historical reconstruc on eﬀorts that use
groundwater models can only provide a general conceptual framework for what happened at the site
and why.

Response: Historical reconstruc on is a procedure that is accepted in literature. It uses models to predict
the past in a conceptually similar manner to the models that are rou nely used to predict the future in
other engineering studies. The ATSDR response document provides references to such historical
reconstruc on applica ons.

Comment on p. 65: Therefore, the commi ee recommends the use of simpler approaches (such as
analy c models, average es mates based on monitoring data, mass-balance calcula ons, and
conceptually simpler MODFLOW/MT3DMS models) that use available data to rapidly reconstruct and
characterize the historical contamina on of the Hadnot Point water-supply system. Simpler approaches
may yield the same kind of uncertain results as complex models but are a be er alterna ve because they
can be performed more quickly and with rela vely less resources, which would help to speed-up the
decision-making process.

Response: Use of simpler models may be easier to implement. We have also proceeded in that direc on
as well for the Hadnot point study. However, how the detailed ques ons that are raised in the NRC
report could be answered using simpler models is not clear to me. Further, simpler models will not
necessarily reduce the level of uncertainty. Instead, they may introduce conceptual misrepresenta on of
the physical system modeled. The ATSDR’s approach, which in my opinion is the correct approach, is to
use the most appropriate model that can provide the needed informa on, rather than the simplest or an
oﬀ the shelf model.

CONCLUSIONS:

The scien ﬁc and engineering evidence presented in this response statement (submi ed to EDRP/ATSDR
as a memorandum in 2009) and the discussion of this evidence herein clearly indicate that the data and
the analysis presented in the NRC report (NRC, 2009) are misrepresenta ons and mischaracteriza ons of
the ﬁndings of the ATSDR water modeling analyses conducted at the ABC One-Hour Cleaners site, Tarawa
Terrace area and vicinity. The conceptual characteriza on of the contaminant source made by the NRC
commi ee also does not ﬁt available ﬁeld data or reported ﬁeld condi ons by the USEPA, their
consultants, or the NCDENR which guided remedia on eﬀorts at ABC One-Hour Cleaners and Tarawa
Terrace and vicinity.

Thus, I believe, due to the presence of numerous errors, misrepresenta ons and mischaracteriza on of
the scien ﬁc facts of the ATSDR water modeling analyses, the NRC report cannot be used as a reliable

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rebu al to ATSDR conclusions on water modeling or a guidance document in its en rety. I reserve the
right to update this report should any addi onal evidence or deposi on tes mony be provided to me
that calls into ques on the conclusions of the NRC report or that concerns any other topic in my report.




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 29. February 8, 2012 Deposition of Elizabeth Ann Betz and any exhibits referenced therein
 30. June 30, 2010 Deposition of Morris Maslia and exhibits referenced therein
 31. May 28, 2024 Deposition of General Anthony Zinni; Zinni Deposition Exhibits 1-8
 32. August 5, 2024 Deposition of Kim Henderson; Henderson Deposition Exhibits 1-18
 33. August 6, 2024 Deposition of Dan Waddill; Waddill Deposition Exhibits 1-20
 34. August 14, 2024 Deposition of Jason Barry Sautner; Sautner Deposition Exhibits 1-10
 35. August 15, 2024 Deposition of Rene Suarez-Soto; Suarez-Soto Deposition Exhibits 1-5
 36. August 22, 2024 Deposition of Dr. Chris Rennix; Rennix Deposition Exhibits 1-6
 37. September 26, 2024 Deposition of Morris Maslia; Maslia Deposition Exhibits 1-22
 38. ATSDR Camp Lejeune Project File: CLJA_ATSDRWM01-0000000001-CLJA_ATSDRWM01-
     0000189563; CLJA_WATERMODELING-0000000001-CLJA_WATERMODELING-0000209307;
     CLJA_WATERMODELING_01-0000000001-CLJA_WATERMODELING_01-0000854197;
     ATSDR_WATERMODELING_01-0000854198-ATSDR_WATERMODELING_01-0000936235;
     CLJA_WATERMODELING_01-0000936236-CLJA_WATERMODELING_01-0001118025;
     CLJA_WATERMODELING_04-0000000001-CLJA_WATERMODELING_04-0000117996;
     CLJA_WATERMODELING_05-0000000001-CLJA_WATERMODELING_05-0001394405;
     ATSDR_WATERMODELING_05-0001394406-ATSDR_WATERMODELING_05-0001394413;
     CLJA_WATERMODELING_07-0000000001-CLJA_WATERMODELING_07-0002316354;
     CLJA_WATERMODELING_08-0000000001-CLJA_WATERMODELING_08-0000193508;
     CLJA_WATERMODELING_09-0000000001-CLJA_WATERMODELING_09-0000547124;
     ATSDR_WATERMODELING_09-0000547125-ATSDR_WATERMODELING_09-0000568329;

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     CLJA_WATERMODELIING_09-0000568330-CLJA_WATERMODELIING_09-0000615612;
     CLJA_WATERMODELING_09-0000615613-CLJA_WATERMODELING_09-0000745917
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 40. 00897_PLG_0000067113-00897_PLG_0000067132
 41. 00897_PLG_0000339484-00897_PLG_0000339588
 42. 00897_PLG_0000063393-00897_PLG_0000063594
 43. 00897_PLG_0000065633-00897_PLG_0000065659
 44. CLJA_ATSDR_BOVE-0000006959-CLJA_ATSDR_BOVE-0000006960

The forthcoming depositions of Frank Bove, Susan Martel, and Scott Williams, including any
accompanying deposition exhibits and any other materials later produced in this litigation for which
I reserve the right to read, review and rely upon.




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9. Glossary of Abbreviations, and Deﬁnitions
Deﬁni ons of terms and abbrevia ons used throughout this report are listed below in alphabe cal order.

ATSDR: Agency for Toxic Substances and Disease Registry.
BTEX: Benzene, toluene, ethyl benzene, and xylenes. These compounds are some of the VOCs found in
        petroleum deriva ves such as gasoline. BTEX compounds typically occur near petroleum and
        natural gas produc on sites, gasoline sta ons, and other areas with underground storage tanks
        (USTs) or above-ground storage tanks (ASTs) containing gasoline or other petroleum-related
        products
CDC: Centers for Disease Control and Preven on.
DCE Dichloroethylene; an industrial chemical that is not found naturally in the environment. The USEPA
        has determined that 1,1-dichloroethylene is a possible human carcinogen
        1,1-DCE 1,1-dichloroethylene or 1,1-dichloroethene
        1,2-DCE 1,2-dichloroethylene or 1,2-dichloroethene
        1,2-cDCE cis-1,2-dichloroethylene or cis-1,2-dichloroethene
        1,2-tDCE trans-1,2-dichloroethylene or trans-1,2-dichloroethene
        total 1,2-DCE total 1,2-dichloroethylene or total 1,2-dichloroethene
DNAPL: Nonaqueous Phase Liquids that are denser than water.
DOD: Department of Defense.
DON: Department of the Navy.
DPL: Liquids that mix with water, as opposed to nonmixing phase liquids NAPL.
EPANET 2: A water-distribu on system (or network) model developed by the USEPA (Rossman 2000)
GAO: Government Accountability Oﬃce.
GSBC: Ground Surface Boundary Condi on.
HBWTP: Holcomb Boulevard Water Treatment Plant.
HPWTP: Hadnot Point Water Treatment Plant.
HSMM: A one-dimensional NAPL volume es mator model and so ware developed by USEPA (Weaver et
        al. 1996).
LCT: Linear Control Theory. A scien ﬁc methodology of the scien ﬁc ﬁeld of control engineering and
        applied mathema cs. The methodology deals with the control of dynamical systems in
        engineered processes. In the case of ATSDR study of the Camp Lejeune site, the methodology
        was applied to groundwater contaminant transport analysis as a simple applica on to predict
        concentra on values at a speciﬁc point in space and me based on limited data available at the
        site. This study was requested by the expert panel which reviewed the ATSDR Camp Lejeune site
        study and provided scien ﬁc advice.
LNAPL: Nonaqueous Phase Liquids that are lighter than water.
Markov process: A process that analyzes the tendency of one event to be followed by another event
        based on the sequence of events. Using this analysis, one can generate a new sequence of
        random but related events, which will look similar to the original; a stream of events is called a
        Markov Chain.
MCL: Maximum contaminant level; a legal threshold limit set by the USEPA on the amount of a
        hazardous substance that is allowed in drinking water under the Safe Drinking Water Act; usually
        expressed as a concentra on in milligrams or micrograms per liter (USEPA 2003, 2009).
MESL: Mul media Environmental Simula ons Laboratory, a research center at Georgia Ins tute of
        Technology.




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MODFLOW: A U.S. Geological Survey modular ﬁnite-diﬀerence ﬂow model, which is a computer code
        that solves the groundwater ﬂow equa ons. Used worldwide in groundwater ﬂow simula ons in
        subsurface systems.
Monte Carlo analysis: Also referred to as Monte Carlo simula on; a computer-based method of analysis
        that uses sta s cal sampling techniques to obtain a probabilis c approxima on to the solu on
        of a mathema cal equa on or model (USEPA 1997).
MT3DMS: Three-dimensional mass transport, mul species model developed on behalf of the U.S. Army
        Engineer Research and Development Center. MT3DMS-5.3 (Zheng and Wang 1999) is the speciﬁc
        version of MT3DMS code used for the Hadnot Point–Holcomb Boulevard study area analyses;
        references to MT3DMS in text, ﬁgures, tables, appendixes, and supplemental informa on refer
        to MT3DMS-5.3. It can be used linked to a MODFLOW model. Used worldwide in contaminant
        transport simula ons in subsurface systems.
NAC: Na onal Academy of Sciences.
NAPL: Nonaqueous phase liquids; hazardous organic liquids such as dry-cleaning ﬂuids, fuel oil, and
        gasoline that do not readily dissolve in water. Dense NAPLs (DNAPLs), such as the chlorinated
        hydrocarbons (e.g., PCE, TCE) used in dry cleaning and industrial degreasing, are heavier than
        water and sink through the water column. Hydrocarbon fuels and aroma c solvents are
        described as light NAPLs (LNAPLs), which are less dense than water and ﬂoat. These include
        lubricants and gasoline, pollutants o en associated with leaking gasoline or oil storage tanks
        (e.g., benzene).
NRC: Na onal Research Council.
PCE: Tetrachloroethylene, 1,1,2,2-tetrachloroethylene, or perchloroethylene; also known as PERC® or
        PERK®. PCE is a manufactured chemical used for dry cleaning and metal degreasing. In 2012,
        following its Guidelines for Carcinogen Risk Assessment (USEPA 2005), the USEPA characterized
        PCE as likely to be carcinogenic in humans by all routes of exposure (USEPA 2012).
PEST: Model independent, objec ve parameter es ma on and uncertainty analysis code originally
        developed by Watermark Numerical Compu ng (Doherty 2003, 2010); the current version is
        PEST-12, available at h p://www.pesthomepage.org/Downloads.php.
PSOpS: Pumping Schedule Op miza on System applica on developed by MESL, Ga. Tech. The study
        included the development of a simula on and op miza on procedure iden ﬁed as PSOpS,
        which combines simula on models (MODFLOW, MT3DMS, TECHFLOWMP) and op miza on
        techniques to op mize the pumping schedules to iden fy maximum or minimum contaminant
        concentra ons in the WTP consistent with the reported pumping schedules and demanfs on
        ﬁnished water supply at Camp Lejeune site. Based on the op mized pumping schedules,
        varia ons of PCE concentra on and the maximum contaminant level (MCL, PCE, TCE etc.) arrival
          mes at water-supply wells and the WTP are evaluated (Wang and Aral, 2008, ATSDR, 2007;
        ATSDR, 2013).
Sensi vity Analysis: A method used to ascertain how a given model output (e.g., concentra on)
        depends upon the input parameters (e.g., me-step size, pumping rate). Sensi vity analysis is an
        important method for assessing the quality of a given model and a powerful tool for analyzing
        the robustness and reliability model analyses.
TCE: 1,1,2-Trichloroethene; commonly referred to as 1,1,2-trichloroethylene or trichloroethylene. TCE is
        a colorless liquid which is used as a solvent for cleaning metal parts. In 2011, following its
        Guidelines for Carcinogen Risk Assessment (USEPA 2005), the USEPA characterized TCE as
        carcinogenic in humans by all routes of exposure (USEPA 2011).
TechControl: A linear control theory model and so ware developed by MESL, Ga Tech. It is used to
        address the ques on of applica on of simpler models to predic ng contaminant concentra ons


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        at certain loca ons of Camp Lejeune site. The development of the so ware was based on a
        request that was ini ated by the ATSDR Expert Panel of scien sts.
TechFlowMP: Three-dimensional mul species, mul phase mass transport model developed by the
        Mul media Environmental Simula ons Laboratory at the Georgia Ins tute of Technology,
        Atlanta, Georgia.
TechMarkovChain: A model and so ware developed by MESL, Ga. Tech. It is based on a scien ﬁc
        mathema cal methodology called Markov stochas c sequen al processes (Ross, 1997). It is
        used to es mate intermi ent connec ons (1972–1985) of the Hadnot Point and Holcomb
        Boulevard water-distribu on systems based on the analysis of available ﬁeld data collected at
        the Camp Lejeune site. The development of the so ware was based on a discussion that was
        ini ated by the ATSDR Expert Panel of scien sts (see sec on 5.9 for more details).
TechNAPLVol: A subsurface NAPL volume es ma on model developed by MESL, Ga. Tech. It is a NAPL
        volume es ma on model based on USEPA HSMM analysis described above. In this case the
        USEPA HSSM procedures are extended to three-dimensional analysis and used to es mate the
        volume of spilled BTEX compounds at the Camp Lejeune site. This so ware is an integral part of
        TECHFLOWMP (see sec on 5.10 for more details).
TechWellOp: A subsurface pumping well es ma on model and so ware developed by MESL, Ga. Tech.
        The methodology uses the daily data in the Training Period to determine the monthly
        opera onal behavior of the water supply wells at the Camp Lejeune site that would sa sfy the
        total water volume delivered to the water treatment plants. Once the average monthly working
        days in the Training Period are es mated for each calendar month, they are u lized in the
        predic on stage which is based on the same principle of sa sfying the total monthly ﬂow
        delivered to the treatment plant. This methodology is an eﬃcient and eﬀec ve way of
        integra ng the available data in recent years to the predic on process for the past years. The
        development of the so ware was based on a discussion that was ini ated by the ATSDR Expert
        Panel of scien sts (see sec on 5.8 for more details and ATSDR, 2007).
Uncertainty: Lack of knowledge about speciﬁc factors, parameters, or models (for example, one is
        uncertain about the mean value of the concentra on of PCE at the source).
Uncertainty analysis: Determina on of the uncertainty (e.g., standard devia on) of the output variables’
        expected value (e.g., mean) due to uncertainty in model parameters, inputs, or ini al state by
        stochas c modeling techniques (Schnoor 1996).
Unsaturated zone: Zone or area below ground in which the interconnected openings within the geologic
        medium contain a mixture of water under pressure less than atmospheric and air under
        atmospheric pressure; some mes referred to as the vadose zone or the zone above the water
        table. The capillary fringe is part of the unsaturated zone and some mes occurs as completely
        saturated.
USEPA: United States Environmental Protec on Agency.
USMC: United States Marine Corps.
VC: Vinyl chloride or chloroethene; a colorless gas that burns easily, is not stable at high temperatures,
        and has a mild, sweet odor. It is a manufactured substance that does not occur naturally. It can
        be formed when other substances such as TCA, TCE, or PCE undergo biochemical degrada on.
        The USEPA has characterized VC as a known human carcinogen (USEPA 2000). The NTP Report
        on Carcinogens (NTP 2011) has recognized vinyl chloride as a known human carcinogen based on
        suﬃcient evidence of carcinogenicity in humans.
VOC: Vola le organic compound; one of a group of carbon-containing compounds that evaporate readily
        at room temperature and can readily be inhaled. Examples of VOCs include tetrachloroethylene
        (PCE), trichloroethylene (TCE), vinyl chloride (VC), and benzene. These contaminants typically are
        generated from metal degreasing, printed circuit board cleaning, dry cleaning, gasoline, and

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      wood preserving processes. VOCs are environmental contaminants, and some are classiﬁed as
      known human carcinogens (e.g., TCE, VC, and benzene).
WTP: Water treatment plant.




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Exhibit A
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EDUCATION:

Ph.D. in Environmental Fluid Mechanics with minor in Numerical Analysis and Applied Mathema cs,
Sept. 1971, School of Civil Eng., Georgia Ins tute of Technology, USA.

M.S. in Civil Engineering with major in Environmental and Water Resources Engineering, June 1969,
School of Civil Eng., Georgia Ins tute of Technology, USA.

B.S. in Civil Engineering, June 1967, Department of Civil Engineering, Middle East Technical University,
Turkey.


EMPLOYMENT:

2018-present     Emeritus Prof.  School of Civil and Environmental Engineering, Ga. Tech., USA.
2018-2020        Dean            College of Engineering, Architecture and Design, Bar n Univ., Turkey.
2018-2020        Vice President  Interna onal Programs and Research, Bar n University, Turkey.
2018-2020        Professor       Department of Civil Engineering, Bar n University, Turkey.
1993-2018        Prof. Director  Mul media Environmental Simula ons Laboratory, Ga. Tech. USA
1983-1993        Assoc. Prof.    School of Civil and Environmental Engineering, Ga. Tech., USA
1979-1983        Visi ng Prof.   School of Civil and Env. Engineering Ga. Tech. (On sabba cal), USA
1974-1982        Adjunct Prof.   Marine Sciences Dept., Civil Eng. Dept., Eng. Science Dept.,
                                 Middle East Tech. Univ., Turkey.
1977-1982        Assoc. Prof.    Mathema cs Dept., Middle East Tech. Univ., Turkey.
1974-1979        Asist Chairman Mathema cs Dept., Middle East Tech. Univ., Turkey.
1971-1977        Assistant Prof. Mathema cs Dept., Middle East Tech. Univ., Turkey.


PROFESSIONAL REGISTRATION:

Professional Engineer (PE): GA.USA. 15254


HONORS:

1973,   NATO, Science Fellowship, September 1973.
1976,   Best Teacher Award, Middle East Technical Univ., Mathema cs Department, May 1976.
1976,   NATO, Science Fellowship, September 1976.
1980,   Who is Who in Science, Engineering and Educa on series since 1980.


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1984, Award of Apprecia on, in acknowledgment of contribu ons to the organiza on of the ASCE
      Interna onal Conference held in Atlanta, American Society of Civil Engineers, June 1984.
1986, Outstanding Faculty Member, Georgia Ins tute of Technology, May 1986.
1986, Sigma Xi Research Society.
1986, Best Teacher Award, Georgia Ins tute of Technology, June 1986.
1995, Award of Recogni on, for the Organiza on of the East-West Advanced Study Ins tute on
      Environmental Issues, NATO, Scien ﬁc and Environmental Aﬀairs Division, August 1995.
1996, Engineering Technical Excellence Award, Public Health Serv., USDHHS 1996 for the technical
      paper: “Es ma ng Exposure to VOCs from Municipal Water System Pipelines: Use and
      Applica on of a Computa onal Model, Archives of Environmental Health, May 1996 (with co-
      authors).
1997, Research Program Development Award, in Recogni on for Developing a Consistent and
      Comprehensive Research Program in Environmental Health, School of Civil and Environmental
      Engineering, Georgia Ins tute of Technology, May 1997.
1997, Science Publica on Award, ATSDR, US DHHS, for the technical paper: “Use of Computa onal
      models to Reconstruct and Predict Trichloroethylene Exposure,” in Toxicology and Industrial
      Health, April 1997 (with co-authors).
1997, Award of Apprecia on and Recogni on, in acknowledgment of contribu ons to the
      organiza on of the Interna onal Conference on Geology and Environment (GeoEnv’97),
      September 1997.
1998, Engineering Literary Excellence Award, Public Health Serv., USDHHS for the technical paper:
      “Exposure Assessment Using Analy cal and Numerical Models: A Case Study,” in ASCE Prac ce
      Periodical of Hazardous, Toxic, and Radioac ve waste Management, April 1998 (with co-
      authors).
1998, Honorary Professor of Environmental Sciences, Huazong University of Science and Technology,
      Wuhan, Peoples Republic of China.
2000, Cuming Medal Award 2000, The Society of American Military Engineers award to Dover
      Township Water Distribu on System Modeling Research Team.
2000, Best Prac ce Oriented Paper Award, ASCE Environmental & Water Resources Ins tute Planning
      and Management Council, for the technical paper “Using Water-Distribu on System Modeling to
      Assist Epidemiologic Inves ga ons,” ASCE Journal of Water Res. Plan. and Man., Vol. 126, No. 4,
      2000.
2003, Excellence in Environmental Engineering Award in Research Category, American Academy of
      Environmental Engineers (AAEE). Research Topic: “Enhancing Environmental Engineering Science
      to Beneﬁt Public Health: Integra ng Hydraulic Network Modeling, Spa al Analysis, and Gene c
      Algorithms with Epidemiologic Studies,” Awarded to M. M. Aral for the Leadership of the ATSDR
      – MESL/GT Research Group.
2005, Engineering Technical Excellence Award, Public Health Service, USDHHS for the technical paper:
      “ACTS - A Mul media Environmental Fate and Transport Analysis System.” in ASCE Prac ce
      Periodical of Hazardous, Toxic, and Radioac ve Waste Management, published in 2004 (with co-
      authors).
2006, Excellence in Applied Environmental Health Research, Na onal Center for Environmental
      Health (NCEH), Centers for Disease Control and Preven on (CDC), for our work in assis ng
      NCEH/CDC in an epidemiological study of childhood leukemia and central nervous system
      cancers that occurred in the period 1979 through 1996 in Dover Township, New Jersey and Camp
      Lejeune (Air Force Army Base) at North Carolina.




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Expert Report – Prof. Mustafa M. Aral              10/23/2024                                            Page | 84
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2010, Best Research Paper Award, ASCE Water Resources Management Council, for the technical
      paper “Saltwater Intrusion Hydrodynamics in a Tidal Beach,” ASCE Journal of Hydrologic
      Engineering, Vol. 13, No. 9: pp. 863-872126 (with co-authors).
2010, US Public Health Service Engineering Best Research Paper Award, CDC, DHHS. “Reconstruc ng
      Historical Exposures to Vola le Organic Compound-Contaminated Drinking Water at a U.S.
      Military Ba
2010, ASCE Outstanding Service Award, ASCE EWRI, for Groundwater Hydrology Commi ee Chair
      ac vi es under EWRI Groundwater Council.
2010, Life Member, ASCE EWRI.
2010. Fellow ASCE, ASCE, EWRI.
2011, James R. Croes Medal, ASCE EWRI, for the paper: “Op mal Design of Sensor Placement in Water
      Distribu on Systems,” ASCE Journal of Water Resources Planning and Management, Vol. 136,
      No. 1, pp.5-18, 2010.
2011, Founders Award, American Ins tute of Hydrology for dedicated contribu on to the profession.
2011, USPHS Engineering Literary Award, for an outstanding Engineering Management Paper en tled
      “Stochas c Analysis of Pes cide Transport in the Shallow Groundwater of Oatland Island,
      Georgia.” Published in the Interna onal Journal on Water Quality, Exp. and Health, Vol. 2, No. 1,
      pp. 47-64.
2013, Sustained Interdisciplinary Research Award, in Recogni on for Developing a Consistent,
      Comprehensive and Integrated Research Program within CEE, Georgia Ins tute of Technology.
2015, Panel Leadership and Organiza on Recogni on, 68. Turkish Geology Conference.
      “Groundwater Supplies and Drought” Panel, 68. Turkish Geology Conference, Organized by
      Turkish Maden Tetkik Arama Kurumu and Turkish Geology Engineers, 6 April 2015, Ankara,
      Turkey.
2015, Invited Speaker in the opening session of the 68. Turkish Geology Conference. “Evolu on of
      Environmental and Geological Engineering Systems Analysis in Modern Day,” 68. Turkish Geology
      Conference, Organized by Turkish Maden Tetkik Arama Kurumu and Turkish Geology Engineers, 6
      April 2015, Ankara, Turkey.
2015, Grand Prize in Environmental Engineering Award in Research Category by Am. Acad. of Env.
      Engineers (AAEE). Research Topic: “Using Environmental Engineering Tools, Scien ﬁc Analyses,
      and Epidemiological Studies to Quan fy Human Exposure to Contaminated Drinking Water and
      to Beneﬁt Public Health,” Awarded to M. M. Aral for the Leadership of the ATSDR – MESL/GT
      Research Group.
2018, Best Teacher Award, Center for Teaching and Learning, Ga. Ins tute of Tech., January 09, 2018.
2018, Invited Speaker, HIDRODER. “Climate Change and its Eﬀects on Water Quality and Quan ty”
      Organized by HIDRODER-2018 Na onal Hydrology and Water Resources Symposium, 27-29
      September 2018, Ankara, Turkey.
2022, Invited Speaker, IWA DIPCON, Istanbul, Turkey. “The Ins tute of Environmental Sciences co-
      organized the Interna onal Water Associa on (IWA) 4th Regional Diﬀusion Pollu on and
      Eutrophica on conference held in Istanbul 24-28 October, 2022” Istanbul, Turkey.


BOOKS:

Aral, M. M., Ground Water Modeling in Mul layer Aquifers - Steady Flow, Lewis Publ. Inc., 1990.
Aral, M. M., Ground Water Modeling in Mul layer Aquifers - Unsteady Flow, Lewis Publ. Inc., 1990.
Aral, M. M. (2011) “Environmental Modeling and Health Risk Analysis,” Springer Publishers, Berlin,
        487p., ISBN 978-90-481-8607-5.

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EDITED BOOKS:

Aral, M. M. (Editor), Recent Advances in Ground-Water Pollu on Control and Remedia on, NATO Adv.
        Study Inst., Kluwer Acad. Publ., 609p, January 1996.
Aral, M. M., Brebbia, C, Maslia M and Sinks, T. (Editors) (2005) “Environmental Exposure and Health,”
        Proceedings of the 1st Interna onal Conference on Environmental Exposure and Health, Atlanta
        Ga. USA, WIT Press, 502p.
Aral, M. M. and Taylor S. (Editors) (2011) “Groundwater Quality and Quan ty Management,” ASCE,
        573p., ISBN-978-0-7844-1176-6.

CHAPTERS IN BOOKS:

Aral, M. M., C. Shea and F. Al-Khayyal, “Op miza on Methods in Ground Water Management,” Review
        Paper in Volume 8, “Applica ons of Management Science: Network Op miza on Applica ons,”
        JAI Press Inc., pp. 213-246, 1995.
Aral, M. M. C. Shea and F. Al-Khayyal, “Op mal Design of Pump-and Treat Well Networks,” NATO Adv.
        Study Inst. on Ground Water Pollu on Control and Remedia on, Kluwer Acad. Publ., pp. 307-
        333, January 1996.
Aral, M. M., and Guan, J, “Gene c Algorithms in Search of Groundwater Pollu on Sources,” NATO Adv.
        Study Inst. on Ground Water Pollu on Control and Remedia on, Kluwer Acad. Publ., pp. 347-
        369, January 1996.
Aral, M. M. and Maslia, M. L., Applica on of Monte Carlo Simula ons in Analy cal Contaminant
        Transport Modeling, Chapter 13, pp. 305-315, in ASCE book on “Groundwater Quality Modeling
        and Management Under Uncertainty,” Ed. by Srikan Tamishra, 2003.
Aral, M. M., and Gunduz, O., Scale Eﬀects in Large Scale Watershed Modeling. Chapter 11 in “ADVANCES
        IN HYDROLOGY” Ed. by V. Singh and R. N. Yadava, 2003.
Aral, M. M. and Gunduz, O. Large-Scale Hybrid Watershed Modeling, Sec on 2 in “WATERSHED
        MODELS,” CRC Press, 2005, Ed. Dr. Vijay Singh, 75-95pp.
Aral, M. M. (2010) “Saltwater Intrusion Management in Urban Area Aquifers - A Case Study for
        Savannah, Georgia,” The Eﬀects of Urbaniza on on Groundwater: An Engineering Case-based
        Approach for Sustainable Development, Editor, Ni-Bin Chang, ASCE/EWRI publica on, pp. 51-89.
Jang, W. and Aral, M. M. (2011) “In-Situ Air Sparging and Thermal Ven ng in Ground Water
        Remedia on,” Chapter 11 in Groundwater Quality and Quan ty Management, Editors Aral, M.
        M. and Taylor, S., ASCE, pp. 530-575, ISBN-978-0-7844-1176-6.
Aral, M. M. (2011) “Groundwater Management,” Chapter 14 in Groundwater Quality and Quan ty
        Management, Editors Aral, M. M. and Taylor, S., ASCE, pp. 560-568, ISBN-978-0-7844-1176-6.
Gunduz, O. and Aral, M. M. (2015) “Integrated Watershed Modeling,” Handbook of Applied Hydrology,
        Edited by Vijay Singh. Chapter 56.


PATENTS:

Aral, M. M. Atlanta, USA and Demirel. E. Eskisehir, Turkey.
TITLE: “Baﬄe Design to Improve Mixing and Reduce the Flow Through Energy Requirements in Chlorine
and Ozone Contact Tanks,” USA Patent and Trademark Oﬃce, USA Patent # 62/498,260, USA and
EUROPEAN Union and Turkey.


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JOURNAL ARTICLES (Google Scholar h-index 33):

  1.     Mar n, C.S. and Aral, M.M. (1971). “Seepage Force on Interfacial Bed Par cles.” Journal of the
         Hydraulics Division-ASCE 97(HY7): 1081-1101.
  2.     Aral, M.M. and Isilgan, N. (1973). “Seepage Through Earth Dams: A Finite Element Solu on.”
         Journal of Pure and Applied Sciences 6(2): 185-194.
  3.     Aral, M.M. and Gulcat, U. (1977). “Finite-Element Laplace Transform Solu on Technique for
         Wave-Equa on.” Interna onal Journal for Numerical Methods in Engineering 11(11): 1719-1732.
  4.     Aral, M.M. (1980). “Steady Jet Impingement on Straight and Curved Surfaces.” Journal of Pure
         and Applied Sciences 13(3): 349-368.
  5.     Aral, M.M. (1981). “A One-Dimensional Mass-Transport Model for Natural Rivers.” Journal of
         Environmental Systems 11(2): 139-154.
  6.     Aral, M.M. and Sturm, T.W. (1982). “Groundwater Pumping from Shallow Axisymmetric Ponds.”
         Journal of the Hydraulics Division-ASCE 108(12): 1469-1485.
  7.     Maslia, M.L. and Aral, M.M. (1982). “Evalua on of a Chimney Drain Design in an Earth-ﬁll Dam.”
         Ground Water 20(1): 22-31.
  8.     Ozsoy, E., Aral M.M., et al. (1982). “Coastal Ampliﬁca on of Tsunami Waves in the Eastern
         Mediterranean.” Journal of Physical Oceanography 12: 117-126.
  9.     Aral, M. M. and Maslia, M.L. (1983). “Unsteady Seepage Analysis of Wallace Dam.” Journal of
         Hydraulic Engineering-ASCE 109(6): 809-826.
  10.    Aral, M.M. and Maslia, M.L. (1984). “Unsteady Seepage Analysis of Wallace Dam - Closure.”
         Journal of Hydraulic Engineering-ASCE 110(5): 671-673.
  11.    Aral, M.M. (1985). “Aquifer Parameter Predic on in Leaky Aquifers.” Journal of Hydrology 80(1-
         2): 19-44.
  12.    Aral, M.M. (1986). “A Regional Mul layered Aquifer Model for Microcomputers.” Interna onal
         Journal for Microcomputers in Civil Engineering 1(1): 69-78.
  13.    Aral, M.M. (1987). “An Unsteady Regional Mul layered Aquifer Model for Microcomputers.”
         Interna onal Journal for Microcomputers in Civil Engineering 2(3): 197-206.
  14.    Aral, M.M. and Tang, Y. (1988). “A Boundary Only Procedure for Time-Dependent Diﬀusion-
         Equa ons.” Applied Mathema cal Modeling 12(6): 610-618.
  15.    Aral, M.M. and Tang, Y. (1988). “A New Boundary Element Formula on for Time-Dependent
         Conﬁned and Unconﬁned Aquifer Problems.” Water Resources Research 24(6): 831-842.
  16.    Aral, M.M. (1989). “Semi analy c Boundary Element Solu on of Groundwater Seepage
         Problems.” Water Resources Research 25(7): 1495-1503.
  17.    Aral, M.M. (1989). “Waste Stabiliza on in Mul layer Aquifers by Op mal Hydraulic Control.”
         Ground Water 27(4): 517-523.
  18.    Aral, M.M. and Tang, Y. (1989). “A Boundary-Only Procedure for Transient Transport Problems
         with or without 1st-Order Chemical-Reac on.” Applied Mathema cal Modeling 13(3): 130-137.
  19.    Zakikhani, M. and Aral, M.M. (1989). “Direct and Boundary-Only Solu ons of Mul layer Aquifer
         Systems. A. Steady-State Solu on.” Journal of Hydrology 111(1-4): 49-67.
  20.    Zakikhani, M. and Aral, M.M. (1989). “Direct and Boundary-Only Solu ons of Mul layer Aquifer
         Systems .B. Unsteady-State Solu on.” Journal of Hydrology 111(1-4): 69-87.
  21.    Aral, M.M. and Tang, Y. (1992). “Flow against Dispersion in 2-Dimensional Regions.” Journal of
         Hydrology 140(1-4): 261-277.
  22.    Maslia, M.L., Aral, M.M., et al. (1992). “Evalua on of Groundwater-Flow Regime at a Landﬁll with
         Liner System.” Journal of Environmental Science and Health Part a-Environmental Science and
         Engineering & Toxic and Hazardous Substance Control A27(7): 1793-1816.


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  23.   Ratzlaﬀ, S.A. and Aral, M.M. (1992). “Op mal-Design of Groundwater Capture Systems Using
        Segmental Velocity-Direc on Constraints.” Ground Water 30(4): 607-612.
  24.   Tang, Y. and Aral, M.M., (1992). “Contaminant Transport in Layered Porous-Media .1. General-
        Solu on.” Water Resources Research 28(5): 1389-1397.
  25.   Tang, Y. and Aral, M.M. (1992). “Contaminant Transport in Layered Porous-Media .2.
        Applica ons.” Water Resources Research 28(5): 1399-1406.
  26.   Aral, M. M., Maslia, M.L. et al. (1993). “Groundwater Remedia on Using Smart Pump and Treat -
        Discussion.” Ground Water 31(4): 680-681.
  27.   Maslia, M.L., Aral, M.M., et al. (1994). “Exposure Assessment of Popula ons Using
        Environmental Modeling, Demographic-Analysis, and GIS.” Water Resources Bulle n 30(6): 1025-
        1041.
  28.   Aral, M.M., Maslia, M.L. et al. (1996). “Es ma ng exposure to vola le organic compounds from
        municipal water-supply systems: Use of a be er computa onal model.” Archives of
        Environmental Health 51(4): 300-309.
  29.   Aral, M.M. and Liao, B. (1996). “Analy cal Solu ons for Two-Dimensional Transport Equa on
        with Time Dependent Dispersion Coeﬃcients.” Journal of Hydrologic Engineering 1(1): 20-32.
  30.   Maslia, M.L., Aral, M.M., et al. (1996). “Use of computa onal models to reconstruct and predict
        trichloroethylene exposure.” Toxicology and Industrial Health 12(2):139-152.
  31.   Maslia, M.L., Aral, M.M., et al. (1997). “Exposure assessment Using Analy cal and Numerical
        Models: A Case Study.” Prac ce Periodical of Hazardous, Toxic, and Radioac ve Waste
        Management-ASCE 1(2): 50-60.
  32.   Aral, M.M., Zhang, Y. et al. (1998). “Applica on of relaxa on scheme to wave-propaga on
        simula on in open-channel networks.” Journal of Hydraulic Engineering-ASCE 124(11): 1125-
        1133.
  33.   Guan, J. and Aral, M.M. (1999). “Op mal remedia on with well loca ons and pumping rates
        selected as con nuous decision variables.” Journal of Hydrology 221(1-2): 20-42.
  34.   Guan, J. and Aral, M.M. (1999). “Progressive gene c algorithm for solu on of op miza on
        problems with nonlinear equality and inequality constraints.” Applied Mathema cal Modeling
        23(4): 329-343.
  35.   Liao, B. and Aral, M.M. (1999). “Interpreta on of LNAPL Thickness Measurements under
        Fluctua ng Groundwater Table Condi ons.” Journal of Hydrologic Engineering 4(2): 125-134.
  36.   Aral, M.M. and Liao, B.S. (2000). “LNAPL thickness interpreta on based on bail-down tests.”
        Ground Water 38(5): 696-701.
  37.   Aral, M.M., Zhang, Y. et al. (2000). “Applica on of relaxa on scheme to wave-propaga on
        simula on in open-channel network - Closure.” Journal of Hydraulic Engineering-ASCE 126(1):
        91-91.
  38.   Liao, B.S. and Aral, M.M. (2000). “Semi-analy cal solu on of two-dimensional sharp interface
        LNAPL transport models.” Journal of Contaminant Hydrology 44(3-4): 203-221.
  39.   Maslia, M.L., Sautner, J.B., Aral, M.M., et al. (2000). “Using water-distribu on system modeling
        to assist epidemiologic inves ga ons.” Journal of Water Resources Planning and Management-
        ASCE 126(4): 180-198.
  40.   Aral, M.M., Guan, J. et al. (2001). “Iden ﬁca on of contaminant source loca on and release
        history in aquifers.” Journal of Hydrologic Engineering 6(3): 225-234.
  41.   Aral, M.M., Guan, J. et al. (2002). “Closure to “Iden ﬁca on of contaminant source loca on and
        release history in aquifers” by Mustafa M. Aral, Jiabao Guan, and Morris L. Maslia.” Journal of
        Hydrologic Engineering 7(5): 400-401.
  42.   Aral, M.M., Guan, J. et al. (2002). “Op mal reconstruc on of hydraulic management of a water
        distribu on system.” Epidemiology 13(4): S86-S86.

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  43.   Aral, M.M. and Liao, B. (2002). “Eﬀect of groundwater table ﬂuctua ons on LNAPL thickness in
        monitoring wells.” Environmental Geology 42(2-3): 151-161.
  44.   Maslia, M.L., Sautner, J.B. and Aral, M.M. (2002). “Using water-distribu on system modeling to
        assist epidemiologic inves ga ons.” Epidemiology 13(4): S86-S86.
  45.   Jang, W. and Aral, M.M. (2003). “Concentra on evolu on of gas species within a collapsing
        bubble in a liquid medium.” Env. Fluid Mechanics 3(3): 173-193.
  46.   Guan, J. and Aral, M.M. (2004). “Op mal design of groundwater remedia on systems using fuzzy
        set theory.” Water Resources Research 40(1): 1-20.
  47.   Maslia, M.L. and Aral, M.M. (2004). “ACTS - A Mul media Environmental Fate and Transport
        Analysis System.” ASCE Prac ce Periodical of Hazardous, Toxic, and Radioac ve waste
        Management-ASCE 8(3): 181-198.
  48.   Park, C.H. and Aral, M.M. (2004).”Mul -objec ve op miza on of pumping rates and well
        placement in coastal aquifers.” Journal of Hydrology 290(1-2): 80-99.
  49.   Zhang, Y. and Aral, M.M. (2004). “Solute Transport in Open-Channel Networks in Unsteady Flow
        Regime.” Environmental Fluid Mechanics 4(3): 225-247.
  50.   Kentel, E. and Aral, M.M. (2004). “Probabilis c-Fuzzy Health Risk Modeling,” Interna onal
        Journal for Stochas c Environmental Research & Risk Assessment (SERRA), 18: 324-338.
  51.   Aral, M.M., Guan, J., Liao, B., Maslia, M.L., Sautner, J., Williams, R. and Reyes, J.J. 2004. “Op mal
        Reconstruc on of Historical Water Supply to a Water-Distribu on System: A. Methodology”,
        Journal of Water and Health, 2:123-136.
  52.   Aral, M.M., Guan, J., Liao, B., Maslia, M.L., Sautner, J., Williams, R. and Reyes, J.J. 2004. “Op mal
        Reconstruc on of Historical Water Supply to a Water-Distribu on System: B Applica ons”,
        Journal of Water and Health, 2:137-156.
  53.   Gunduz, O. and Aral, M.M. (2005). “River Networks and Groundwater Flow: Simultaneous
        Solu on of a Coupled System,” J. of Hydrology 301(1-4): 216-234.
  54.   Kentel, E. and Aral, M.M. (2005). “2D Monte Carlo versus 2D Fuzzy Monte Carlo Health Risk
        Assessment,” Int. Journal for Stochas c Environmental Research & Risk Assessment (SERRA), 19:
        86-96.
  55.   Maslia, M.L, Reyes, JJ, Gillig, RE, Sautner, JB, Fagliano, JA and Aral, M.M. (2005) “Public Health
        Partnerships Addressing Childhood Cancer Inves ga ons: Case Study of Toms River, Dover
        Township, New Jersey, USA,” Int. Journal of Hygiene and Env. Health, 208: pp. 45-54.
  56.   Guan, J. and Aral, M.M. (2005) “Remedia on System Design with Mul ple Uncertain Parameters
        using Fuzzy Sets and Gene c Algorithm,” ASCE Journal of Hydrologic Engineering, 10(5): pp. 386-
        394.
  57.   Gunduz, O. and Aral, M.M. (2005) “A Dirac-Delta Func on Nota on for Source/Sink Terms in
        Groundwater Flow,” ASCE Journal of Hydrologic Engineering, 10(5): pp. 420-427.
  58.   Guan, J., Aral, M.M., Maslia, M. L. and Grayman, W. M. (2006) “Iden ﬁca on of Contaminant
        Sources in Water-Distribu on Systems Using Simula on-Op miza on Method: A Case Study,”
        ASCE, Journal of Water Resources Planning and Management, July 132(4): pp. 252-262.
  59.   Kentel, E. and Aral, M.M. (2007) “Fuzzy Mul -Objec ve Decision Making Approach to Evaluate
        Pumping Demands in Coastal Aquifers: A Case Study for Savannah Georgia”, ASCE Journal of
        Hydrologic Engineering, March 12(2): pp. 206-217.
  60.   Kentel, E. and Aral, M.M. (2007) “Risk Tolerance Measure for Fuzzy Health Risk Assessment,” Int.
        Journal for Stochas c Env. Research & Risk Assessment (SERRA), 21: pp. 405-417.
  61.   Park, C-H and Aral, M.M. (2007) “Sensi vity of the Solu on of Elders Problem to Density, Velocity
        and other Numerical Perturba ons,” Journal of Contaminant Hyd., 92: pp.33-49.




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  62.   Jang, W and Aral, M.M. (2007) “Density Driven Transport of Vola le Organic Compounds and Its
        impact on Contaminated Groundwater Plume Evolu on,” Journal of Transport in Porous Media,
        67(3): pp. 353-374.
  63.   Ayvaz, T., Karahan, H. and Aral, M.M. (2007). “Aquifer Parameter and Zone Structure Es ma on
        Using Kernel-Based Fuzzy C-Means Clustering and Gene c Algorithm,” Journal of Hydrology, 343
        (3-4): pp. 240-253.
  64.   Guan, J., Kentel, E. and Aral, M.M. (2008) “Gene c Algorithm for Constrained Op miza on
        Models and Its Applica on,” ASCE Journal of Water Resources Planning and Management,
        134(1): pp. 64-72.
  65.   Jang, W. and Aral, M.M. (2008) “Eﬀect of Biotransforma on on Mul -species Plume Evolu on
        and Natural A enua on” Interna onal Journal on Transport in Porous Media, 72(2): pp. 207-
        226.
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45. Guan, J., Aral, MM and Maslia ML, “Iden ﬁca on of contaminant sources in water distribu on
    system using op miza on simula on method,” Proceedings of the 1st Interna onal Conference on
    Environmental Exposure and Health, Atlanta, Ga, USA, October 2005.
46. Park, S-K, Piyachaturawat P, Aral, MM and Huang, C-H, “Poten al Enhanced N-Nitrosodimethylamine
    (NDMA) Forma on under Water Treatment Condi ons,” Proceedings of the 1st Interna onal
    Conference on Environmental Exposure and Health, Atlanta, Ga., USA, October 2005
47. Maslia, M. and Aral, MM, “Reconstruc on of historical contaminant events: Use of computa onal
    tools to assist environmental engineers,” Proceedings of the 1st Interna onal Conference on
    Environmental Exposure and Health, Atlanta, Ga., USA, pp. 175-187, October 2005
48. Aral, MM. “Perspec ves on environmental health management paradigms,” Proceedings of the 1st
    Interna onal Conference on Env. Exposure and Health, Atlanta, Ga., pp. 449-457, USA, October 2005
49. Kentel, E. and Aral, MM. (2005) “Eﬀect of Fuzzy Aggrega on Operators in Selec ng Best
    Groundwater Management Strategies” EWRA 2005, 6 th Int. Conference, Menton, France. September
    7-10, 2005.
50. Kentel, E. and Aral, MM. “Spa al Distribu on of Groundwater Availability for Various Pumping
    Scenarios in Savannah Region,” ASCE World Environment and Water Resources Conference (EWRI),
    Nebraska, Omaha, 2006.
51. Kilic, SG and Aral, MM. “Preliminary Analysis of Lake Pontchartrain Pollu on a er Hurricane Katrina,”
    ASCE World Environment and Water Resources Conference (EWRI), Nebraska, Omaha, 2006.
52. Kijin, N. and Aral, MM. “Modeling Hydrodynamics and Storm Eﬀects in the Altamaha River Sound,”
    ASCE World Environment and Water Resources Conference (EWRI), Nebraska, Omaha, 2006.
53. Wonyong, J. and Aral, MM. “Modeling of Mul phase Flow and Contaminant Removal under In-situ
    Air Sparging,” Air and Waste Management Associa on Annual Conference (AWMA), 2006.
54. Nam K. and Aral MM. Modeling Hydrodynamics and Storm Eﬀect in the Altamaha River Sound. In:
    Graham R, Editor. Examining the Conﬂuence of Environmental and Water Concerns: Proceedings of
    the 2006 World Environmental and Water Resources Congress; 2006 May 21-25; Omaha, US [CD-
    ROM]. Reston: ASCE; 2006
55. Jang, W. and Aral MM, “Modeling of Mul phase Flow and Contaminant Removal under                In-situ
    Air Sparging,” Air & Waste Management Associa on's 99th Annual Conference & Exhibi on, New
    Orleans, LA, June 20-23, 2006.
56. Guan, J., Aral, MM, Maslia, ML. and Grayman, W. (2006) “Op miza on Model and Algorithms for
    Design of Water Sensor Placement in Water Distribu on Systems” ASCE Water Distribu on System
    Analysis Symposium (Ba le of the Water Sensor Networks), Cincinna , OH, August 27-30, [CD-ROM].
57. Suarez-Soto, R., Maslia, M., Wang, J., Aral, MM. and Faye, R. (2007) “Uncertainty Analysis for
    Reconstruc ng Historical Tetrachloroethylene (PCE) Exposure in an Epidemiologic Study,” ASCE,
    World Environmental and Water Resources Congress, Tampa, Florida, [CD-ROM].
58. Nam, K and Aral MM. (2007). “Op mal Placement of Monitoring Sensors in Lakes,” University of
    Georgia Water Resources Conference, Athens, Georgia, [CD-ROM].
59. Rogers, SW, Guan, J., Maslia, ML and Aral, MM, “Nodal Importance Concept for Computa onal
    Eﬃciency in Op mal Sensor Placement in Water Distribu on Systems,” Proceedings of the World
    Water and Environmental Resources Congress, ASCE, Tampa, FL, May 15-19, 2007.
60. Nam, K. and Aral, MM, “Op mal Sensor Placement for Wind-Driven Circula on Environment in a
    Lake,”Proceedings of the World Water and Env. Res. Cong., ASCE, Tampa, FL, May 15-19, 2007.
61. Wang, J and Aral, MM, “The Eﬀect of Historical Supply Well Schedule Varia on on PCE Arrival Time,”
    Proceedings of the World Water and Environmental Res. Cong., ASCE, Tampa, FL, May 15-19, 2007.


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62. Park, S-H., Wei S., Mizaikoﬀ, B., Taylor, AE, Aral, MM and Huang C-H., “Mechanis c Insight for the N-
    nitrosodimethylamine (NDMA) Forma on Poten al of Amine-Based Water Treatment Polymers,”
    Proceedings of the 233rd American Chemical Soc. Na onal Mee ng, Chicago, IL, March 25-29, 2007.
63. Kentel, E. and Aral, MM. (2007). “Groundwater Flow Simula on with Imprecise Parameters” Na onal
    Hydrology Congress, Middle East Technical University, September 5-7, [CD-ROM].
64. Ayvaz, T., Karahan, H. and Aral, MM. (2007). “Determina on of Aquifer Parameters and Parameter
    Structures with Gene c Algorithm,” Na onal Hydrology Congress, Middle East Technical University,
    September 5-7, [CD-ROM].
65. Suarez-Soto, R., Wang, J., Faye, RE, Maslia, LM, Aral, MM and Bove, F. J., “Historical Reconstruc on of
    PCE-Contaminated Drinking Water Using Probabilis c Analysis at U.S. Marine Corps Base Camp
    Lejeune, North Carolina,” Proceedings of the World Water and Environmental Resources Congress,
    ASCE/EWRI, Honolulu, Hawaii, May 12-16, 2008.
66. Telci, IT, Nam, K., Guan, J. and Aral, MM, “Real Time Op mal Monitoring Network Design in River
    Networks,” Proceedings of the World Water and Environmental Resources Congress, ASCE/EWRI,
    Honolulu, Hawaii, May 12-16, 2008.
67. Guan, J. and Aral, MM, “Iden ﬁca on of Contaminant Sources in Aquifers under Uncertainty,”
    Proceedings of the World Water and Environmental Resources Congress, ASCE/EWRI, Honolulu,
    Hawaii, May 12-16, 2008.
68. Aral, MM, Guan, J. and Maslia, ML, “A Mul -objec ve Op miza on Algorithm for the Solu on of
    Water Sensor Placement Problem in Water Distribu on Systems,” Proceedings of the World Water
    and Environmental Resources Congress, ASCE/EWRI, Honolulu, Hawaii, May 12-16, 2008.
69. Jang, W. and Aral, MM, “The Eﬀect of Oxygen Transport on Biotransforma on of Trichloroethylene
    in the Subsurface,” Proceedings of the World Water and Environmental Resources Congress,
    ASCE/EWRI, Honolulu, Hawaii, May 12-16, 2008.
70. Maslia, ML, RE Faye, MM Aral, FJ Bove, and W. Jang. (2008) “Historical reconstruc on of single-
    specie and mul species PCE-contaminated drinking water, U.S. Marine Corps Base Camp Lejeune,
    North Carolina,” World Environmental & Water Resources Congress 2008, American Society of Civil
    Engineers, Honolulu, HI, May 13-16.
71. Suarez-Soto, RJ, Anderson, BA, Maslia, ML. and Aral, MM, “A Comparison Between Biochlor and the
    Analy cal Contaminant Transport System (ACTS) for a Case Study in Coastal Georgia,” Proceedings of
    the World Water and Environmental Res. Cong., ASCE/EWRI, Honolulu, Hawaii, May 12-16, 2008.
72. Jang, W. and MM. Aral. (2009) “Modeling of chlorinated VOCs transport under dual bioreac ons,”
    World Environmental & Water Resources Congress 2009, American Society of Civil Engineers,
    Kansas City, Missouri, May 17-21.
73. Guan, J., Maslia, ML and MM. Aral. (2009) “A Novel Methodology to Reconstruct Groundwater
    Contamina on History with Limited Field Data,” World Environmental & Water Resources Congress
    2009, American Society of Civil Engineers, Kansas City, Missouri, May 17-21.
74. Aral, MM, Guan, J., and Maslia, ML. (2009). “Reconstruc ng Groundwater Contamina on History: A
    Control Theory Based Approach,” Water and Public health, American Public Health Associa on
    Conference, Philadelphia, PA, November 7-11.
75. Jang, W. Maslia, ML and Aral, MM. (2010). “The Eﬀect of Atmos. Chemical Release on the Reduc on
    in Groundwater Pollu on by CVOCs,” ASCE, EWRI Water Res. Cong., Rhode Island. May 25-30.
76. Guan, J. Jang, W., Maslia, ML and Aral, MM. (2010). “Historical Reconstruc on of Groundwater
    Contamina on at Contaminated Sites and Uncertainty Analysis,” ASCE, EWRI Water Resources
    Congress, Rhode Island. May 25-30.
77. Aral, MM. (2010) “Resilience Analysis of Climate Change Eﬀects on Water Quality,” NATO Advanced
    Research Workshop on Climate Change and Health, Izmir, Turkey.


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    Networks for River Systems and Applica on to a Hypothe cal case, Proceedings of the 2010 Winter
    Simula on Conference, Aus n, TX. (Invited).
79. Guan, J., Maslia, ML and Aral, MM. (2011). “Reconstruc on of Groundwater Contamina on History
    in Hadnot Point Area of Camp Lejeune, North Carolina Using Linear Stochas c Model,” ASCE, EWRI
    Water Resources Congress, Palm Springs California, May 25-30.
80. Maslia, ML, Aral, MM. and Faye R. (2011). “Impact of Historical Contaminant Source Uncertainty
    Analysis and Variability on Human Health Risk,” ASCE, EWRI Water Resources Congress, Palm Springs
    California, May 25-30.
81. Aral, MM, Guan, J. and Chang, B. (2011). “Climate Change and Sea Level Rise,” ASCE, EWRI Water
    Resources Congress, Palm Springs California, May 55-68.
82. Biao, C, Guan, J. and Aral, MM, (2012). “Semi-Empirical Modeling of Spa al Varia ons in Sea Level
    Rise,” ASCE, EWRI Water Resources Congress, Albequerque, NM, May.
83. Guan, J., Biao, C. and Aral, MM, (2012). “Explora on for Impact of Radia ve Forcing on Global
    Warming and Sea-Level Rise,” ASCE, EWRI Water Resources Congress, Albequerque, NM.
84. Telci, IT and Aral MM (2012). “Renewable Energy Produc on from Water Distribu on Systems.”
    Hydro Research Founda on Conference.
85. Dede, OT, Telci, IT and Aral MM (2013). “Water Quality Index Assessment of Surface Waters near
    Ankara, Turkey,” ASCE, EWRI, IPWE 2013 Congress, Izmir, Turkey, January 2013.
86. Chang, B, Guan, J and Aral MM (2013). “Spa al Analysis of Climate Change and Sea Level Rise,” ASCE,
    EWRI, IPWE 2013 Congress, Izmir, Turkey, January 2013.
87. Aral, MM. (2014). Applica on of Water-Modeling Tools to Reconstruct Historical Drinking Water
    Concentra ons in Epidemiological Studies, Exposure Science Integra on to Protect Ecological
    Systems, Human Well-Being, and Occupa onal Health 24th Annual Conference of The Interna onal
    Society of Exposure Science, Cincinna , Ohio.
88. Morgan, W. and Aral, MM. (2015). “Modeling Hydraulic Fracturing in Pre-Fractured Rock Using the
    Discon nuous Deforma on Analysis.” 49th U.S. Rock Mechanics/Geomechanics Symposium, June 28
    – July 1, 2015, San Francisco, USA.
89. Aral, M. M. (2015) “Concepts and development of modeling principles in environmental analysis,”
    68th Na onal Geological Eng. Conf., 6 – 10 April 2015, MTA Kultur Sitesi, Ankara, Turkey (Keynote
    speech.)
90. Aral, M. M. (2015) “Integrated modeling of coupled watershed processes,” 68 th Na onal Geological
    Engineers Conference, 6 – 10 April 2015, MTA Kultur Sitesi, Ankara, Turkey (invited).
91. Kentel, E., Gunduz, O. and Aral, M. M. (2015). “Cri cal Infrastructure Management: Risk, Resilience,
    Extent Concepts,” The Interna onal Emergency Management Society 2015 Annual Conference, 30th
    September - 2nd October 2015, Rome, Italy.
92. Aral, M. M. (2016) “Transi on from simple, complicated to complex systems,” YTSAM, Yeni Türkiye
    Bilim ve Araş rma Merkezi Interna onal Conference, Ankara, Turkey, September 14, 2016.
93. Kentel, E., Gunduz, O., Bayar, M. and Aral, M. M. (2017). “Cri cal Infrastructure Management: Risk,
    Resilience, Extent Concepts,” 12th Conference on Sustainable Development of Energy, Water and
    Environment Systems. Dubrovnic, Croa a.
94. Kizilaslan, M. A., Demirel, E., Aral, M. M. (2020). “Pathogen Inac va on and By-Product Forma on in
    a Full-Scale Contact Tank,” 2020 11th interna onal Conference on Environmental Science and
    Development (ICESD 2020), Barcelona, Spain, February 10-12, 2020.
95. Aral, M.M. and Demirel, E. (2020). “İçme Sularının Arı lmasında Kullanılan Temas Tanklarının
    Verimlerinin Ar rılması için Tasarım Önerileri ve Elde Edilen Verimler,” HİDRO 2020: Hidrojeoloji and
    Water Resources Sempozium, June 18-20, Bartın, Turkey.


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96. Demirel, E. and Aral, M.M. (2020). “Batmış Kapağın Mansabındaki Vortekslerin İncelenmesi ve
    Sönümlenmesi,” HİDRO 2020: Hidrojeoloji and Water Resources Sempozium, June 18-20, Bartın,
    Turkey.
97. Kizilaslan, M.A., Demirel, E., Aral, M.M., (2020). “Pathogen inac va on and by-product forma on in
    a full-scale contact tank,” 11th Interna onal Conference on Environmental Science and Development
    (ICESD 2020), E3S Conf., 167 (2020) 01011, h ps://doi.org/10.1051/e3sconf/202016701011.
98. Aral M. M., (2022). “Op mal Water Treatment Tank Design and Analysis” IWA DIPCON, Istanbul,
    Turkey. The Interna onal Water Associa on (IWA) 4th Regional Diﬀusion Pollu on and
    Eutrophica on conference held in Istanbul 24-28 October, 2022” Istanbul, Turkey.


RESEARCH PROJECTS:

1. Principal inves gator of the project tled, Finite Element Analysis in Con nuum Mechanics: FEMAC
    Computer Program, (Funded by Middle East Technical Univ. Research funds - $18,000), 1972-73.
2. Principal inves gator of the project tled, An Analysis of Convec ve Diﬀusion Equa on and Its Finite
    Element Solu on, (Funded by Turkish Sci. and Tech. Research Inst.- $ 12,000), 1976-77.
3. Principal inves gator of the project tled, Analy cal and Numerical Study of Jet Deﬂec on from
    Curved Boundaries, (Funded by Middle East Technical Univ. Research funds - $ 19,000), 1976-77.
4. Principal inves gator of the project tled, Tsunami Study: Akkuyu Nuclear Power Plant, (Funded by
    Turkish Electric Authority, Nuclear Energy Division - $ 75,000), 1977-79.
5. Principal inves gator of the project tled, Analysis of the Development of Shallow Ground Water
    Supplies by Pumping from Ponds, (Funded by the Department of the Interior, Oﬃce of Water
    Resources Research and Technology - $ 48,000), 1979-80.
6. Principal inves gator of the project tled, Mathema cal Modeling of Aqua c Dispersion of Eﬄuents
    in Natural Rivers, (Funded by the Health and Safety Division of the Oak Ridge Na onal Laboratories,
    Oak Ridge Tennessee - $ 52,000), 1979-80.
7. Principal inves gator of the project tled, Aquifer Parameter Predic on by Numerical Modeling,
    (Funded by the Department of the Interior, Oﬃce of Water Research and Tech. - $ 56,000), 1981-82.
8. Principal inves gator of the proposal tled, An Analysis of Rimming Condensate Flow, (Funded by
    Beloit corpora on, Beloit, Wisconsin - $ 68,000), 1981-83.
9. Principal inves gator of the project tled, Parameter Iden ﬁca on in Layered Aquifer Systems,
    (Funded by the Department of the Interior, Oﬃce of Water Policy - $ 44,000), 1983-84.
10. Principal inves gator of the project tled, A Simpliﬁed Approach to Regional Mul layered Aquifer
    Analysis, (Funded by the Department of the Interior, U.S. Geological Survey - $25,000), 1986-88.
11. Principal inves gator of the project tled, Modeling Transient Ground Water Flow in Mul layered
    Aquifer Systems, (Funded by the Department of the Interior, USGS - $ 29,000), 1988-89.
12. Principal inves gator of the project tled, Mul layered Aquifer Modeling in a Landﬁll Site, (Funded
    by the Waste Management, Inc., Geosyntec, Inc. - $ 42.000), 1990-91.
13. Principal inves gator of the Research Program tled, Exposure-Dose Reconstruc on at Graton
    Massachuse s, (Funded by: U.S. DHHS - $ 44,000), 1992.
14. Director, NATO Advanced Study Ins tute, Recent Advances in Groundwater Pollu on Control and
    Remedia on, (NATO - Directorate of Environmental Programs $ 111,000), 1994.
15. Na onal Science Founda on, Water, Sustaining A Cri cal Resource, Joint Proposal with Dr. A.
    Zoporozec, University of Wisconsin, $ 30,000 1995.
16. Principal inves gator of the Research Program tled, Research Program on Exposure-Dose
    Reconstruc on, (Funded by: ATSDR/CDC- $ 2,500,000), 2000-2005.


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17. Principal inves gator of the Research Program tled, Analysis of Coastal Georgia Ecosystem Stressors
    Using GIS Integrated Remotely Sensed Imagery and Modeling: A Pilot Study for the Lower Altamaha
    River Basin, (Funded by: Sea Grant Program - $ 288,000), 2000-2003.
18. Principal inves gator of the Research Program tled, GIS Integrated Environmental Systems
    Modeling, (Funded by: CDC - GT Bioengineering Center $ 30,000), 2000-2001.
19. Principal inves gator of the Research Program tled, Research Program on Exposure-Dose
    Reconstruc on, (Funded by: ATSDR/CDC- $ 2,500,000), 2005-2010.
20. Principal inves gator of the research Program tled “Poten al n-Nitrosodimethylamine (NDMA)
    Forma on at Water and Wastewater Treatment Plants and Exposure Pathway Analysis,” (Funded by:
    SNF FLOERGER, France, program period: 2004-2006. $ 550,432).
21. Principal inves gator (co-inves gator Prof. Ching-Hua Huang) of the research Program tled
    “Poten al n-Nitrosodimethylamine (NDMA) Forma on at Water and Waste water Treatment Plants
    and Exposure Pathway Analysis,” (Funded by: SNF FLOERGER, France, program period: 2007-2009. $
    308, 821).
22. Principal inves gator of the Research Program tled, Research Program on Exposure-Dose
    Reconstruc on, (Funded by: ATSDR/CDC- $ 2,500,000), 2010-2015.
23. Principal inves gator of the Research Program tled, Chinese Drywall Emission and Exposure
    through Inhala on, (Funded by: ATSDR/CDC- $ 500,000), 2012-2014.
24. Co-Principal inves gator of the research program, “Combining Sta s cal Process Control and
    Op miza on via Simula on for Robust Sensor Network Design in the Presence of Sensor
    Measurement Error,” Funded by Na onal Science Founda on, $ 350,000), 2016 – 2018.
25. Co-Principal inves gator of the research program, “EU-Horizon 2020 Energy Eﬃciency Program-Eco-
    QUBE,” Funded by EU Horizon 2020 program, €4.5 million, 2020-2023.


PROFFESIONAL ACTIVITIES:

Na onal (USA):

1.      Member, American Society of Civil Engineers, (ASCE). (1969 – present)
2.      Member, Sigma Xi Research Society, (U.S.A.). (1971- present)
3.      Member, American Geophysical Union, (U.S.A.) (1978-2010).
4.      Member, Na onal Water Well Associa on, (U.S.A.) (1978 – 2010).
5.      Member, American Water Resources Associa on, (U.S.A.) (1978 – 1989).
6.      Member, Task Commi ee on Ground Water Strategy, ASCE Hydraulics Division, 1983-85.
7.      Listed in the directory of experts in Ground Water and Ground Water Contamina on, Prepared
        by Edison Electric Ins tute and by Dames & Moore Consultants, Co.,1984
8.      Listed in the directory in Who is Who in Science and Engineering.
9.      Member of the organizing commi ee of the conference, The Water Resources of Georgia and
        Adjacent Areas, Sponsored by Ga. TECH and Georgia Geologic Survey, October 1983.
10.     Session Chairman, ASCE. Spring Conven on, Atlanta, 1984.
11.     Session Co-Chairman, Engineering Mechanics Society, Blacksburg, 1984.
12.     Member, American Water Resources Associa on, Publica ons Commi ee and Conference
        Organiza on Commi ee, 1987 – 1989.
13.     Member of the Organizing Commi ee of the conference and Session Chairman, Key Problems in
        Hydrology, Hazardous Waste, Sponsored by American Ins tute of Hydrology, 1987.
14.     Member, American Ins tute of Hydrology (1978-present).
15.     Session Chairman, Int. Conference on Computa onal Eng. Sci., Atlanta, April 10-14, 1988.

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16.     Chairman, Mul disciplinary Geohydrology Program, Georgia Ins tute of Technology, College of
        Engineering, 1988-present (founding member).
17.     Invited Speaker - Board of Scien ﬁc Counselors, Agency for Toxic Substances and Disease
        Registry (ATSDR), U.S. Department of Health and Human Services, 1990 - 1992.
18.     Member, Sci. Review Board, Waste Policy Ins tute, U.S. Department of Energy, 1991 – present
19.     Director, Mul media Environmental Simula ons Lab., CEE, Ga. Tech., 1994-present.
20.     Member, Scien ﬁc Review Panel on program Analy cal and Monitoring Methods in
        Subsurface Remedia on, USEPA, 1995 – 2001.
21.     Member, Scien ﬁc Review Panel on program STAR Program, USEPA, 1995-present.
22.     Member, Scien ﬁc Review Panel on Eastern Research Group, 1997-present.
23.     Member, Interna onal Society of Exposure Analysis, 2002 – present.
24.     Member, Interna onal Associa on of Hydrogeology, 2002 – present.
25.     Organizing Commi ee Member, Achieving Sustainable Water Resources in Areas Experiencing
        Rapid Popula on Growth, 2003 AIH Interna onal Conf., Atlanta, GA.
26.     Vice President for Interna onal Aﬀairs, American Ins tute of Hydrology, 2004 – 2006.
27.     Elected to the Board of Dir. of the Buried Asset Man. Inst.– Interna onal, (2004 – 2007).
28.     Chair of the ASCE Groundwater Hydrology Technical Commi ee (2007 – 2009).
29.     Member of the ASCE Groundwater Hydrology Technical Commi ee (2007 – present).
30.     Vice-Chair of the ASCE, GWH Tech. Report Com. on Exp.-Dose Reconstruc on (2007 – 2009).
31.     Member of the ASCE, EWRI Ground Water Council (2007 – 2009).
32.     Vice President for Int. Aﬀairs, American Ins tute of Hydrology, (2009 – 2011).
33.     Member of the ASCE, EWRI World Water Council, (2010 – present).
34.     Member of the ASCE EWRI Interna onal Council (2010 – Present).
35.     Control Group Member, ASCE EWRI World Water Council (2012 – Present).
36.     Member of the ASCE, EWRI Env. Health and Water Quality Commi ee, (2008–present).
37.     FELLOW ASCE/EWRI, elected by the ASCE Board of Directors to the rank of ASCE Fellow, 2010.
38.     Co-Chair of the organizing commi ee, ASCE EWRI IPWE 2013 Conference Izmir, Turkey.
39.     Short Course on “Environmental Modeling and Health Risk Analysis,” ATSDR/CDC Atlanta, GA
        (2010, 2011, 2012) and Izmir, Turkey (2012).
40.     Invited Speaker ORLOB INTERNATIONAL SYMPOSIUM ON THEORETICAL HYDROLOGY.
        Presenta on Title: “Climate Change and Spa al Variability of Sea Level Rise,” University of
        California (Davis), August 4, 2013.
41.     PRESIDENT ELECT, 2013-2015 and PRESIDENT 2015 - 2017. American Ins tute of Hydrology
        (AIH). Elected by the AIH membership.

Interna onal:

1.      Member, Associa on for the Advancement of Mathema cal Sciences. (1971 – 1978)
2.      Member, Marine Sciences Research Ins tute, (Turkey, founding member). (1971 – 1978)
3.      Member, Computer Sciences Research Ins tute, (Turkey, founding member). (1971 – 1978)
4.      Member, Interna onal Engineering Analysts, Southampton, England.
5.      Member, Interna onal Associa on for Computa onal Mechanics (1987 – 1990).
6.      Director, NATO Advanced Study Ins tute, “Recent Advances in Ground Water Pollu on Control
        and Remedia on.” June 1995.
7.      Session Chairman and Member of the Organizing Commi ee of the conference, Interna onal
        Conference on Geology and Environment, Sponsored by Academy of Sciences of Turkey and
        other Interna onal Organiza ons, 1997.
8.      European Community FP6 – FP7 – FP8 proposal review panel member. (2005 – present)

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9.      Fulbright Senior Scien st. (2005 – 2011).
10.     Short Course on ACTS/RISK (Dec., 2011) Dokuz Eylul University, Izmir Turkey.
11.     Organiza on Commi ee Member, ASCE/EWRI IPWE Interna onal Conference on Perspec ves
        on Water Resources and Environment, Izmir, Turkey, 2013.
12.     Organizing Commi ee member, HydroEnv. Ist-2017. Interna onal Associa on for Hydro-
        Environment Engineering and Research (IAHR).
13.     European Community Horizon 2020 panel member. (2013 – Present).
14.     Austrian Science Fund review commi ee member. (2015 – Present).


EDITORIAL AND REVIEWER WORK

Reviewer:
Journal of Pure and Applied Sciences, 1976 – 1985.
Environmental Protec on Agency (review of proposals), 1980 – present.
U.S. Dept. of Int., Geological Survey (review of reports and proposals), 1980 – present.
TUBITAK Research Council, Turkey (review of reports and proposals), 1980 – present.
ASCE Commi ee on Computa onal Hydraulics, 1981 – 1995.
ASCE Journal of Engineering Mechanics Division, 1982 – 1995.
Journal of American Water Works Associa on, 1985 – 1995.
Water Resources Bulle n, American Water Resources Associa on, 1985 – 1995.
Journal of Hydrology, 1986 – present.
Journal of Computa onal Mechanics, 1986 – 1995.
Water Resources Research, 1985 – present.
ASCE, Water Resources Planning and Management Journal, 1998 – present.
Saudi Geologic Survey for Scien ﬁc Research, 2000 – present.
Turkish Scien ﬁc Research Council, 2000 – present.
Netherlands Organiza on for Scien ﬁc Research, 1999 – present.
Danish Organiza on for Scien ﬁc Research, 2000 – present.
NSF/NIH, Engineering Centers of Excellence review commi ee member. 2003 – 2004.
Advances in Water Resources, 2005 – present.
Water Resources Research, 1990 – present.
Journal of Contaminant Hydrology, 2004 – present.
European Community, F6, F7, F8, Horizon 2020 commi ee member. 2005 – present.
Journal of Transport in Porous Media, 2005 – present.
NSF, SBIR review commi ee member. 2005 – present.
USEPA, SBIR review commi ee member. 2005 – present.
Journal of Environmental Management, 2007 – present.
Journal of Water Quality, Exposure and Health, 2009 – 2016.
Journal of Environmental Monitoring and Assessment, 2007 – present.
Journal of Water Resources Management, 2007 – present.
Journal of Neural Networks, 2007 – present.
Environmental Science and Technology, 2008 – present.
Journal of Risk Assessment, 2008 – present.
Journal on Neural Networks, 2008 – present.
Journal on Water, Air and Soil Pollu on, 2009 – present.
Journal of Environmental Modeling and So ware, 2009 – present.
Journal of Environmental Engineering, 2010 – present.

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USEPA, STAR Fellowship review commi ee member. 2013 – 2014.
Water Journal, 2015 – present.
Processes Journal, 2015 – present.

Associate Editor:
Journal of Environmental Science and Health, Am. Chem. Society, 1989 – 99.
ASCE, Journal of Hydrologic Engineering, Associate Editor, 1985 – 1995.
ASCE, Journal of Hydrologic Engineering, Interna onal Associate Editor, 1995 – present.
Interna onal Journal of Hydroelectric Energy, Interna onal Editor, 1998 – present.
ISI Journal of Hydraulic Engineering, Taylor & Francis, 2011 – present.
Journal of Engineering Sciences, (Turkey), 2011 – present.
Journal of Engineering and Environmental Sciences, (Turkey), 2013 – present.

Special Issue Editor:
Popula on Dynamics, Climate Change and Technology Nexus on Human Health (2019)
Interna onal Journal of Environmental Research and Public Health (Impact Factor: 2.47)
h ps://www.mdpi.com/journal/ijerph/special_issues/pdcctnhh

Water Quality Modeling (2019)
PROCESSES Journal (Impact Factor: 1.97)
h ps://www.mdpi.com/journal/processes/special_issues/Water_Model

Computa onal Methods in Water Resources (2020)
WATER Journal (Impact Factor: 2.53)
h ps://www.mdpi.com/journal/water/special_issues/computainal_methods

Chemical and Non-Chemical Water Treatment (2020)
WATER Journal. (Impact Factor: 2.53)
h ps://www.mdpi.com/journal/water/special_issues/ozone_treatment

Editor-in-Chief:
Interna onal Journal on Water Quality, Exposure and Health, Springer Publishers. 2008 – 2014.


ENGINEERING CONSULTING:

1.      Allied Gulf Nuclear Services, (1978-80).
2.      NATO, United Na ons Development Program, (1979-present).
3.      The Coca Cola Company, Corporate Engineering Department, (1983).
4.      Georgia Geologic Survey, Department of Natural Resources, State of Georgia, (1983-85).
5.      Dames and Moore (1987), Numerical study of ﬂow through earth embankments, Sarasota
        reservoir.
6.      Atlan c Richﬁeld Co. (ARCO) (1990-92), Performance analysis of a cleanup opera on in a vadose
        zone, numerical modeling of saturated-unsaturated ﬂow pump-and-treat opera on, Opa Locka,
        Florida and Numerical modeling of ground water ﬂow and contaminant transport control in a
        mul layer aquifer with a slurry wall design at a Super Fund Site.
7.      CHEVRON Products Co. USA (1992-2002), Numerical modeling of transport of NAPL


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        contamina on, Cleves, Ohio and CHEVRON Chemical Products Co., USA (1996-1997),
        Inves ga on of Agricultural Pes cides pollu on, Ortho-CHEM plant, Missouri.
8.      Expert Tes mony: Atlanta Gas Light -vs.- various Environmental Insurance Underwriters (1993),
         Numerical modeling of transport of petroleum products in aquifers, Georgia.
9.      L&L Landﬁll Co. (1994), Transport of leachate through L&L landﬁll, Chicago, Illinois.
10.     DOD, Mass. Military Reserva on, EDB plume modeling and exp. risk analysis, (1997-1998).
11.     GeoSyntec Consultants, Consultant (1994 - 2001) (subsurface resources and contaminant
        transport modeling support and expert tes mony).
12.     Globex Engineering & Development, Consultant (1998 - 1999) (subsurface resources and
        contaminant transport modeling support, risk analysis and expert tes mony).
13.     DOE, Waste Isola on Pilot Plant Project (WIPP), New Mexico (1998 - 1999) (Technical support for
        expert tes mony).
14.     Texas Educa on Board, State Proposal Reviews, (1999-2000).
15.     Eastern Research Group, Subsurface Resources and Environmental Health related analysis and
        exposure assessment, (1998-2013).
16.     Hydraulic Fracturing and shale gas extrac on, Washington Law Group, (2010 – 2017).
17.     Camp Lejeune Exposure Li ga on, Bell Law Group, Atlanta, GA, USA. (2022 – Present).


SPECIALIZATION AREAS:

Research, teaching and engineering experience in the following speciﬁc areas:
         Groundwater ﬂow and contaminant transport modeling in aquifers, aquifer remedia on.
         Groundwater resources evalua on and management.
         Aerodynamic Analysis.
         Mul media (air-surface water- groundwater) environmental simula ons, risk based env.
          modeling.
         Exposure analysis, exposure-dose reconstruc on.
         Environmental health.
         Renewable Energy.
         Climate Change, Water Resources and Environmental Health.
         Analy cal and numerical analysis in aerodynamics, surface water, groundwater and air
          pollu on.
         Evalua on of groundwater and surface water monitoring data, site assessment.
         Site characteriza on and surface water groundwater interac on.
         Saturated and unsaturated groundwater ﬂow analysis.
         Miscible and immiscible groundwater ﬂow analysis.
         Computa onal methods in environmental ﬂuid mechanics.
         GIS applica ons in environmental systems.
         Op miza on methods in environmental systems.
         Hydraulics and water resources engineering.
         Hydraulic Fracturing and shale gas extrac on.
         Popula on Dynamics and Climate Eﬀects.

PhD/MS Students:

Graduated 25 PhD students at Georgia Ins tute of Technology.
Graduated 68 M.S. students at Georgia Ins tute of Technology.

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Exhibit B




This memorandum was submi ed to EDRP/ATSDR on June 27, 2009, and became an internal document
for the Camp Lejeune study at ATSDR/CDC. Contents of this memorandum are now included in Sec on 7
of this expert report.




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